USCA Case #23-1175         Document #2007581           Filed: 07/10/2023    Page 1 of 136



                              183 FERC ¶ 61,047
                         UNITED STATES OF AMERICA
                  FEDERAL ENERGY REGULATORY COMMISSION

Before Commissioners: Willie L. Phillips, Acting Chairman;
                      James P. Danly, Allison Clements,
                      and Mark C. Christie.

Texas LNG Brownsville LLC                                      Docket No. CP16-116-002

                                  ORDER ON REMAND

                                  (Issued April 21, 2023)

        The United States Court of Appeals for the District of Columbia Circuit (D.C.
Circuit)1 remanded the Commission’s orders authorizing Texas LNG Brownsville LLC’s
(Texas LNG) construction and operation of the Texas LNG Project,2 directing the
Commission to (1) explain whether 40 C.F.R. § 1502.21(c) calls for [the Commission] to
apply the social cost of carbon protocol or some other analytical framework, as ‘generally
accepted in the scientific community’ within the meaning of the regulation, and if not,
why not;”3 and (2) “explain why it chose to analyze the projects’ impacts only on
[environmental justice] communities in census blocks within two miles of the project
sites, or else analyze the projects’ impacts on [environmental justice] communities within
a different radius of each project site.”4 Further, the court directed the Commission to
revisit its public interest determination under section 3 of the Natural Gas Act (NGA).5



      1
        Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
(D.C. Cir. 2021) (Vecinos).
      2
         Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019) (Authorization Order),
order on reh’g, Texas LNG Brownsville LLC, 170 FERC ¶ 61,139 (2020) (Rehearing
Order). The D.C. Circuit also remanded, in the same opinion, the Commission’s
authorization for Rio Grande LNG, LLC to construct and operate an LNG terminal and
pipeline, which the Commission addressed in a separate order issued concurrently.
Rio Grande LNG, LLC, 183 FERC ¶ 61,046 (2023).
      3
          Vecinos, 6 F.4th at 1330.
      4
          Id. at 1331.
      5
          Vecinos, 6 F.4th at 1331-32.
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023     Page 2 of 136
Docket No. CP16-116-002                                                                    -2-

       We supplement our environmental analysis of the Texas LNG Project by
(1) addressing the argument regarding the social cost of carbon and 40 C.F.R.
§ 1502.21(c); and (2) updating our analysis of the project’s environmental justice impacts
consistent with the Commission’s current practice. We reaffirm that the Texas LNG
Project, as conditioned in the Order Granting Authorization Under Section 3 of the NGA
(Authorization Order)6 and as modified herein, is not inconsistent with the public
interest.7

I.     Background

       Texas LNG, a limited liability company organized under the laws of Delaware
with its headquarters in Houston, Texas, is a single purpose subsidiary of
Texas LNG LLC. As its operations will not be in interstate commerce, Texas LNG will
not be a natural gas company as defined in the NGA,8 although it will be subject to the
Commission’s jurisdiction under NGA section 3.

       A.       Authorization Order

       On November 22, 2019, the Commission authorized Texas LNG to construct and
operate a liquefied natural gas (LNG) export terminal and associated facilities in order to
export approximately 4 million metric tonnes per annum (MTPA) of natural gas as LNG.9
The project will be sited on 625 acres of land10 and include two full-containment LNG


       6
           Authorization Order, 169 FERC ¶ 61,130.
       7
           See id. PP 21, 86.
       8
          Section 2(6) of the NGA defines a natural gas company to be a person engaged
in the transportation of natural gas in interstate commerce. 15 U.S.C. § 717a(6).
       9
         On September 24, 2015, Texas LNG received authorization from the Department
of Energy, Office of Fossil Energy (DOE) to export the project’s full capacity, which is
equivalent to 204.4 billion cubic feet (Bcf) annually (approximately 0.56 Bcf per
day (Bcf/d)) equivalent of natural gas, in the form of LNG to countries with which the
United States has a Free Trade Agreement (FTA). Texas LNG Brownsville LNG,
DOE/FE Docket No. 15-62-LNG, Order No. 3716 (Sept. 24, 2015),
https://www.energy.gov/sites/prod/files/2015/09/f26/ord3716.pdf. On February 10,
2020, DOE issued an order authorizing Texas LNG to export LNG to non-FTA nations,
but with which the U.S. still permits such trade. Texas LNG Brownsville LNG, DOE/FE
Docket No. 15-62-LNG; Order No. 4489 (Feb. 10, 2020)
https://www.energy.gov/sites/prod/files/2020/02/f71/ord4489.pdf.
       10
            Of the 625 acres, about 312 acres would be disturbed for construction of the
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023      Page 3 of 136
Docket No. CP16-116-002                                                                   -3-

storage tanks with a capacity of approximately 210,000 cubic meters of LNG each; two
liquefaction trains, each with a capacity of 2.0 MTPA of LNG;11 a single LNG carrier
berth; mooring and loading facilities; and other appurtenant facilities.12 The terminal will
receive natural gas via an approximately 10.2-mile-long non-jurisdictional intrastate
natural gas pipeline that would interconnect with the Valley Crossing Pipeline.13 To date,
Texas LNG has not begun construction of any facilities.

        The Commission determined, based on the findings in the final Environmental
Impact Statement (EIS) for the project,14 that the project’s direct and indirect impacts on
environmental resources would be temporary or reduced to less-than-significant levels by
the implementation of appropriate mitigation measures, with the exception of impacts on
visual resources where the project would result in significant impacts when viewed from
the Laguna Atascosa National Wildlife Refuge.15 In addition, the final EIS concluded
that the Texas LNG Project, combined with other projects in the relevant geographic
scope, would result in significant cumulative impacts: from sediment/turbidity and
shoreline erosion within the Brownsville Ship Channel during operations from vessel
transits;16 on the federally listed ocelot and jaguarundi, from habitat loss and potential for
increased vehicular strikes during construction;17 on the federally listed aplomado falcon,
from habitat loss;18 and on visual resources from the presence of aboveground



project facilities. Authorization Order, 169 FERC ¶ 61,130 at P 54.
       11
        While each liquefaction train will have a nameplate capacity of 2.25 MTPA,
Texas LNG anticipates that as operated, each train will produce approximately 2.0 MTPA
of LNG for export. Id. at n.5 (citing Application at 4, n.8).
       12
            Id. P 5.
       13
         The Valley Crossing Pipeline is a non-jurisdictional natural gas pipeline that
extends southwest from a header system near the Agua Dulce natural gas hub in Nueces
County, Texas, to a jurisdictional border-crossing facility east of Cameron County,
Texas. See Valley Crossing Pipeline, LLC, 161 FERC ¶ 61,084, at P 4 (2017).
       14
            The Texas LNG final EIS was issued on March 15, 2019.
       15
            Final EIS at 4-115.
       16
            Id. at 4-303.
       17
            Id. at 4-317.
       18
            Id. at 4-318.
USCA Case #23-1175           Document #2007581          Filed: 07/10/2023      Page 4 of 136
Docket No. CP16-116-002                                                                  -4-

structures.19 The final EIS noted that the Commission could not determine the project’s
impacts on the environment caused by GHG emissions nor could it determine the
significance of the project’s contribution to climate change.20 The final EIS found that
neither the construction nor operation of the project would result in disproportionately
high or adverse environmental and human health impacts on environmental justice
communities.21 The Commission agreed with the conclusions presented in the final EIS
and found that the project, if constructed and operated as described in the final EIS, is an
environmentally acceptable action.22

       B.        Rehearing Order

        On December 23, 2019, Sierra Club and seven other petitioners jointly23 sought
rehearing of the Authorization Order. Sierra Club raised numerous concerns, including,
air quality impacts, environmental justice impacts, mitigation measures, greenhouse gas
emissions, and the Commission’s public interest determination. Specifically, Sierra Club
stated that the Commission violated NEPA by failing to take a hard look at whether
environmental justice communities will bear a disproportionate share of the negative
environmental consequences from the project.24 Sierra Club also asserted that the
Commission’s conclusions regarding its inability to determine whether the project’s GHG
emissions and contribution to climate change were significant and its reasoning as to why
it would not use the social cost of carbon protocol to assess the impacts from the project’s
GHG emissions were arbitrary.25

       On February 21, 2020, the Commission denied rehearing. The Commission
affirmed the Authorization Order’s decision to not calculate or apply the social cost of



       19
            Id. at 4-327.
       20
            Id. at 4-344.
       21
            Id. at 4-156 to 4-157.
       22
            Authorization Order, 169 FERC ¶ 61,130 at P 86
       23
        Specifically, Sierra Club, Texas Rio Grande Legal Aid, Save RGV from LGV,
Defenders of Wildlife, the City of South Padre Island, the City of Port Isabel, and the
Town of Laguna Vista (collectively, Sierra Club) filed a request for rehearing.
       24
            Sierra Club Request for Rehearing and Stay at 14-22.
       25
            Id. at 27.
USCA Case #23-1175           Document #2007581         Filed: 07/10/2023     Page 5 of 136
Docket No. CP16-116-002                                                                -5-

carbon protocol.26 The Commission concluded that the final EIS adequately identified
and addressed impacts on environmental justice communities,27 and reaffirmed the
conclusion from the final EIS and Authorization Order that there would not be any
disproportionately high or adverse environmental and human health impacts on those
communities.28 Subsequently, Sierra Club petitioned for review of the Authorization and
Rehearing Orders in the D.C. Circuit.

       C.       The Court’s Remand Order

       On August 3, 2021, the D.C. Circuit remanded the Authorization and Rehearing
Orders, holding that the Commission’s NEPA analyses of the project’s impacts on
climate change and environmental justice communities were deficient under the
Administrative Procedures Act (APA), and thus, the Commission “must also revisit its
determinations of public interest and convenience under Sections 3 and 7 of the NGA.”29
Specifically, the court held that the Commission failed to address the petitioners’
argument concerning the applicability of the Council on Environmental Quality’s (CEQ)
regulations with respect to whether the social cost of carbon protocol is “generally
accepted” analytical tool for assessing the significance of GHG impacts, thereby
rendering the analysis of the project’s GHG emissions deficient.30 The court directed the
Commission on remand to: “explain whether 40 C.F.R. § 1502.21(c) calls for [the
Commission] to apply the social cost of carbon protocol or some other analytical
framework, as ‘generally accepted in the scientific community’ within the meaning of the
regulation, and if not, why not.”31



       26
            Rehearing Order, 170 FERC ¶ 61,139 at PP 72-74.
       27
            Id. P 40.
       28
            Id. PP 45, 47.
       29
            Vecinos, 6 F.4th at 1331.
       30
            Id. at 1329.
       31
         Id. at 1329-30. Section 1502.21(c) provides that “[i]f . . . information relevant
to reasonably foreseeable significant adverse impacts cannot be obtained because . . . the
means to obtain it are not known, the agency shall include within the environmental
impact statement . . . [t]he agency’s evaluation of such impacts based upon theoretical
approaches or research methods generally accepted in the scientific community.”
40 C.F.R § 1502.21(c) (2022). In its 2020 rulemaking, CEQ redesignated § 1502.22,
“Incomplete or unavailable information” as § 1502.21 in the final rule.
USCA Case #23-1175          Document #2007581           Filed: 07/10/2023     Page 6 of 136
Docket No. CP16-116-002                                                                 -6-

        The court also held that the Commission’s decision to limit its environmental
justice analysis of the project’s impacts to those affecting communities in census blocks
within two miles of the project sites was arbitrary,32 given that the EIS had determined
that certain environmental effects of the project would extend beyond that radius
(e.g., the court noted that air quality impacts could occur within a radius of 31 miles).33
The court directed the Commission on remand to explain why it chose to analyze the
project’s impacts only on communities within a two-mile radius, or, in the alternative, to
analyze the project’s impacts on communities within a different radius from the project
site, and determine whether the Commission’s environmental justice conclusion still
holds.34 Additionally, because the Commission’s analyses of the project’s impacts on
climate change and environmental justice communities were deficient, the court directed
the Commission to revisit its NGA public interest and public convenience and necessity
determinations.35

II.    Procedural Issues

       On February 3, August 16, August 31, and October 28, 2022, and on January 6,
2023, Commission staff issued environmental information requests to Texas LNG
regarding environmental justice communities, visual impacts, air quality modeling, and
emergency planning, in order to address deficiencies noted in the D.C. Circuit’s decision.
Texas LNG responded to Commission staff’s information requests on March 4, May 2,
September 15, September 21, October 3, and November 7, 2022, and on January 30, and
February 23, 2023.

      On September 30, 2022, the Commission issued a notice seeking public comments
on Texas LNG’s responses. The notice stipulated that initial comments were due no later
than October 21, 2022, and reply comments no later than November 4, 2022.

        Numerous comments were filed during the initial comment period, including:
(1) statements in general opposition to or support for the project; (2) assertions of
deficiencies in Texas LNG’s responses, including the revised air modeling; (3) concerns
with project impacts on environmental justice communities, including the air quality
impacts of volatile organic compounds (VOC) and particulate matter on those
communities, inadequate outreach to environmental justice communities, and insufficient
information provided on the impacts of offsite parking locations and Texas LNG’s

       32
            Vecinos, 6 F.4th at 1331.
       33
            Id. at 1330.
       34
            Id. at 1331.
       35
            Id.
USCA Case #23-1175        Document #2007581            Filed: 07/10/2023    Page 7 of 136
Docket No. CP16-116-002                                                               -7-

Emergency Response Plan; (4) concerns regarding climate change and GHGs; and
(5) requests for public meetings in a town hall format with Spanish language translation
and for all permit documents to be translated into the Spanish language. These comments
are addressed below.

       On November 4, 2022, Texas LNG and American Petroleum Institute submitted
reply comments requesting a prompt ruling on the remanded issues. As we are issuing
this order, the requests are moot.

       As noted, commenters requested that the Commission hold public meetings in a
town hall format.36 Commenters also requested that the Commission provide greater
access to Spanish-speaking communities by providing Spanish language translation at
any public meetings and provide a translated version of the Commission’s requests for
information and the comments and responses to the information requests from
Texas LNG.37

       In this proceeding, and consistent with how the Commission has processed other
remand orders,38 we reviewed the record to determine whether the deficiencies identified
by the court could be redressed and what, if any, additional information would be helpful.
This order addresses the particular issues identified by the court on remand.39 Although
the public had opportunities for involvement during the prefiling and environmental
review processes associated with the Commission’s original consideration of the
project,40 during this remand proceeding the Commission provided additional

      36
      See Sierra Club Oct. 19, 2022 Comments at 3-4; Nancy McNab Oct. 21, 2022
Comments at 1.
      37
           See Sierra Club Oct. 19, 2022 Comments at 3-4.
      38
         See Spire STL Pipeline LLC, 181 FERC ¶ 61,232, at PP 18-20 (2022)
(determining the record was sufficient to allow the Commission to address the issues
on remand without additional requested briefing); on reh’g, Spire STL Pipeline LLC,
183 FERC ¶ 31,048 (2023); NEXUS Gas Transmission, LLC, 172 FERC ¶ 61,199 (2020)
(reviewing the record and the court’s instructions on remand to issue a certificate of
convenience and public necessity without soliciting additional comments).
      39
         See, e.g., SFPP, L.P. v. FERC, 967 F.3d 788, 797 (D.C. Cir. 2020), cert.
dismissed, 141 S. Ct. 2170 (2021) (finding that on remand it is up to the Commission to
determine if the record should be reopened).
      40
         See Final EIS at 4-468. As the final EIS notes, the applicant provided materials
regarding the project in both English and Spanish and Spanish-speaking representatives
were present at both the public scoping and comment meetings held in Port Isabel.
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023      Page 8 of 136
Docket No. CP16-116-002                                                                 -8-

opportunities for the public to comment and respond to information filed by Texas LNG
related to the issues before us on remand. As stated above, on September 30, 2022, we
explicitly solicited comments on the responses provided by Texas LNG to Commission
staff’s information requests and received over 100 comments. We have considered and
responded to all comments within the scope of this remand proceeding and, therefore,
because the record is sufficient for us to address the issues identified by the court, we
decline to hold additional public meetings on the remanded issues. As for requests
related to Spanish translation of documents, while we are not providing such translations
in this proceeding, the Commission continues to consider how we can provide greater
accessibility to our processes for non-English speaking populations.

        Commenters also raised issues that are outside the scope of the court’s mandate,
generally falling within the following categories: (1) opposition to the Texas LNG
Project; (2) general comments in support of the projects and requests for regulatory
clarity; (3) cultural resource concerns, including concerns relating to consultation with
Tribes; (4) biological resource concerns, including impacts on endangered species,
wildlife and wildlife habitat, migratory birds, and coastal resources; and (5) general
statements about the Commission, LNG, and energy infrastructure. Mr. John Young also
questions whether Texas LNG has obtained feedgas from the Valley Crossing Pipeline
and whether the Valley Crossing Pipeline operates as an intrastate natural gas pipeline.41
The Commission will not address these arguments because the Commission considered
them in the Authorization and Rehearing Orders42 and the court’s remand was limited to
two issues—whether the social cost of GHG or similar protocol should be used and the
scope of the Commission’s environmental justice analysis—and they thus are collateral
attacks on those orders and need not be considered further.43




       41
            Mr. John Young November 12, 2021 Comments at 5, 6.
       42
          See Authorization Order, 169 FERC ¶ 61,130 at PP 18-21 (making a finding that
the project is in the public interest); Final EIS at 4-160 (addressing concerns raised by the
Carrizo Comecrudo Tribe of Texas); Authorization Order, 169 FERC ¶ 61,130 at PP 42-
48 (discussing the impacts on wildlife, migratory birds, and aquatic resources);
Authorization Order, 169 FERC ¶ 61,130 at P 4 (noting that Valley Crossing is not a
jurisdictional pipeline).
       43
         See, e.g., Fla. Se. Connection, 162 FERC ¶ 61,233, at P 16 (2018) (declining to
consider issues that fell outside the scope of the court’s mandate); Arlington Storage Co.,
LLC, 149 FERC ¶ 61,158 (2015) (rejecting a request for rehearing of a notice to proceed
with construction as a collateral attack on the underlying orders).
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023       Page 9 of 136
Docket No. CP16-116-002                                                                  -9-

III.   Discussion

       As discussed above, the D.C. Circuit remanded the Commission’s orders
authorizing the Texas LNG Project and directed the Commission to (1) address the
argument of whether it must, under CEQ’s regulations, apply the social cost of GHG to
analyze the project’s impacts on climate change, and (2) explain the decision to limit the
scope of its environmental justice analysis of the project’s impacts to those communities
within two miles of the project or else analyze the project’s impacts within a different
radius. In response to the court’s directive, we address the argument regarding the social
cost of carbon and 40 C.F.R. § 1502.21(c), as well as update our analysis of the project’s
environmental justice impacts consistent with the Commission’s current practice and with
CEQ44 and the U.S. Environmental Protection Agency (EPA) guidance.45

       A.       Greenhouse Gas Emissions and Climate Change

       The court directed the Commission, on remand, to explain whether
section 1502.21(c) of CEQ’s NEPA-implementing regulations requires the Commission
to “apply the social cost of carbon protocol or some other analytical framework, as
‘generally accepted in the scientific community’ within the meaning of the regulation,
and if not, why not.”46

       Section 1502.21(c) of CEQ’s regulations requires that,

                [i]f the information relevant to reasonably foreseeable
                significant adverse impacts cannot be obtained because the
                overall costs of obtaining it are unreasonable or the means to
                obtain it are not known, the agency shall include within the
                environmental impact statement:




       44
         CEQ, Environmental Justice: Guidance Under the National Environmental
Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
EJGuidance.pdf.
       45
         See generally EPA, Promising Practices for EJ Methodologies in NEPA
Reviews (Mar. 2016) (Promising
Practices), https://www.epa.gov/sites/default/files/2016-
08/documents/nepa_promising_practices_document_2016.pdf.
       46
            Vecinos, 6 F.4th at 1330 (quoting 40 C.F.R. § 1502.21(c)).
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023        Page 10 of 136
 Docket No. CP16-116-002                                                                 - 10 -

                 (1) A statement that such information is incomplete or
                 unavailable;

                 (2) A statement of the relevance of the incomplete or
                 unavailable information to evaluating reasonably foreseeable
                 significant adverse impacts on the human environment;

                 (3) A summary of existing credible scientific evidence that is
                 relevant to evaluating the reasonably foreseeable significant
                 adverse impacts on the human environment; and

                 (4) The agency’s evaluation of such impacts based upon
                 theoretical approaches or research methods generally
                 accepted in the scientific community.47

        The social cost of carbon protocol, now updated to calculate the social cost of
 specific GHGs,48 is an administrative tool intended to quantify, in dollars, estimates of
 long-term damage that may result from future emissions of carbon dioxide, nitrous oxide,
 and methane. Accordingly, although we are including the social cost of GHG figures for
 informational purposes, we find that because the social cost of GHGs tool was not
 developed for project level review and, as discussed below, does not enable the
 Commission to credibly determine whether the GHG emissions are significant,
 section 1502.21 of the CEQ regulations does not require its use in this proceeding.

 While we have recognized in some past orders that social cost of GHGs may have utility
 in certain contexts such as rulemakings,49 we have also found that calculating the social
 cost of GHGs does not enable the Commission to determine credibly whether the
 reasonably foreseeable GHG emissions associated with a project are significant or not
 significant in terms of their impact on global climate change.50 Currently, however,

        47
          40 C.F.R. § 1502.21(c). We pause to note that at the time the final EIS was
 prepared, this regulation was codified at 40 C.F.R. § 1502.22(b).
        48
           The Interagency Working Group on the Social Cost of Greenhouse Gases
 (IWG) published its first estimates of the social cost of carbon in 2010, which calculated
 the cost of the damages created by one extra ton of carbon dioxide emissions. In 2016,
 the IWG published a technical update that included the social costs of methane (social
 cost of CH4) and nitrous oxide (social cost of N2O) thus creating the social cost of GHG
 nomenclature.
        49
             Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
        50
           See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, (2017),
 aff’d sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.
USCA Case #23-1175         Document #2007581           Filed: 07/10/2023     Page 11 of 136
 Docket No. CP16-116-002                                                             - 11 -

 there are no criteria to identify what monetized values are significant for NEPA purposes,
 and we are currently unable to identify any such appropriate criteria.51 Nor are we aware
 of any other currently scientifically accepted method that would enable the Commission
 to determine the significance of reasonably foreseeable GHG emissions.52 The D.C.
 Circuit has repeatedly upheld the Commission’s decisions not to use the social cost of
 GHGs, including to assess significance.53

        For informational purposes, we are disclosing Commission staff’s estimate of the
 social cost of GHGs associated with the reasonably foreseeable emissions from the
 project, i.e., the emissions from the construction and operation of the project.54



 Riverkeeper v. FERC, 45 F.th 104, 111 (D.C. Cir. 2022). The social cost of GHGs tool
 merely converts GHG emissions estimates into a range of dollar-denominated figures; it
 does not, in itself, provide a mechanism or standard for judging “significance.”
       51
            Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051 at P 37; see also Mountain
 Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g, 163 FERC ¶ 61,197,
 at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, No. 17-1271, 2019 WL
 847199, at 2 (D.C. Cir. Feb. 19, 2019) (unpublished) (“[The Commission] gave several
 reasons why it believed petitioners’ preferred metric, the Social Cost of Carbon tool, is
 not an appropriate measure of project-level climate change impacts and their significance
 under NEPA or the Natural Gas Act. That is all that is required for NEPA
 purposes.”); EarthReports v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016) (accepting the
 Commission’s explanation why the social cost of carbon tool would not be appropriate or
 informative for project-specific review, including because “there are no established
 criteria identifying the monetized values that are to be considered significant for NEPA
 purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75 (2022); See,
 e.g., LA Storage, LLC, 182 FERC ¶ 61,026 at P 14; Columbia Gulf Transmission, LLC,
 180 FERC ¶ 61,206, at P 91 (2022).
       52
            See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026 at P 14 (“there are currently no
 criteria to identify what monetized values are significant for NEPA purposes, and we are
 currently unable to identify any such appropriate criteria.”)
       53
           See, e.g., EarthReports, 828 F.3d at 956 (upholding the Commission’s decision
 not to use the social cost of carbon tool due to a lack of standardized criteria or
 methodologies, among other things); Del. Riverkeeper v. FERC, 45 F.4th 104 (also
 upholding the Commission’s decision not to use the social cost of carbon); Appalachian
 Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019) (same).
       54
            See Vecinos, 6 F.4th at 1329-30.
USCA Case #23-1175        Document #2007581            Filed: 07/10/2023     Page 12 of 136
 Docket No. CP16-116-002                                                              - 12 -

        Commission staff calculated the social cost of GHGs based on methods and values
 contained in the Interagency Working Group on the Social Cost of Greenhouse Gases
 (IWG)’s current draft guidance but note that different values will result from the use of
 other methods.55

        For this proposed action, the reasonably foreseeable and causally connected GHG
 emissions are those associated with the project’s construction and operation. Based on its
 filed emissions data, Texas LNG estimated that construction of the Texas LNG Project
 would result in 122,048 tons of carbon dioxide equivalent (CO2e) emissions (equivalent
 to 110,720 metric tons of CO2e) over the six years of construction, inclusive of terminal,
 barge, and commissioning emissions.56 GHG emissions from the operation of the Texas
 LNG Project would result in annual CO2e emissions of about 701,709 tons per year (tpy)
 (equivalent to 636,580 metric tpy),57 which calculation assumes 100% utilization; i.e., it
 is assumed that the facilities are operated at maximum capacity for 365 days/year,
 24 hours/day.58

        Commission staff calculated the social cost of carbon dioxide, nitrous oxide, and
 methane for the construction and operation of the Texas LNG Project. For the
 calculations, staff assumed discount rates of 5%, 3%, and 2.5%,59 the project would begin

        55
          Technical Support Document: Social Cost of Carbon, Methane, and Nitrous
 Oxide Interim Estimates under Executive Order 13990, Interagency Working Group on
 Social Cost of Greenhouse Gases, United States Government, (Feb. 2021),
 https://www.whitehouse.gov/wp-content/uploads/2021/02/TechnicalSupportDocument_
 SocialCostofCarbonMethaneNitrousOxide.pdf (accessed Dec. 14, 2022) (IWG Interim
 Estimates Technical Support Document).
        56
          Texas LNG Mar. 4, 2022 Response to Commission staff Feb. 3, 2022 Data
 Request at attach. 9-1.
        57
          Texas LNG May 2, 2022 Response to Commission staff Feb. 3, 2022 Data
 Request at attach. 9-1. The Texas LNG Project will be constructed and begin operation
 in two phases, the first phase operational emissions would be 433,227 tons of CO2e
 emissions (equivalent to 393,017 metric tons of CO2e) in 2026 and 2027. Id.
        58
           Id. The estimate also includes fugitive emissions. We note that this calculation
 is an overestimate because facilities likely operate at full capacity during, what are
 typically, limited periods of full demand.
        59
           IWG Interim Estimates Technical Support Document at 24. To quantify the
 potential damages associated with estimated emissions, the IWG methodology applies
 consumption discount rates to estimated emissions costs. The IWG’s discount rates are a
 function of the rate of economic growth where higher growth scenarios lead to higher
 discount rates. For example, IWG’s method includes the 2.5% discount rate to address
USCA Case #23-1175           Document #2007581            Filed: 07/10/2023     Page 13 of 136
 Docket No. CP16-116-002                                                                   - 13 -

 construction activities in 2023, and that once construction activities are complete,
 emissions would transition to operational emissions. Noting these assumptions, the
 emissions from construction and operation of the Texas LNG Project are calculated
 to result in a total social cost of GHGs equal to $215,011,202, $697,367,480, and
 $1,013,421,544, respectively (all in 2020 dollars).60 Based on the 95th percentile
 of the social cost of GHGs and the three percent discount rate,61 the total social cost
 of GHGs from the project is calculated to be $2,022,865,531 (in 2020 dollars).

        The Commission has disclosed the project’s reasonably foreseeable GHG
 emissions. By adopting the analysis in the final EIS, we recognize that the project’s
 contributions to GHG emissions globally contributes incrementally to future climate
 change impacts,62 including impacts in the region.63 We note that there currently are no
 accepted tools or methods for the Commission to use to determine significance, therefore
 Commission is not herein characterizing these emissions as significant or insignificant.64
 Accordingly, we have taken the required “hard look” and have satisfied our obligations
 under NEPA.


 the concern that interest rates are highly uncertain over time; the 3% value to be
 consistent with Office of Management and Budget Circular A-4 (2003) and the real rate
 of return on 10-year Treasury Securities from the prior 30 years (1973 through 2002); and
 the 5% discount rate to represent the possibility that climate-related damages may be
 positively correlated with market returns. Thus, higher discount rates further discount
 future impacts based on estimated economic growth. Values based on lower discount
 rates are consistent with studies of discounting approaches relevant for intergenerational
 analysis. Id. at 18-19, 23-24.
        60
             The IWG draft guidance identifies costs in 2020 dollars. Id. at 5 (Table ES-I).
        61
           This value represents “higher-than-expected economic impacts from climate
 change further out in the tails of the [social cost of CO2] distribution.” Id. at 11. In other
 words, it represents a higher impact scenario with a lower probability of occurring.
        62
             Final EIS at 4-342 to 4-344.
        63
             Id. (discussing observations from the Fourth Assessment Report).
        64
          The February 18, 2022 Interim GHG Policy Statement, Consideration of
 Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
 (2022) which proposed to establish a NEPA significance threshold of 100,000 tons per
 year of CO2e as a matter of policy, has been suspended, and opened to further public
 comment. Certification of New Interstate Nat. Gas Facilities, 178 FERC ¶ 61,197, at P 2
 (2022).
USCA Case #23-1175          Document #2007581          Filed: 07/10/2023     Page 14 of 136
 Docket No. CP16-116-002                                                              - 14 -

        B.       Environmental Justice

         The court found the Commission’s analysis of environmental justice impacts to be
 deficient, directing the Commission on remand to either explain why it chose to analyze
 the projects’ impacts only on communities within a two-mile-radius area of review, or, in
 the alternative, to analyze the projects’ impacts on communities in an area of review with
 a different radius from each project site and determine whether the Commission’s
 environmental justice conclusion still holds.65 Accordingly, on remand, Commission
 staff conducted a new environmental justice analysis using our current methods for
 determining an area of review, consistent with CEQ66 and EPA67 guidance and
 recommendations, and analyzed the project’s impacts on environmental justice
 communities within those areas. Below, Commission staff has identified the presence of
 impacted environmental justice communities and has analyzed associated impacts from
 the Texas LNG Project.
        In conducting NEPA reviews of proposed natural gas projects, the Commission
 follows Executive Order 12898, which directs federal agencies to identify and address
 “disproportionately high and adverse human health or environmental effects” of their
 actions on minority and low-income populations (i.e., environmental justice
 communities).68 Executive Order 14008 also directs agencies to develop “programs,
 policies, and activities to address the disproportionately high and adverse human health,
 environmental, climate-related and other cumulative impacts on disadvantaged


        65
             Vecinos, 6 F.4th at 1331.
        66
          CEQ, Environmental Justice: Guidance Under the National Environmental
 Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
 https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
 EJGuidance.pdf.
        67
         See generally Promising Practices https://www.epa.gov/sites/default/files/2016-
 08/ documents/nepa_promising_practices_ document_2016.pdf.
        68
           Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994). While the
 Commission is not one of the specified agencies in Executive Order 12898, the
 Commission nonetheless addresses environmental justice in its analysis, in accordance
 with our governing regulations and guidance, and statutory duties. See 15 U.S.C. § 717b;
 see also 18 C.F.R. § 380.12(g) (2022) (requiring applicants for projects involving
 significant aboveground facilities to submit information about the socioeconomic impact
 area of a project for the Commission’s consideration during NEPA review); FERC
 Guidance Manual for Environmental Report Preparation at 4-76 to 4-80 (Feb. 2017),
 https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.
USCA Case #23-1175        Document #2007581            Filed: 07/10/2023     Page 15 of 136
 Docket No. CP16-116-002                                                             - 15 -

 communities, as well as the accompanying economic challenges of such impacts.”69
 Environmental justice is “the fair treatment and meaningful involvement of all people
 regardless of race, color, national origin, or income with respect to the development,
 implementation, and enforcement of environmental laws, regulations, and policies.”70
        Consistent with CEQ and EPA guidance and recommendations, the Commission’s
 methodology for assessing environmental justice impacts considers: (1) whether
 environmental justice communities (e.g., minority or low-income populations)71 exist in
 the project area; (2) whether impacts on environmental justice communities are
 disproportionately high and adverse; and (3) possible mitigation measures.72 Consistent
 with the Commission’s current methodology for identification of environmental justice

       69
           Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Feb. 1, 2021). The term
 “environmental justice community” includes disadvantaged communities that have been
 historically marginalized and overburdened by pollution. Id. at 7629. The term also
 includes, but may not be limited to minority populations, low-income populations, or
 indigenous peoples. See EPA, EJ 2020 Glossary (Aug. 18, 2022),
 https://www.epa.gov/environmentaljustice/ej-2020-glossary.
       70
           EPA, Learn About Environmental Justice,
 https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Sep. 6,
 2022). Fair treatment means that no group of people should bear a disproportionate share
 of the negative environmental consequences resulting from industrial, governmental, and
 commercial operations or policies. Id. Meaningful involvement of potentially affected
 environmental justice community residents means: (1) people have an appropriate
 opportunity to participate in decisions about a proposed activity that may affect their
 environment and/or health; (2) the public’s contributions can influence the regulatory
 agency’s decision; (3) community concerns will be considered in the decision-making
 process; and (4) decision-makers will seek out and facilitate the involvement of those
 potentially affected. Id.
       71
          See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994).
 Minority populations are those groups that include: American Indian or Alaskan Native;
 Asian or Pacific Islander; Black, not of Hispanic origin; or Hispanic.
       72
           CEQ offers recommendations on how federal agencies can provide
 opportunities for effective community participation in the NEPA process, including
 identifying potential effects and mitigation measures in consultation with affected
 communities and improving the accessibility of public meetings, crucial documents, and
 notices. There were opportunities for public involvement during the Commission’s
 prefiling and environmental review processes. Final EIS at 1-10 to 1-13, and 4-333. In
 addition, the Commission requested public comment on responses to recent information
 requests related to the remand.
USCA Case #23-1175         Document #2007581           Filed: 07/10/2023     Page 16 of 136
 Docket No. CP16-116-002                                                             - 16 -

 communities, staff reviewed the 2020 U.S. Census Bureau American Community survey
 data for the impact area surrounding the Texas LNG terminal project. As recommended
 in Promising Practices, the Commission uses the 50% and the meaningfully greater
 analysis methods to identify minority populations.73 Specifically, a minority population
 is present where either: (1) the aggregate minority population of the block groups in the
 affected area exceeds 50%; or (2) the aggregate minority population in the block group
 affected is 10% higher than the aggregate minority population percentage in the county.74

         CEQ’s Environmental Justice Guidance also directs low-income populations to be
 identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.
 Using Promising Practices’ low-income threshold criteria method, low-income
 populations are identified as block groups where the percent of a low-income population
 in the identified block group is equal to or greater than that of the county.

         To identify potential environmental justice communities, Commission staff used
 2020 U.S. Census American Community Survey data75 for the race, ethnicity, and
 poverty data at the state, county, and block group level.76 Additionally, in accordance
 with Promising Practices, Commission staff used EJScreen, EPA’s environmental justice
 mapping and screening tool, as an initial step to gather information regarding minority
 and low-income populations; potential environmental quality issues; environmental and
 demographic indicators; and other important factors. Appendix B provides current
 environmental justice community data for the areas affected by the project, including data
 for the affected block groups, state, and county and maps detailing the affected block
 groups in relation to the Texas LNG Project.

         Commission staff collected the block group level data, as discussed in further
 detail below, and conducted an impacts analysis for the identified environmental justice
 communities and evaluated health and environmental hazards; the natural physical

       73
            See Promising Practices at 21-25.
       74
          Here, we selected Cameron and Willacy Counties, Texas as the comparable
 reference communities to ensure that affected environmental justice communities are
 properly identified.
       75
          U.S. Census Bureau, American Community Survey 2020 ACS 5-Year Estimates
 Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by Household Type
 by Age of Householder, https://data.census.gov/cedsci/table?q=B17017; File #B03002
 Hispanic or Latino Origin By Race, https://data.census.gov/cedsci/table?q=b03002.
       76
          Appendix B includes the data used to inform this environmental justice analysis.
 Table 1 of Appendix B includes block groups within the 50-kilometer radius of the
 project.
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023      Page 17 of 136
 Docket No. CP16-116-002                                                                 - 17 -

 environment; and associated social, economic, and cultural factors to determine whether
 impacts would be disproportionately high and adverse on environmental justice
 communities and also whether those impacts would be significant.77 Commission staff
 assessed whether those impacts on an environmental justice community are
 disproportionately high and adverse, consistent with EPA’s recommendations in
 Promising Practices.78

         As discussed above, the court’s opinion explained that an agency’s environmental
 justice analysis must have an area of review for impacts on environmental justice
 communities that is reasonable and adequately explained, with a rational connection
 between the facts and the decision made.79 In response, Commission staff has reanalyzed
 the project’s impacts on environmental justice communities within an area of review
 based on the measured distance of the furthest estimated direct impact.
        Commission staff determined that the furthest potential direct impact for this
 project is air quality impacts. A 50-kilometer radius around the project represents a
 conservative estimate of the furthest possible extent of potential impacts associated with
 air quality.80 Accordingly, staff determined that a 50-kilometer radius (approximately
 31-mile radius) around the approved Texas LNG site is the appropriate geographic area
 of analysis for identification of project impacts on environmental justice communities.
 Further, air modeling for the project indicates that the radius of impact, or the distance at
 which the concentration of a criteria pollutant goes from above to below the significant
 impact level81 is approximately 24 kilometers (approximately 15 miles), which is within

        77
          See Promising Practices at 33 (stating that “an agency may determine that
 impacts are disproportionately high and adverse, but not significant within the meaning
 of NEPA” and in other circumstances “an agency may determine that an impact is both
 disproportionately high and adverse and significant within the meaning of NEPA”).
        78
           Id. at 44-46 (explaining that there are various approaches to determining
 whether an action will cause a disproportionately high and adverse impact, and that one
 recommended approach is to consider whether an impact would be “predominantly borne
 by minority populations or low-income populations”). We recognize that EPA and CEQ
 are in the process of updating their guidance regarding environmental justice and we will
 review and incorporate that anticipated guidance in our future analysis, as appropriate.
        79
             Vecinos, 6 F.4th at 1330.
        80
          Fifty kilometers is the distance used by the EPA for cumulative air modeling for
 major stationary sources under its Prevention of Significant Deterioration (PSD) air
 permitting requirements. 40 C.F.R. pt. 51, app. W.
        81
          A modeled result predicting that a proposed source’s maximum impact will be
 below the corresponding significant impact level value may generally be considered to be
USCA Case #23-1175            Document #2007581         Filed: 07/10/2023     Page 18 of 136
 Docket No. CP16-116-002                                                                 - 18 -

 the 50-kilometer radius of analysis for impacts on environmental justice communities.82
        Within a 50-kilometer radius of the Texas LNG Project, there are 284 total census
 block groups and, out of this total, Commission staff identified 279 environmental justice
 community block groups. Of those 279 environmental justice block groups, 124 have a
 minority population that exceeds 50% or is meaningfully greater than their respective
 counties, one has a low-income population that is equal to or greater than their respective
 counties, and 154 have both a minority population and a low-income population that
 exceed the respective thresholds.83 The Texas LNG Project itself is located within an
 environmental justice community.
         This order includes an updated analysis of impacts on environmental justice
 communities using an expanded radius. In reviewing the data, Commission staff
 determined that potential impacts on the identified environmental justice communities
 may relate to wetlands, recreational fishing, tourism, socioeconomics, traffic, noise,
 safety, air quality, greenhouse gases, and visual resources. Environmental justice
 concerns are not present for other resource areas such as geology, groundwater, surface
 water,84 wildlife, land use, or cultural resources, because the project would have a
 minimal impact on these resources. The applicable topics, and related mitigation
 measures, are covered below.
                 1.     Wetlands

        The final EIS documents that the total impacted wetland area for the Texas LNG
 Project (42.9 acres) represents about 0.07% of the approximately 65,495 acres of
 wetlands contained within the hydrologic unit code (HUC) 12 where the project is
 located.85 The loss of wetland habitat, and the subsequent decrease in wetland benefits

 a sufficient demonstration that the proposed source will not cause or contribute to a
 violation of the applicable National Ambient Air Quality Standard or Prevention of
 Significant Deterioration increment.
        82
             See infra PP 67-78.
        83
             App. B tbl. 1.
        84
          The final EIS determined that increased vessel traffic along the Brownsville
 Ship Channel would result in a significant cumulative impact on surface water resources
 during operations from increases in turbidity and shoreline erosion. Final EIS at 4-304.
 Impacts on environmental justice communities associated with turbidity are discussed
 below in Section III.B.4, Tourism. Impacts on environmental justice communities
 associated with shoreline erosion are discussed below in Section III.B.7, Marine Traffic.
        85
             Bahia Grande-BSC Hydrological Unit Code (HUC) 12 Watershed.
USCA Case #23-1175           Document #2007581           Filed: 07/10/2023     Page 19 of 136
 Docket No. CP16-116-002                                                                - 19 -

 (i.e., shoreline and habitat protection for a variety of plant and animal species that can be
 used for recreation and/or sustenance, and education opportunities), could affect
 environmental justice communities near the watershed, in which the project is located,86
 particularly the communities in Census Tract 142.02, Block Group 2 and Census
 Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
 123.05, Block Group 1, because these communities are closest to the impacts and as the
 distance from the project increases, the impacts on wetlands decreases.87 We note that
 Texas LNG is required to obtain applicable U.S. Army Corps of Engineers (Army Corps)
 Clean Water Act permits for permanent loss of wetland habitat and implement any
 mitigation measures required by the Army Corps for that loss.88

        All wetlands mitigation for the project would take place at the Loma Ecological
 Preserve, a preserve located one mile south of the project and within the same watershed
 as the project.89 Based on the foregoing analysis, we conclude that, with implementation
 of these mitigation measures, impacts on wetlands would be minimized and would not
 have a significant impact on environmental justice communities.

        Environmental justice communities in the study area would experience cumulative
 impacts on wetlands due to impacts previously discussed along with additional impacts
 from the additional projects within the cumulative geographic scope for wetlands.90
 Wetland impacts, even with the addition of the Texas LNG Project, would be less than
 significant91 and all impacts from the various projects with the geographic scope for
 wetlands would be appropriately mitigated through implementation of the Clean Water
 Act permits (state and federal). Thus, overall cumulative wetland impacts on
 environmental justice communities would be less than significant.




        86
             Final EIS at 4-31.
        87
             App. B Fig. 5-1-1 to 5-2-15.
        88
             Final EIS at 4-35 to 4-36.
        89
             Id.
        90
             Id. at 4-274.
        91
             Id. at 4-37.
USCA Case #23-1175           Document #2007581          Filed: 07/10/2023     Page 20 of 136
 Docket No. CP16-116-002                                                               - 20 -

                 2.      Recreational and Subsistence Fishing

         As stated in the final EIS, construction and operation of the project could
 cause some local anglers to use undesignated areas further from the project site.92
 Texas LNG’s proposed pile driving could cause fish to temporarily leave the area,
 altering behavior patterns of fish near the project, potentially affecting recreational
 fishing success.93 Given that a majority of the communities within the study area are
 environmental justice communities, recreational and subsistence fishing users of the area
 waterbodies likely include individuals from environmental justice communities,
 particularly the communities located in Census Tract 142.02, Block Group 2 and Census
 Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
 123.05, Block Group 1.94 Anglers using unknown and undesignated fishing areas near
 the project site would likely seek other fishing opportunities in the region.95 Construction
 activities at the Texas LNG Project site would not restrict fishing access to bays in the
 project area or the Gulf of Mexico. In addition, fishing opportunities exist along the
 remainder of the undeveloped channel shoreline. Permanent impacts on recreational and
 subsistence fishing by individuals from environmental justice communities may occur
 due to the loss of available fishing areas from the loss of approximately 1 mile of
 shoreline due to operation of the LNG marine facilities and loss of in-water fishing areas
 at certain times due to LNG carrier traffic. Overall, the final EIS concludes that impacts
 on recreational fishing as a result of the project are not anticipated to be significant.96
 Based on the foregoing analysis, we conclude that recreational and subsistence fishing
 impacts on environmental justice communities associated with construction and operation
 of the Texas LNG Project would occur, but due to the overall size of the waterway and
 existing alternative recreational and subsistence fishing opportunities in the area, we
 conclude impacts would be less than significant.

         Environmental justice communities in the study area would experience cumulative
 impacts on fishing, including recreational and subsistence fishing due to fishing vessel
 traffic from the project along with additional impacts from the projects within the
 cumulative geographic scope for recreational and subsistence fishing.97 Based on the

        92
             Id. at 4-153.
        93
             Id. at 4-153.
        94
             App. B Figs. 5-1-1 to 5-2-15.
        95
             Id. at 4-153.
        96
             Id. at 4-152.
        97
             Id. at 4-274.
USCA Case #23-1175           Document #2007581           Filed: 07/10/2023     Page 21 of 136
 Docket No. CP16-116-002                                                                - 21 -

 foregoing analysis, and due to the overall size of the waterway and existing alternative
 recreational and subsistence fishing opportunities in the area, we conclude that
 cumulative recreational and subsistence fishing impacts on environmental justice
 communities would be less than significant.

                    3.   Tourism

        Overall, the final EIS found that construction and operation of the project could
 impact local tourism as a result of increased noise, traffic along area roads, traffic within
 the Brownsville Ship Channel, as well as impacting visual resources in the area
 (primarily from the presence of the LNG aboveground structures in the viewshed).98
 Impacts on tourism may result in a loss of revenue or jobs for individuals from
 environmental justice communities. Noise during construction would likely be audible to
 boats passing through the Brownsville Ship Channel and could be audible to visitors
 within the South Bay Coastal Preserve, the closest designated recreation area to the
 project.99 The final EIS found that increased LNG vessel traffic during operation would
 have a permanent but minor impact on marine traffic in the Brownsville Ship Channel.100
 LNG carriers transiting the Brownsville Ship Channel could also result in delays for
 charter boats and sightseeing tours.101 Visual impacts on some nearby recreation areas,
 such as the Laguna Atascosa National Wildlife Refuge are anticipated to be significant.102
 Nevertheless, visual impacts are not anticipated to impact beach visitors, as the South
 Padre Island beaches face east towards the Gulf of Mexico, away from the project.103 In
 addition, view of the project facilities from many area beaches would likely be obstructed
 by hotels and condominiums along the South Padre Island shore.104 Visual impacts
 would affect charter boats and sightseeing tours transiting the Brownsville Ship Channel;
 however, it is anticipated that most recreational tours would be headed to the Laguna




        98
             Id. at 4-152.
        99
             Id. at 4-153.
        100
              Id.
        101
              Id.
        102
              See infra PP 79–82.
        103
              Final EIS at 4-153.
        104
              Id.
USCA Case #23-1175            Document #2007581          Filed: 07/10/2023     Page 22 of 136
 Docket No. CP16-116-002                                                                - 22 -

 Madre or the Gulf of Mexico and would not be operating primarily within the
 Brownsville Ship Channel.105

         Given the number of tourism opportunities in the project area, tourists may go to
 other sites so that visitation patterns may change, but overall the number of visits to the
 project area would likely not change. Therefore, based on the foregoing analysis we
 conclude that impacts on environmental justice communities associated with tourism
 (e.g., loss of revenue or jobs related to tourism) would be less than significant.

         Environmental justice communities in the study area would experience cumulative
 impacts on tourism from the Texas LNG Project,106 as previously described, along with
 additional impacts from the additional projects within the cumulative geographic scope
 for tourism.107 Cumulative impacts with the addition of those from the project would be
 less than significant,108 and, given the availability of tourism opportunities further from
 the LNG facility and the additional project sites, we conclude overall cumulative tourism
 impacts on environmental justice communities would be less than significant.

                    4.   Socioeconomics

         As stated in the final EIS, construction of project would require an average
 monthly construction workforce of 700 workers, with a peak workforce of approximately
 1,312 workers, over the 5-year construction period; Texas LNG anticipates that a
 majority of these workers would be hired locally and the remainder would be non-
 local.109 Texas LNG anticipates that 110 non-local workers would be employed at the
 Texas LNG Project during operation. These additional workers would represent a
 negligible increase in the local population.110

        During construction and operation, the temporary influx of workers/contractors
 into the area could increase the demand for community services, such as schools, police




        105
              Id. at 4-153 to 4-154.
        106
              Id. at 4-332 to 4-333.
        107
              Id. at 4-274.
        108
              Id. at 4-153 to 4-154.
        109
              Id. at 4-143.
        110
              Id.
USCA Case #23-1175            Document #2007581         Filed: 07/10/2023     Page 23 of 136
 Docket No. CP16-116-002                                                               - 23 -

 enforcement, and medical care, as well as housing.111 As stated in the final EIS, impacts
 on community services would be less than significant.112 In addition, an adequate
 number of housing units are available in the affected area; therefore, impacts on the local
 housing market would be less than significant.113 Based on the foregoing analysis we
 conclude socioeconomic impacts on environmental justice communities, due to an
 increased demand for community services and housing, would be less than significant.

        Environmental justice communities in the study area would experience cumulative
 impacts on socioeconomic resources from the Texas LNG Project, along with additional
 impacts from other projects within the cumulative geographic scope for socioeconomic
 resources.114 Cumulative socioeconomic impacts with the addition of the project would
 be less than significant.115 Given that community facilities would continue to operate
 adequately and the existing availability of housing units in the affected geographic area,
 we conclude cumulative socioeconomic impacts on environmental justice communities
 would be less than significant.

                    5.   Road Traffic

        The final EIS finds that area residents may be affected by roadway traffic delays
 during construction of the Texas LNG Project.116 The total number of construction
 vehicles arriving and departing the facility per day during Texas LNG’s proposed Phase 1
 and Phase 2 construction plans would be 1,220 and 1,000, respectively, with up to 1,454
 vehicles during peak construction of the project.117 Impacts on local users of the roadway
 network due to construction of the project include potential delays from increased traffic



        111
              Id. at 4-146 to 4-148.
        112
          Id. at 4-148. The final EIS also addresses impacts should Texas LNG hire
 more than 20% of its workforce from outside the local area. Id. at 4-146 to 4-147.
        113
           Id. at 4-147. The number of vacant housing units has increased since issuance
 of the Final EIS. U.S. Census Bureau 2020 Decennial Census, File H1, Occupancy
 Status.
        114
              Final EIS at 4-274.
        115
              Id. at 4-329.
        116
              Id. at 4-149.
        117
              Id.
USCA Case #23-1175           Document #2007581           Filed: 07/10/2023   Page 24 of 136
 Docket No. CP16-116-002                                                             - 24 -

 levels and diminished roadway capacity.118 These impacts would most likely affect
 environmental justice communities near the LNG terminal site, such as Census
 Tract 142.02, Block Group 2 and Census Tract 127, Block Group 2, Census Tract 123.04,
 Block Group 4, and Census Tract 123.05, Block Group 1.119

        To minimize impacts, Texas LNG proposes to construct an auxiliary lane by a
 contractor hired and paid for by Texas LNG prior to the start of construction, in order to
 minimize impacts on State Highway 48 users.120 In addition, to minimize roadway traffic
 and safety hazards at the project site, Texas LNG proposes to coordinate with the
 Cameron County Sheriff’s office to manually control the vehicle traffic during
 construction as a result of employees leaving the project site and turning left on State
 Highway 48.121

         Sierra Club stated that the offsite parking locations impacts data provided by
 Texas LNG is inadequate.122 To ensure that parking location impacts data is adequately
 addressed and to further minimize impacts on roadway vehicle traffic associated with the
 project, Environmental Condition 22 of the Authorization Order required Texas LNG to
 file with the Commission a Traffic Management Plan prior to construction, for review
 and written approval by the Director of the Office of Energy Projects, that includes
 measures to minimize impacts on roadway traffic, including transporting workers from
 offsite locations via buses. Impacts on environmental justice communities will be
 evaluated as part of this approval.123

         Based on Texas LNG’s proposed mitigation, including the construction of the
 auxiliary lane, and implementation of Environmental Condition 22, staff determined in
 the final EIS that the project would have moderate, but temporary impacts on roadway
 traffic.124 Therefore, based on the foregoing analysis we conclude traffic impacts on



       118
             Id.
       119
             App. B Figs. 5-1-1 to 5-2-15.
       120
             Final EIS at 4-150.
       121
             Id. at 4-149 to 4-150.
       122
             Sierra Club Oct. 19, 2022 Comments at 13.
       123
             Authorization Order, 169 FERC ¶ 61,130 at Env’t Condition 22.
       124
             Id. at 4-150.
USCA Case #23-1175            Document #2007581          Filed: 07/10/2023    Page 25 of 136
 Docket No. CP16-116-002                                                               - 25 -

 environmental justice communities, due to increased traffic on local roadways, would be
 less than significant.

        Environmental justice communities in the study area would experience cumulative
 impacts associated with roadway vehicle construction traffic from the Texas LNG
 Project, as previously described, along with additional impacts from other projects within
 the cumulative geographic scope for roadway traffic.125 As discussed above, impacts
 with the addition of the Texas LNG Project would be less than significant.126 Based on
 the foregoing analysis, we conclude overall cumulative roadway traffic impacts on
 environmental justice communities would be less than significant.

                    6.   Marine Traffic

        According to the final EIS, over the 5-year construction period for the project,
 Texas LNG anticipates about 109 barge deliveries with a peak of approximately three
 deliveries per day.127 Current vessel traffic in the Brownsville Ship Channel is about
 1,057 vessels per year,128 which equates to an average of about 88 vessels per month.129
 The additional barge deliveries trips associated with Texas LNG’s construction would
 represent an increase of about two percent in current barge traffic and would not result in
 significant impacts on vessel traffic in the channel.130 Therefore, based on the updated
 environmental justice analysis in response to the court remand, we conclude users of the
 channel from environmental justice communities would not be significantly impacted
 during construction.

        According to the final EIS, permanent increases in marine traffic within the
 Brownsville Ship Channel would occur with the addition of six LNG carriers per month;
 however, the U.S. Coast Guard has determined that the waterway is suitable for the
 project LNG vessel use.131 Based on the foregoing analysis, we conclude recreational
 boaters and fishers within the Brownsville Ship Channel, which include individuals from

        125
              Id. at 4-274.
        126
              Id. at 4-331.
        127
              Final EIS at 4-150.
        128
              This number does not include commercial and recreational fishing vessels.
        129
              Id. at 4-150.
        130
              Id. at 4-151.
        131
              Id.
USCA Case #23-1175           Document #2007581        Filed: 07/10/2023     Page 26 of 136
 Docket No. CP16-116-002                                                             - 26 -

 environmental justice communities, would not experience significant changes in marine
 traffic. Additionally, increased vessel traffic during construction and operation could
 increase shoreline erosion and suspended sediment concentrations due to changes in
 wave dynamics.132 Environmental justice communities in proximity to the project,
 particularly the communities in Census Tract 142.02, Block Group 2, Census Tract 127,
 Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract 123.05, Block
 Group 1,133 would be affected most by shoreline erosion and suspended sediment
 concentrations as they are located immediately adjacent to the Brownsville Ship Channel.
 Texas LNG would install rock armoring along the side slopes of the maneuvering basin
 to provide protection from propeller wash.134 Use of the waterways by LNG carriers,
 barges, and support vessels during construction and operation of the project would be
 consistent with the planned purpose and existing use of active shipping channels, and
 associated impacts on shoreline erosion and water quality from resuspension of sediments
 due to vessel traffic would not be significant.135

        Environmental justice communities in the study area would experience cumulative
 impacts associated with marine traffic from the Texas LNG Project, as previously
 described, along with additional impacts from other projects within the cumulative
 geographic scope for marine traffic.136 As discussed above, even with the addition of the
 Texas LNG Project, marine traffic impacts would be less than significant.137 Based on
 the foregoing analysis, we conclude overall cumulative marine traffic impacts on
 environmental justice communities would be less than significant.

                   7.   Noise

        As stated in the final EIS, noise levels resulting from construction of the
 Texas LNG Project would vary over time and would depend on the number and type of
 equipment in operation, operating conditions, and the distances between sources and
 receptors during construction.138 Texas LNG’s proposed pile driving, dredging, and

       132
             Id. at 4-24.
       133
             App. B Figs. 5-1-1 to 5-2-15.
       134
             Final EIS at 4-24.
       135
             Id.
       136
             Id. at 4-274.
       137
             Id. at 4-151.
       138
             Id. at 4-192.
USCA Case #23-1175           Document #2007581        Filed: 07/10/2023     Page 27 of 136
 Docket No. CP16-116-002                                                             - 27 -

 facility construction have the potential to produce noise impacts.139 The closest noise
 sensitive areas (NSA) to the Texas LNG Project terminal within environmental justice
 communities are: NSA 1, about 1.6 miles north-northeast of the project and includes the
 residential area located off of Port Road, between Industrial Drive and Bahia Drive;
 NSA 2, about 1.6 miles north-northeast of the project and includes residences in the
 Pirate’s Cove development, located off Port Road between Industrial Drive and Bahia
 Drive; and NSA 3, about 1.7 miles northeast of the project and includes the closest
 residences on the northwest end of West Scallop, located northeast of the project.140

         The predicted sound levels at the identified NSAs during all project construction
 activities, except for the proposed pile-driving activities, were lower than the
 Commission’s noise standard of 55 decibels on the A-weighted scale (dBA) day-night
 sound level (Ldn).141 The human ear’s threshold of perception for noise change is
 considered to be 3 dBA; 6 dBA is clearly noticeable to the human ear; and 10 dBA is
 perceived as a doubling of noise.142 The increased sound from construction at NSA 1
 would not exceed the 3 dBA threshold for human perception of noise change and the
 increased sound from construction at NSAs 2 and 3 would be 6 decibels and 5.7 decibels,
 respectively, and therefore may be perceptible.143

         Pile driving would occur for approximately 13 months, with peak pile driving
 activities occurring over 4 months, and was calculated to produce Ldn 24-hour equivalent
 sound levels that are below the Commission’s noise criterion of 55 dBA at the nearest
 NSAs. The calculated maximum sound levels, or Lmax, of pile-driving (i.e., highest
 sound level during each hammer strike) would be similar to slightly above, the existing
 ambient noise levels. Although pile driving would be audible at nearby NSAs when
 ambient sound levels are low, Texas LNG would limit pile driving to only occur during
 daytime construction hours (typically 7 a.m. to 5 p.m.). The noise of pile-driving would
 be audible outside of residences, and potentially indoors in the homes closest to the
 project. Therefore, to ensure that impacts due to maximum pile driving noise levels at
 the project would be minimized, the Authorization Order requires Texas LNG to monitor

       139
             Id.
       140
             Id. at 4-189.
       141
             Id. at 4-194.
       142
           See Bies and Hansen, Engineering Noise Control: Theory and Practice at
 Table 2.1 (1988), https://www.semanticscholar.org/paper/ENGINEERING-NOISE-
 CONTROL%3A-Theory-and-Practice-Bies-
 Hansen/23a7741e61d5b42d7da770b857054a50f1380648 (last visited March 2023).
       143
             Final EIS at 4-194.
USCA Case #23-1175            Document #2007581           Filed: 07/10/2023      Page 28 of 136
 Docket No. CP16-116-002                                                                  - 28 -

 sound levels during the start of pile-driving activities.144 If the sound levels due to pile-
 driving are greater than 10 dBA over the ambient sound levels, then Texas LNG is also
 required to cease that work, implement noise mitigation, and file evidence of reduced
 pile-driving sound levels.

         Operational noise associated with the project would be persistent and would
 increase noise levels over ambient levels between 0.1 and 1.3 decibels at the closest
 NSAs.145 Based on these estimates, the noise increase generated by the operation of the
 Texas LNG Project is not likely to be perceptible at nearby NSAs within environmental
 justice communities. In addition, Environmental Conditions 25 and 26 of the
 Authorization Order require Texas LNG to meet the Commission’s sound level
 requirements. Based on the foregoing analysis, Texas LNG’s estimate that operation of
 the project will not exceed the 3 dBA threshold for human perception of noise change at
 the nearest NSAs, and given the Authorization Order’s conditions for measurement of
 construction and operational sound levels, we conclude the project would result in less
 than significant noise impacts on local residents and the surrounding communities,146
 including environmental justice populations.

        For simultaneous construction activities, the final EIS stated that the predicted
 sound level increase over the existing ambient ranges from 2.2 to 9.8 dBA Ldn at the
 NSAs and sound levels of slightly over 55 dBA Ldn are predicted for NSAs C2, C3,
 and C5,147 resulting in a minor to significant impact. For construction activities that are
 not simultaneous but incremental, the predicted sound level increase ranges from 1.0 to
 8.6 dBA Ldn at the NSAs. These increases would result in a minor to moderate impact;
 however, all levels would be below 55 dBA Ldn. For Palmito Ranch Battlefield,
 Calculation Point-1 (CP-1), the predicted cumulative construction increase was
 10.1 dBA Ldn over the existing ambient, resulting in a perceived doubling of loudness.
 For the Laguna Atascosa NWR, Calculation Point 2 (CP-2) there is a higher ambient
 sound level so the predicted increase due to cumulative construction noise would be 2.7
 dBA Ldn, resulting in a less than noticeable increase.148

       The final EIS concluded that environmental justice communities in the study area
 would experience cumulative impacts related to noise from operation of the Texas LNG

        144
              Authorization Order, 169 FERC ¶ 61,130 at app. Env’t Condition 24.
        145
              Final EIS at 4-197.
        146
              Id. at 4-296.
        147
              These NSAs are residences in proximity of the project. Id. at 4-346.
        148
              Id. at 4-357.
USCA Case #23-1175            Document #2007581          Filed: 07/10/2023      Page 29 of 136
 Docket No. CP16-116-002                                                                 - 29 -

 Project, along with additional impacts from other projects within the cumulative
 geographic scope for noise.149 The final EIS showed that for operational noise with all
 projects fully operational, the predicted sound level impacts are much lower than
 construction impacts, with potential increases over the existing ambient of between 0.3
 and 1.5 dBA Ldn at NSAs, resulting in minor impacts. Operational impacts are slightly
 higher at two locations, the Palmito Ranch Battlefield, CP-1, and Laguna Atascosa
 NWR CP-2, with possible increases in sound levels due to operations of between 1.3 and
 4.8 dBA Ldn. This is generally considered a minor to moderate long-term impact.150
 Based on the foregoing analysis, we conclude that overall cumulative noise impacts on
 environmental justice communities during construction and operation would be less than
 significant.

                  8.     Safety

        The Energy Policy Act of 2005 amended the NGA to require Emergency
 Response Plans and Cost Sharing Plans to be developed by the LNG terminal operator.
 During an incident, response decisions would be made by local emergency responders
 according to conditions as they exist at that time at the facility and in offsite areas. While
 the company may provide advice regarding hazards and potential impacts to the public,
 the emergency responders direct all response tactics, evacuation, sheltering in place, and
 public notification through an Incident Command System.

       In order to further mitigate potential offsite risks,151 Environmental Conditions 36
 and 37 of the Authorization Order require Texas LNG to prepare an Emergency
 Response Plan and Cost Sharing Plan, to be approved by Commission staff before Texas
 LNG receives its final approval to begin construction.152 Texas LNG’s Emergency
 Response Plan is required to be developed in coordination with U.S. Coast Guard, state,
 county, and local emergency planning groups; fire departments; and state and local law
 enforcement. This ensures that Texas LNG works with the local emergency providers to

        149
              Id. at 4-274.
        150
              Id. at 4-356.
        151
            The Emergency Response Plans are considered the last layer of protection in a
 series of layers of protection evaluated by Commission staff to mitigate potential offsite
 risks. An evaluation of all layers of protection and recommendations to enhance the
 effectiveness and reliability of those safety layers of protection are described in the
 original final Environmental Impact Statement. These recommendations were adopted as
 conditions in the Authorization Order.
        152
           15 U.S.C. § 717b-1(e) (requiring an emergency response plan for any order
 authorizing an LNG terminal).
USCA Case #23-1175        Document #2007581            Filed: 07/10/2023     Page 30 of 136
 Docket No. CP16-116-002                                                              - 30 -

 identify resource needs based on the hazards that could be present due to the facility. The
 result is pre-incident planning to establish procedures, training, and capabilities that
 would be available to the Incident Commander as they decide how best to address a
 specific incident.

        In response to Commission staff’s data requests,153 Texas LNG evaluated potential
 impacts from incidents identified along the LNG marine vessel transit route and at the
 LNG terminal,154 including potential impacts to people with access and functional needs
 as defined in the National Fire Protection Association (NFPA) 1600, Standard on
 Continuity, Emergency, and Crisis Management155 and NFPA 1616, Standard on Mass
 Evacuation, Sheltering, and Re-Entry Programs.156 Separately, Commission staff
 performed an independent analysis157 of potential safety impacts on environmental justice
 communities using conservative, worst-case distances in the modeling assumptions.158

        To ensure Texas LNG’s Emergency Response Plan incorporates any special
 considerations and pre-incident planning for infrastructure and public with access and
 functional needs, including environmental justice communities, and, at a minimum, is

        153
          Commission staff Aug. 16, 2022 Data Request; Commission Staff Aug. 31,
 2022 Data Request.
        154
          Texas LNG Sept. 15, 2022 Response to Commission staff Data Request; Texas
 LNG Sept. 21, 2022 Response to Commission staff Data Request; Texas LNG Oct. 10,
 2022 Response to Commission staff Data Request.
        155
          The NFPA standards are free and publicly accessible to view in English and
 Spanish on the NFPA website. NFPA, NFPA 1600: Standard on Continuity,
 Emergency, and Crisis Management, https://www.nfpa.org/codes-and-standards/all-
 codes-and-standards/list-of-codes-and-standards/detail?code=1600.
        156
          NFPA, NFPA 1616: Standard on Mass Evacuation, Sheltering, and Re-entry
 Programs, https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-
 codes-and-standards/detail?code=1616.
        157
         Appendix C includes additional discussion and details on Commission staff’s
 environmental justice safety analysis.
        158
           The block groups located within environmental justice communities that
 exceed the thresholds for minority and low income would include Census Tract 142.02,
 Block Group 2, Census Tract 127, Block Group 2, Census Tract 123.04, Block Group 2,
 Census Tract 123.04, Block Group 4 (based on the minority and low-income thresholds);
 Census Tract 123.04, Block Group 3 (based on the minority threshold); and Census
 Tract 123.04 Block Group 1 (based on low-income threshold).
USCA Case #23-1175            Document #2007581          Filed: 07/10/2023     Page 31 of 136
 Docket No. CP16-116-002                                                                - 31 -

 consistent with the recognized and generally accepted good engineering practices for
 evacuating and sheltering in place,159 we modify Environmental Conditions 36 and 37
 from the Authorization Order in Appendix A of this order. These modified conditions
 specify that Texas LNG’s emergency response and cost sharing considerations require
 the preparation of public education materials, including for environmental justice
 communities, that identifies potential hazards and impacts, steps for notification,
 proposed evacuation routes and shelter in place locations. The plan must also provide for
 first responder training, emergency command centers and equipment, and public
 communication methods and devices. These conditions also require that Texas LNG
 periodically disseminate public education materials and that they be made available in
 English and Spanish.

         We also clarify our expectation that certain Emergency Response Plan information
 be provided as public information. While the Commission has long required that certain
 contents of the plan be subject to public disclosure, this has been previously interpreted to
 mean the plan could be filed requesting privileged or CEII treatment and that the public
 could access this information through Freedom of Information Act procedures. We
 clarify the intent is for project sponsors to file certain Emergency Response Plan
 information as public so that surrounding communities are informed about the possible
 steps that an Incident Commander may require regarding notification, evacuation, and
 sheltering in place.

                  9.     Air Quality

        As discussed in the final EIS, construction of the Texas LNG Project would
 impact air quality.160 The construction emissions are anticipated from operation of
 construction equipment, operation of the onsite concrete batch plants, deliveries of
 supplies by barge and truck, worker commutes, and land disturbance. Fugitive dust
 emissions would include contributions from general site construction work (a function of
 acreage impacted), earth-moving fugitive dust emissions (quantity of soil moved), and
 unpaved road travel (distance of travel and weight of vehicles). Fugitive dust would be
 produced primarily during the site preparation activities, when the site would be cleared
 of debris, leveled, and graded, including at proposed offsite facilities.161

       The final EIS determined that construction air emissions from the project, when
 considered with background concentrations, combined with staged emissions impacts

        159
         See app. C at P 2 (citing NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470,
 and NFPA 475).
        160
              Final EIS at 4-175.
        161
              Id. at 4-175.
USCA Case #23-1175           Document #2007581         Filed: 07/10/2023     Page 32 of 136
 Docket No. CP16-116-002                                                              - 32 -

 from commissioning, start-up, and operations of the project, could result in an
 exceedance of the NAAQS in the vicinity of the project for construction years when these
 emissions are taking place concurrently.162 Emissions from construction tend to be
 variable, depending primarily on the number, type, horsepower, and manufacture date of
 equipment, as well as the phase of construction. Construction emissions typically have a
 greater nearby impact due to the lower height of the exhaust, and the ground level
 emission from dust (as PM2.5 and PM10). Therefore, emissions from construction of the
 Texas LNG Project would be highly localized and have the largest impact within a short
 radius around the construction footprint, but would disperse at further distances. Because
 pollutant concentrations decrease with distance, the dispersal of Texas LNG’s
 construction emissions at the distance of the nearest residences (approximately 1.6 miles
 away)163 should not result in adverse impacts on air quality. But construction emissions
 could be elevated at recreational areas near the LNG terminal site, such as the Laguna
 Atascosa National Wildlife Refuge, which has a border approximately 200 feet north of
 the project.164

         Texas LNG will implement the following mitigation measures to minimize
 construction impacts on air quality, including application of water to minimize fugitive
 dust, limiting engine idling, and using recent models of construction equipment
 manufactured to meet air quality standards.165 Fugitive dust emissions would be
 minimized by Texas LNG through implementation of the Fugitive Dust Control Plan
 developed for the project.166 Nevertheless, these fugitive dust emissions may still have an
 adverse impact, and may add to evaluated levels of PM2.5 and PM10 during periods where
 construction, commissioning, and operation are concurrent. Additionally, commissioning
 activities are not steady-state operations and they can have an increased emission
 intensity during start up.

         Texas LNG plans to commission and begin operations on the first completed
 liquefaction facilities while it continues to construct the remaining facilities; the
 simultaneous construction, commissioning and start-up, and operations at the project will
 result in periods of overlapping construction and operational emissions. As a result,
 Commission staff cannot exclude the possibility of short term ambient emission
 concentrations of PM2.5, PM10, and NO2 at levels above the NAAQS at nearby public

       162
             Id.
       163
             Id. at 4-323.
       164
             Id. at 4-56.
       165
             Id. at 4-336.
       166
             Id. at 4-178.
USCA Case #23-1175           Document #2007581          Filed: 07/10/2023      Page 33 of 136
 Docket No. CP16-116-002                                                                - 33 -

 recreational areas, such as the Laguna Atascosa National Wildlife Refuge. As such, to
 prevent such occurrences and to ensure protection of air quality for these areas, we are
 requiring, in Environmental Condition 130 in Appendix A of this order that Texas LNG
 take action to ensure that concurrent emissions during construction, commissioning and
 start-up, and operation of terminal facilities would not exceed the NAAQS.

         Prior to commissioning, Texas LNG shall prepare and file a Project Ambient Air
 Quality Mitigation and Monitoring Plan for reducing the air quality impacts of
 overlapping construction, commissioning, and terminal operations. Such plan could
 include measures such as revising construction and commissioning schedules to reduce
 impacts. Texas LNG shall also include how it will monitor 1-hour NO2, 24-hour PM10,
 and 24-hour PM2.5 during this period. The plan must describe the site selection process
 for installing air quality monitors, and include procedures for data management and
 reporting. This monitoring will ensure that the mitigation measures implemented are
 effective in keeping emissions below the NAAQS, as specified in 40 C.F.R. pt. 50
 (2022).

        Based on Commission staff’s updated environmental justice analysis, and the
 addition of Environmental Condition 130 in Appendix A of this order, we conclude that
 air quality impacts on environmental justice communities during construction of the
 Texas LNG Project would be less than significant.

         The greatest potential for cumulative construction emissions impacts between
 Texas LNG and Rio Grande would be during years over overlapping construction.
 Simultaneous construction of the Rio Grande LNG and Texas LNG Terminals could
 result in a temporary, moderate to major increase in emissions of criteria pollutants in the
 immediate vicinity of the LNG terminal sites.167 In addition, transport of construction
 materials associated with the Rio Grande LNG and Texas LNG Terminals would
 cumulatively add to regional emissions.168 Both Texas LNG and Rio Grande would
 implement similar mitigation measures to minimize construction impacts. As noted
 above, construction emissions are localized, and impacts would be greatest in the
 immediate vicinity of the LNG terminal sites. During the time period when construction
 and operational activities at both facilities are taking place concurrently, there may be
 adverse impacts on air quality.169 Because pollutant concentrations would decrease with
 distance from the project site, concurrent emissions would be unlikely to adversely
 impact air quality in residential areas, which are located 1.6 miles away or further. As

        167
         Id. at 4-336. We note that since issuance of the final EIS, the proposed
 Annova LNG Project, included in the cumulative impact analysis, is no longer proposed.
        168
              Id.
        169
              Final EIS at 4-269.
USCA Case #23-1175       Document #2007581            Filed: 07/10/2023     Page 34 of 136
 Docket No. CP16-116-002                                                             - 34 -

 previously described, although residential areas would not likely experience adverse air
 quality impacts, individuals from environmental justice communities fishing or otherwise
 recreating near the terminal may experience adverse air quality impacts. As discussed
 above, we are requiring Texas LNG to prepare a Project Ambient Air Quality Monitoring
 and Mitigation Plan as Environmental Condition 130 in Appendix A of this order, and a
 similar plan for Rio Grande LNG; thus, we conclude that cumulative construction air
 quality impacts on environmental justice communities would be less than significant.

         In order to assess the impact of operational emissions from the Texas LNG Project
 facility on the air quality in environmental justice communities, Commission staff
 requested that Texas LNG provide a cumulative air model of the emissions. In response,
 Texas LNG provided a cumulative model that included all emissions from the Texas
 LNG Project, including mobile ship emissions (LNG carrier, tugs, escort vessels),
 relevant regional monitoring ambient background data, and existing and proposed
 regional industrial major sources within 50 kilometers of the project’s fenceline
 boundary.170 This also includes emissions from the authorized Rio Grande LNG Project
 terminal and its associated vessel emissions. The model provided worst-case
 concentration scenarios that were then compared to the NAAQS.

         Table 2 in Appendix B displays the results from the cumulative model (combined
 operation of Texas LNG terminal, LNG vessel, and tugboat sources), which represents
 the worst-case scenario resulting in the maximum possible emissions. Under this
 cumulative modeling assessment, the highest predicted concentrations for CO, NO2,
 PM2.5, PM10, and SO2were found to be below the NAAQS at all locations within 50
 kilometers of the Texas LNG facility.171 Although the Texas LNG Project would
 cumulatively add to existing background concentrations of criteria air pollutants within
 the regional airshed, the total concentration of background plus modeled emissions from
 sources within this 50-kilometer radius, including emissions from both the Texas LNG
 and Rio Grande LNG Project terminals, would remain under applicable NAAQS
 thresholds, which are meant to protect sensitive populations. In the final EIS,
 Commission staff analyzed the impact of emissions of ozone precursors—NOx and
 VOC—by comparing them to the analysis of ozone impacts for the Rio Grande LNG
 Project, whose projected emission of those precursors was ten times larger. The analysis
 for the Rio Grande LNG Project showed that the 8-hour maximum predicted increase in




       170
         The background inventory data were obtained from Texas Commission on
 Environmental Quality.
       171
         The modeling indicates that lead emissions are not a measurable amount and
 thus Commission staff omitted them from further analysis.
USCA Case #23-1175          Document #2007581          Filed: 07/10/2023     Page 35 of 136
 Docket No. CP16-116-002                                                             - 35 -

 ozone concentration would not result in an exceedance of the 8-hour ozone NAAQS.172
 Because the Texas LNG Project would contribute less than 10% of the annual NOx
 emissions estimated for the Rio Grande LNG terminal, Commission staff concluded that
 the Texas LNG facility would also not result in a NAAQS exceedance for ozone.173
 Moreover, in order to analyze the cumulative impact of the proposed LNG facilities,
 Commission staff reasoned that if the maximum predicted increase of ozone
 concentration estimated for the Rio Grande LNG terminal is increased by 10% (to
 account for Texas LNG’s NOx emissions), the cumulative impact would remain below
 the 8-hour ozone NAAQS. We agree and conclude that there would not be a significant
 cumulative impact with respect to 8-hour ozone during operation of the facility.

        Both the Texas LNG and Rio Grande LNG Projects would be in compliance with
 the NAAQS during operations174 and the NAAQS are designated to protect sensitive
 populations.175 The operation of the projects when combined with the other projects
 within the cumulative geographic scope for air quality176 would not cause or contribute to
 a potential exceedance of the NAAQS on a regional or localized basis.177 Based on the


       172
             Final EIS for Rio Grande LNG, Docket No. CP16-454-000, at 4-269.
       173
             Final EIS at 4-339.
       174
           Air quality modeling of criteria pollutants for both LNG terminals reviewed
 impacts on a regional and local scale and did not identify any areas of NAAQS thresholds
 exceedance that would be attributable to the LNG terminals. Texas LNG Jan. 30, 2023
 Response to Commission staff Jan. 6, 2023 Environmental Information Request at
 Tables 9-5 and 9-6, and Rio Grande Jan. 27, 2023 Response to Commission staff Jan. 6,
 2023 Environmental Information Request, Rio Grande LNG Project Air Dispersion
 Modeling Report.
       175
           The combustion of natural gas produces the criteria pollutants regulated by
 NAAQS as well as volatile organic compounds including hazardous air pollutant
 chemicals known to cause health impacts. Final EIS at 4-163 to 4-164. The Texas LNG
 terminal is a minor source of hazardous air pollutants and is required to comply with
 certain general provisions for minor area sources under the Clean Air Act. The Rio
 Grande LNG facility is a major source of hazardous air pollutants and must comply with
 the Clean Air Act National Emission Standards for Hazardous Air Pollutants for
 stationary sources at the LNG terminal.
       176
             Final EIS. at 4-274.
       177
          Texas LNG Jan. 30, 2023 Response to Commission staff Jan. 6, 2023
 Environmental Information Request at Tables 9-5 and 9-6, and Rio Grande Jan. 27, 2023
 Response to Commission staff Jan. 6, 2023 Environmental Information Request, Rio
USCA Case #23-1175           Document #2007581          Filed: 07/10/2023    Page 36 of 136
 Docket No. CP16-116-002                                                              - 36 -

 foregoing analysis, we conclude environmental justice communities would not
 experience significant air quality impacts during operation of the Texas LNG Project.

        Sierra Club commented on an air model filed by Texas LNG on August 16, 2022,
 questioning some of the emission data (for example, why Texas LNG’s estimates for the
 hoteling of LNG vessels was greater than the estimates for the maneuvering of LNG
 vessels).178 Commission staff requested, on February 3, 2022, Texas LNG to provide a
 model of emissions from the Texas LNG facility, but exclude the Rio Grande facility.
 On August 16, 2022, we further requested the Texas LNG to provide the impact of only
 Texas LNG (worst-case scenario) at each census block and to provide the worst-case
 modeled background concentrations for each census block. Sierra Club’s October 19,
 2022 comments relate to this model. Nevertheless, in order to analyze the impacts
 properly, Commission staff requested, on January 6, 2023, that Texas LNG work with
 Rio Grande LNG to provide a full cumulative model to determine the maximum
 concentrations attributable to the operation of the Rio Grande LNG Terminal and Texas
 LNG Terminal, and therefore a consistent methodology to assess the cumulative air
 quality impact, including background concentrations from mobile ship emissions and all
 other sources within 50 kilometers, from simultaneous operation of both terminals. .
 Texas LNG filed this model on January 30, 2023, and Commission staff relied on this
 updated model in its analysis above.

        Citizens filed comments about the risks of air pollution to communities populated
 by marginalized people and indigenous people. The analysis presented here addresses air
 quality impacts on environmental justice communities and on all communities within
 50 kilometers of the proposed facility. Commission staff concluded that there would be
 no significant impact on air quality from the proposed facility based on refined
 cumulative air modeling.

                 10.    Visual Impacts

         Sierra Club commented that the Commission has not requested sufficient
 information to analyze the visual impacts of the Texas LNG Project. In fact, Commission
 staff conducted a comprehensive visual impacts analysis for the project during the
 preparation of the EIS for this project. As stated in the final EIS, the project site and
 adjoining lands along State Highway 48 are undeveloped and primarily comprised of
 open lands and tidal flats with isolated lomas (clay dunes).179 Impacts on visual resources
 may occur during construction of the LNG terminal when increased equipment, vehicles,

 Grande LNG Project Air Dispersion Modeling Report.
       178
             Sierra Club Oct. 19, 2022 Comments at 7.
       179
             Id. at 4-112.
USCA Case #23-1175            Document #2007581            Filed: 07/10/2023       Page 37 of 136
 Docket No. CP16-116-002                                                                    - 37 -

 soil disturbance, import of fill, and construction of the LNG terminal are visible to local
 residents and visitors, including individuals from environmental justice communities,180
 particularly the communities located in Census Tract 142.02, Block Group 2 and Census
 Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
 123.05, Block Group 1, which are closest to the project.181

         Impact on visual resources would also occur during operation to the extent that
 facilities or portions of facilities and their lighting are visible to residents and visitors.182
 Texas LNG assessed potential operational impacts on the viewshed and found that from
 five key observation points, including recreation areas, residential areas, and roadways,
 by producing visual simulations of the project facilities during the day, at night, and
 during flaring events.183 While the Texas LNG Project, especially the storage tanks and
 flares, would be visible from most of the key observation points located in environmental
 justice communities, it would generally not dominate the viewshed.184 Nevertheless, the
 Texas LNG Project would dominate the daytime and nighttime viewshed at State
 Highway 48 and at the Laguna Atascosa National Wildlife Refuge, and the project
 facilities would be prominent at the Loma Ecological Preserve, which are in
 environmental justice communities.185 The project facilities would also likely be visible
 from some residences in Port Isabel and South Padre Island, which are in environmental
 justice communities. South Padre Island, in particular, has numerous high-rise
 condominiums that would have views of the project facilities, especially from the higher
 floors.186 In addition to residences, the project facilities would be visible from
 sightseeing tours that operate within the Brownsville Ship Channel.187 As the
 Commission previously determined, due to the relatively undeveloped nature of the

        180
              Id.
        181
              App. B Figs. 5-1-1 to 5-2-15.
        182
              Final EIS at 4-112.
        183
              Id. at 4-115 to 4-118.
        184
            Id. Key observation points include State Highway 48 (Laguna Atascosa
 National Wildlife Refuge), Port Isabel State Historic Site, Isla Blanca Park, Palo Alto
 Battlefield National Historic Park, and Palmito Ranch Battlefield National Historic
 Landmark.
        185
              Id.
        186
              Id. at 4-141.
        187
              Id.
USCA Case #23-1175           Document #2007581         Filed: 07/10/2023     Page 38 of 136
 Docket No. CP16-116-002                                                              - 38 -

 project area, the visual sensitivity of nearby recreation areas, and the inability to
 implement visual screening measures due to the size and scale of the proposed facility,
 the project would result in a significant impact on visual resources when viewed from the
 Laguna Atascosa National Wildlife Refuge, which is within an environmental justice
 community and would have a negligible to moderate impact on the other visual resources
 evaluated.188

         Texas LNG would minimize visual impacts from lighting by implementing
 measures outlined in its Facility Lighting Plan, including shielding lights, using lights
 designed to minimize glare, and using timers and motion detection sensors where
 feasible.189 Several light reduction techniques would also be implemented including
 limiting the amount of outdoor lighting installed, dimming lights at night, and directing
 lights downward.190 Despite these mitigation measures, based on the location of the
 project facility and the foregoing analysis, we conclude visual impacts on environmental
 justice communities would be significant.

        As the Commission previously determined, the Texas LNG Project would result in
 temporary to permanent and negligible to significant impacts on the viewshed. Other
 projects constructed within the geographic scope Texas LNG Project would also
 contribute to cumulative impacts on the viewshed with the Texas LNG Project.191
 Consistent with the Commission’s earlier visual impacts analysis, we conclude that
 overall potential significant cumulative visual resources impacts, including on
 environmental justice communities, would occur, along with additional impacts from the
 projects within the cumulative geographic scope for visual resources.




       188
             Id.
       189
             Id. at 4-112.
       190
             Id. at 4-199 to 4-200.
       191
             Id. at 4-326 to 4-327.
USCA Case #23-1175        Document #2007581            Filed: 07/10/2023     Page 39 of 136
 Docket No. CP16-116-002                                                             - 39 -

              11.    Environmental Justice Conclusion

         As described in the final EIS, the Texas LNG Project will have a range of impacts
 on the environment and individuals living in the vicinity of the project facilities,
 including environmental justice communities. As detailed above, we revised the scope of
 our analysis to include analyses commensurate with the associated impact. Out of 284
 block groups identified within a 50-kilometer radius of the Texas LNG Project, 279 block
 groups were considered environmental justice communities. The closest environmental
 justice block groups are Census Tract 142.02, Block Group 2 and Census Tract 127,
 Block Group 2, and Census Tract 123.04, Block Group 4, which abut the Texas LNG
 Project terminal. These block groups would be the most impacted and impacts would
 diminish as the distance from the project increases. We have determined that certain
 impacts from construction and operation of the project would be disproportionately high
 and adverse, as impacts would be predominately borne by environmental justice
 communities. As concluded in the final EIS and above, environmental justice
 communities within the project area may experience significant project-related and
 cumulative visual impacts. Project-related impacts associated with wetlands, surface
 water, recreational and subsistence fishing, tourism, socioeconomics, traffic, noise, and
 air quality would be less than significant.

 IV.   Conclusion

         In conformance with the court’s opinion, in this order on remand, we respond to
 the arguments pertaining to whether the use of the social cost of GHGs is required by
 CEQ’s regulations and disclose the social cost of GHG calculations for informational
 purposes, but, as discussed, we do not characterize the significance of the projects’ GHG
 emissions. Additionally, consistent with CEQ and EPA guidance, the Commission
 conducted a new environmental justice analysis with updated units of geographic analysis
 for assessing the project’s impacts on environmental justice communities. We conclude
 that the impacts on environmental justice populations from the project would be
 disproportionately high and adverse because they would be predominately borne by the
 environmental justice communities identified and, specifically, communities in the areas
 near the Texas LNG Project may experience significant visual impacts, as well as
 significant cumulative visual impacts; but that all other project-related impacts would be
 less than significant.

       We continue to find that the project, as conditioned in the Authorization Order and
 as modified herein, is an environmentally acceptable action.

       Further, as stated above, we continue to find that, under section 3 of the NGA, the
 Texas LNG Project is not inconsistent with the public interest.
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023     Page 40 of 136
 Docket No. CP16-116-002                                                               - 40 -

        Compliance with the environmental conditions appended to our orders is integral
 to ensuring that the environmental impacts of approved projects are consistent with those
 anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
 information submitted. Only when satisfied that the applicant has complied with all
 applicable conditions will a notice to proceed with the activity to which the conditions are
 relevant be issued. We also note that the Commission has the authority to take whatever
 steps are necessary to ensure the protection of environmental resources during
 construction and operation of the project, including authority to impose any additional
 measures deemed necessary to ensure continued compliance with the intent of the
 conditions of the order, as well as the avoidance or mitigation of unforeseen adverse
 environmental impacts resulting from project construction and operation.

         Any state or local permits issued with respect to the jurisdictional facilities
 authorized herein must be consistent with the conditions of this authorization. The
 Commission encourages cooperation between Texas LNG and local authorities.
 However, this does not mean that state and local agencies, through application of state or
 local laws, may prohibit or unreasonably delay the construction or operation of facilities
 approved by this Commission.192

         At a hearing held on April 20, 2023, the Commission on its own motion received
 and made a part of the record in this proceeding all evidence, including the application,
 applicant data responses, and exhibits therein, and all comments, and upon consideration
 of the record,

 The Commission orders:

        (A) The Commission affirms its earlier determinations that the Texas LNG
 Project is not inconsistent with the public interest.

       (B) The authorization in Ordering Paragraph (A) is conditioned on Texas
 LNG’s compliance with the environmental conditions set forth in the appendix to the
 Authorization Order and Appendix A of this order




        192
           See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
 considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
 Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
 authority over the transportation of natural gas is preempted); Dominion Transmission,
 Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and local
 regulation is preempted by the NGA to the extent it conflicts with federal regulation, or
 would delay the construction and operation of facilities approved by the Commission).
USCA Case #23-1175       Document #2007581            Filed: 07/10/2023     Page 41 of 136
 Docket No. CP16-116-002                                                            - 41 -

        (C) Texas LNG shall notify the Commission’s environmental staff by telephone
 or e-mail of any environmental noncompliance identified by other federal, state, or local
 agencies on the same day that such agency notifies Texas LNG. Texas LNG shall file
 written confirmation of such notification with the Secretary of the Commission within 24
 hours.

 By the Commission. Commissioner Phillips is concurring with a separate statement
                    attached.
                    Commissioner Clements is dissenting with a separate statement
                    attached.

 (SEAL)




                                              Debbie-Anne A. Reese,
                                                Deputy Secretary.
USCA Case #23-1175       Document #2007581            Filed: 07/10/2023     Page 42 of 136
 Docket No. CP16-116-002                                                            A- 1 -

                                      Appendix A

                                Texas LNG Project
                  Modified Environmental Conditions 36 and 37 and
                     Additional Environmental Condition 130


 Texas LNG shall continue to comply with the environmental conditions set forth in the
 appendix to the Commission’s Authorization Order, 169 FERC ¶ 61,130 (2019). In
 addition this order modifies conditions 36 and 37; and includes condition 130:

 36.   Prior to construction of final design, Texas LNG shall file with the Secretary,
       for review and approval by the Director of the Office of Energy Projects, or their
       designee, an Emergency Response Plan, including evacuation and any sheltering
       and re-entry, and coordinate procedures with the U.S. Coast Guard; state, county,
       and local emergency planning groups; fire departments; state and local law
       enforcement; and other appropriate federal agencies. This plan shall be consistent
       with recommended and good engineering practices, as defined in National Fire
       Protection Association (NFPA) 1600, NFPA 1616, NFPA 1620, NFPA 470,
       NFPA 475, or approved equivalents, and based on potential impacts and onsets of
       hazards from accidental and intentional events along the liquefied natural gas
       (LNG) marine vessel route and potential impacts and onset of hazards from
       accidental and intentional events at the LNG terminal, including but not limited to
       a catastrophic failure of the largest LNG tank. This plan shall address any special
       considerations and pre-incident planning for infrastructure and public with access
       and functional needs and shall include at a minimum:

       a.     materials and plans for periodic dissemination of public education and
              training materials in English and Spanish for potential hazards and impacts,
              identification of potential hazards, and steps for public notification,
              evacuation, and shelter in place within any transient hazard areas along the
              marine vessel route, and within LNG terminal hazard areas in the event of
              an incident;

       b.     plans to competently train emergency responders required to effectively and
              safely respond to hazardous material incidents including, but not limited to
              LNG fires and dispersion;

       c.     plans to competently train emergency responders to effectively and safely
              evacuate or shelter public within transient hazard areas along the marine
              vessel route, and within hazard areas from LNG terminal;

       d.     designated contacts with federal, state and local emergency response
              agencies responsible for emergency management and response within any
USCA Case #23-1175     Document #2007581             Filed: 07/10/2023      Page 43 of 136
 Docket No. CP16-116-002                                                            A- 2 -

            transient hazard areas along the marine vessel route, and within hazard
            areas from LNG terminal;

      e.    scalable procedures for the prompt notification of appropriate local officials
            and emergency response agencies based on the level and severity of
            potential incidents;

      f.    scalable procedures for mobilizing response and establishing a unified
            command, including identification, location, and design of any emergency
            operations centers and emergency response equipment required to
            effectively and safely to respond to hazardous material incidents and
            evacuate or shelter public within transient hazard areas along the marine
            vessel route, and within LNG terminal hazard areas;

      g.    scalable procedures for notifying public, including identification, location,
            design, and use of any permanent sirens or other warning devices required
            to effectively communicate and warn the public prior to onset of
            debilitating hazards within any transient hazard areas along the LNG
            marine vessel route and within hazard areas from LNG terminal;

      h.    scalable procedures for evacuating the public, including identification,
            location, design, and use of evacuation routes/methods and any mustering
            locations required to effectively and safely evacuate public within any
            transient hazard areas along the LNG marine transit route and within hazard
            areas from LNG terminal; and

      i.    scalable procedures for sheltering the public, including identification,
            location, design, and use of any shelters demonstrated to be needed and
            demonstrated to effectively and safely shelter public prior to onset of
            debilitating hazards within transient hazard areas that may better benefit
            from sheltering in place (i.e., those within Zones of Concern 1 and 2), along
            the route of the LNG marine vessel and within hazard areas that may
            benefit from sheltering in place (i.e., those within areas of 1,600 BTU/ft2-
            hr and 10,000 BTU/ft2-hr radiant heats from fires with farthest impacts,
            including from a catastrophic failure of largest LNG tank) of the LNG
            terminal.

      Texas LNG shall notify the Commission staff of all planning meetings in advance
      and shall report progress on the development of its Emergency Response Plan at
      3‑month intervals. Texas LNG shall file with the Secretary public versions of
      offsite emergency response procedures for public notification, evacuation, and
      shelter in place.
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023     Page 44 of 136
 Docket No. CP16-116-002                                                               A- 3 -

 37.    Prior to construction of final design, Texas LNG shall file with the Secretary for
        review and written approval by the Director of the Office of Energy Projects, or
        the Director’s designee, a Cost-Sharing Plan identifying the mechanisms for
        funding all Project-specific security/emergency management costs that would be
        imposed on state and local agencies. This comprehensive plan shall include
        funding mechanisms for the capital costs associated with any necessary
        security/emergency management equipment and personnel base. This plan shall
        include sustained funding of any requirement or resource gap analysis identified to
        effectively and safely evacuate and shelter public and to effectively and safely
        respond to hazardous material incidents consistent with recommended and good
        engineering practices. Texas LNG shall notify FERC staff of all planning
        meetings in advance and shall report progress on the development of its Cost
        Sharing Plan at 3-month intervals.

 130.   Prior to commissioning, Texas LNG shall file with the Secretary, for review and
        written approval by the Director of the Office of Energy Projects, or the Director’s
        designee, a Project Ambient Air Quality Mitigation and Monitoring Plan for
        periods when construction, commissioning and start-up, and operation of the LNG
        Terminal occur simultaneously. To ensure that concurrent emissions during
        construction, commissioning and start-up, and operation of terminal facilities are
        effectively mitigated, the plan’s thresholds for concentrations of particulate matter
        (PM2.5 and PM10) and nitrogen oxide (NO2) must be established based on the
        National Ambient Air Quality Standards (NAAQS), as specified in 40 C.F.R. Part
        50 and shall:

        a.     include a monitoring plan for PM2.5, PM10, and NO2, including a description
               of the site selection process for the proposed locations for air quality
               monitors; data management; reporting; and protocols to manage any
               potential exceedances of the NAAQS for PM2.5, PM10, and NO2 that may be
               observed during the monitoring activities;

        b.     detail what measures Texas LNG will implement should the levels of PM2.5
               or PM10 exceed the NAAQS 24-hour limit or should the levels of NO2
               exceed the NAAQS 1-hour limit as specified in 40 C.F.R. Part 50; and

        c.     provide that Texas LNG will file weekly reports during periods when the
               plan is in use, documenting the duration of any exceedances, reasons for
               elevated levels of PM2.5, PM10, or NO2, actual measured values, and to the
               extent there are exceedances, what minimization or mitigation measures
               Texas LNG implemented to reduce these levels and documentation of a
               reduction to or below the threshold(s).
USCA Case #23-1175     Document #2007581         Filed: 07/10/2023   Page 45 of 136
 Docket No. CP16-116-002                                                    B- 1 -

                                   Appendix B

                     Environmental Justice Tables and Figures
Docket No. CP16-116-002                                                                                             B- 2 -

                                                             Table 1
                                                       Texas LNG Project
                                    Minority Populations by Race and Low-Income Populations
                                                 Within 50 km of Terminal Site
                                                                                                                                            USCA Case #23-1175




 GEOGRAPHIC AREA AND                                                                                                                LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                    INCOME
State/ County/    Population White (Not Black or Asian American        Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and          and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan         Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)      (%)                                                        (%)
State of Texas 28,862,581 40.7           11.8    5.0   0.2             0.1             0.3      2.3        39.8        59.3       13.3
Cameron County 420,554    8.5            0.4     0.7   0.1             0.0             0.1      0.3        90.0        91.5       25.3
                                                                                                                                            Document #2007581




                  1,295      4.2         0.0     2.2   0.0             0.0             0.0      0.0         93.5       95.8       32.4
CT 101.01, BG 1
                  1,582      16.7        0.0     0.0   1.0             0.0             0.0      0.0         82.3       83.3       2.4
CT 101.01, BG 2
                  835        16.2        0.0     0.0   0.0             0.0             0.0      2.9         81.0       83.8       25.9
CT 101.01, BG 3
                  501        79.8        0.0     2.4   0.0             0.0             0.0      5.0         12.8       20.2       21.5
CT 101.02, BG 1
                  847        22.1        0.0     0.0   0.0             0.0             0.0      0.0         77.9       77.9       70.4
CT 101.02, BG 2
                                                                                                                                            Filed: 07/10/2023




                  310        4.5         0.0     0.0   0.0             0.0             0.0      0.0         95.5       95.5       36.2
CT 101.02, BG 3
                  868        5.9         0.0     0.0   0.0             0.0             0.0      0.0         94.1       94.1       11.3
CT 101.03, BG 1
                  1,519      0.0         0.0     0.0   0.0             0.0             0.0      0.0         100.0      100.0      11.3
CT 101.03, BG 2
                                                                                                                                            Page 46 of 136
Docket No. CP16-116-002                                                                                         B- 3 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  1,403      16.7       0.0      0.0   0.0          0.0             0.0      0.0         83.3      83.3        16.0
CT 102.01, BG 1
                  465        2.4        0.0      0.0   0.0          0.0             0.0      0.0         97.6      97.6        30.4
CT 102.01, BG 2
                  1,792      22.8       0.0      0.0   0.0          0.0             0.0      0.0         77.2      77.2        16.5
CT 102.04, BG 1
                  2,412      27.1       0.0      8.3   0.0          0.0             0.0      0.0         64.6      72.9        40.3
CT 102.04, BG 2
                                                                                                                                         Document #2007581




                  1,430      8.3        0.5      0.0   0.0          0.0             0.0      0.0         91.2      91.7        19.3
CT 102.05, BG 1
                  744        47.2       0.0      2.6   0.0          0.0             0.0      0.0         50.2      52.8        0.0
CT 102.05, BG 2
                  401        12.5       0.0      0.0   0.0          0.0             0.0      0.0         87.5      87.5        3.9
CT 105.00, BG 1
                  2,361      2.5        0.0      0.2   0.0          0.0             0.0      0.0         97.3      97.5        21.4
CT 105.00, BG 2
                  1,691      29.5       0.9      3.4   0.0          0.0             0.0      2.9         63.3      70.5        7.9
CT 106.02, BG 1
                                                                                                                                         Filed: 07/10/2023




                  1,576      3.9        0.0      0.0   0.0          0.0             0.0      0.0         96.1      96.1        29.4
CT 106.03, BG 1
                  1,316      13.2       0.8      0.0   0.0          0.0             0.0      0.0         86.0      86.8        20.3
CT 106.03, BG 2
                  1,929      16.2       0.4      0.0   0.0          0.0             0.0      0.0         83.4      83.8        43.6
CT 106.03, BG 3
                                                                                                                                         Page 47 of 136
Docket No. CP16-116-002                                                                                          B- 4 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  1,558      14.4       0.0      7.6   0.0          0.0             0.0      0.0         78         85.6       24.0
CT 106.04, BG 2
                  1,442      12.3       0.0      0.0   5.3          0.0             0.0      1.4         81.1       87.7       25.7
CT 106.04, BG 3
                  1,286      4.4        0.0      0.0   0.0          0.0             0.0      1.1         94.5       95.6       10.5
CT 107.00, BG 1
                  880        20.0       0.0      0.0   0.0          0.0             0.0      0.0         80.0       80.0       36.5
CT 107.00, BG 2
                                                                                                                                         Document #2007581




                  1,164      9.9        0.0      0.0   0.0          6.2             0.0      0.0         83.9       90.1       13.7
CT 107.00, BG 3
                  1,054      13.0       0.0      0.0   0.0          0.0             0.0      0.0         87.0       87.0       26.6
CT 108.01, BG 1
                  1,329      16.0       0.5      0.0   2.0          0.0             0.0      0.0         81.6       84.0       3.1
CT 108.01, BG 2
                  1,978      1.9        0.0      0.0   0.0          0.0             0.0      0.0         98.1       98.1       42.7
CT 108.01, BG 3
                  2,485      6.4        1.7      0.0   0.6          0.0             0.0      0.0         91.2       93.6       37.4
CT 108.02, BG 1
                                                                                                                                         Filed: 07/10/2023




                  967        18.2       0.0      0.0   0.0          0.0             0.0      0.0         81.8       81.8       23.5
CT 108.02, BG 2
                  614        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
CT 108.02, BG 3
                  387        6.5        5.2      2.1   0.0          0.0             0.0      2.3         84.0       93.5       28.0
CT 109.00, BG 1
                                                                                                                                         Page 48 of 136
Docket No. CP16-116-002                                                                                         B- 5 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  980        5.9        0.0      0.0   0.0          0.0             0.0      2.3         91.7      94.1        29.0
CT 109.00, BG 2
                  783        15.3       0.0      0.0   0.0          0.0             0.0      0.0         84.7      84.7        49.1
CT 110.00, BG 1
                  632        5.9        0.0      0.0   0.0          0.0             0.0      0.0         94.1      94.1        49.6
CT 110.00, BG 2
                  1,445      2.0        0.0      0.0   0.0          0.0             0.0      0.0         98.0      98.0        49.0
CT 110.00, BG 3
                                                                                                                                         Document #2007581




                  509        20.0       0.0      0.0   0.0          0.0             0.0      0.0         80.0      80.0        30.7
CT 111.00, BG 1
                  1,435      0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7      99.7        30.0
CT 111.00, BG 2
                  672        10.0       17.0     0.0   0.0          0.0             0.0      0.0         73.1      90.0        15.6
CT 111.00, BG 3
                  892        4.6        0.0      0.0   0.0          0.0             0.0      0.0         95.4      95.4        29.7
CT 112.00, BG 1
                  772        13.5       0.0      0.0   0.0          0.0             0.0      0.0         86.5      86.5        31.3
CT 112.00, BG 2
                                                                                                                                         Filed: 07/10/2023




                  755        40.5       0.0      0.0   0.0          0.0             0.0      0.0         59.5      59.5        3.0
CT 113.01, BG 1
                  560        22.9       0.0      0.0   0.0          0.0             0.0      0.0         77.1      77.1        30.5
CT 113.01, BG 2
                  1,511      18.6       4.3      0.0   0.0          0.0             0.0      5.4         71.7      81.4        8.0
CT 113.02, BG 1
                                                                                                                                         Page 49 of 136
Docket No. CP16-116-002                                                                                          B- 6 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0    0.2         0.1             0.3      2.3        39.8        59.3       13.3

                  1,362      26.8       1.4      10.9   0.0         0.0             0.0      0.0         60.9       73.2       9.8
CT 113.02, BG 2
                  1,980      25.0       6.7      4.3    0.0         0.0             0.0      0.0         64.0       75.0       1.1
CT 113.02, BG 3
                  664        29.8       0.0      0.0    0.0         0.0             0.0      0.0         70.2       70.2       13.4
CT 114.01, BG 1
                  1,127      0.0        0.0      0.0    0.0         0.0             0.0      0.0         100.0      100.0      12.2
CT 114.01, BG 2
                                                                                                                                         Document #2007581




                  1,750      13.6       1.7      0.0    0.0         0.0             0.0      0.0         84.7       86.4       8.6
CT 114.01, BG 3
                  1,289      10.0       0.0      0.0    0.0         0.0             0.0      0.0         90.0       90.0       9.3
CT 114.02, BG 1
                  753        16.9       0.0      0.0    0.0         0.0             0.0      0.0         83.1       83.1       18.9
CT 114.02, BG 2
                  685        29.6       0.0      0.0    0.0         0.0             0.0      0.0         70.4       70.4       26.4
CT 114.02, BG 3
                  580        6.9        0.0      0.0    0.0         0.0             0.0      0.0         93.1       93.1       30.0
CT 115.00, BG 1
                                                                                                                                         Filed: 07/10/2023




                  848        0.0        0.0      0.0    0.0         0.0             0.0      0.0         100.0      100.0      38.6
CT 115.00, BG 2
                  1,178      2.4        0.3      0.0    0.0         0.0             0.0      0.0         97.4       97.6       32.4
CT 115.00, BG 3
                  530        7.5        0.0      0.0    0.0         0.0             0.0      0.0         92.5       92.5       19.2
CT 115.00, BG 4
                                                                                                                                         Page 50 of 136
Docket No. CP16-116-002                                                                                          B- 7 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  2,969      2.7        0.0      0.0   0.0          0.0             0.0      0.0         97.3       97.3       26.9
CT 115.00, BG 5
                  723        3.0        0.0      0.0   0.0          0.0             0.0      0.0         97.0       97.0       51.8
CT 116.01, BG 1
                  1,724      0.9        0.4      0.0   0.0          0.0             0.0      0.0         98.7       99.1       24.7
CT 116.01, BG 2
                  1,024      15.4       0.0      0.0   0.0          2.0             0.0      0.0         82.6       84.6       24.4
CT 116.02, BG 1
                                                                                                                                         Document #2007581




                  2,194      3.5        0.0      0.0   0.0          0.0             0.0      0.0         96.5       96.5       34.5
CT 116.02, BG 2
                  1,075      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      35.7
CT 117.01, BG 1
                  3,466      5.3        0.5      0.0   0.0          0.0             0.0      0.0         94.3       94.7       29.6
CT 117.01, BG 2
                  2,220      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      27.9
CT 117.02, BG 1
                  551        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      38.0
CT 117.02, BG 2
                                                                                                                                         Filed: 07/10/2023




                  1,185      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      24.6
CT 117.02, BG 3
                  1,505      6.3        1.5      2.7   0.0          0.0             0.0      0.0         89.4       93.7       51.1
CT 118.01, BG 1
                  1,782      1.3        0.0      0.0   1.6          0.0             0.0      0.0         97.0       98.7       4.5
CT 118.01, BG 2
                                                                                                                                         Page 51 of 136
Docket No. CP16-116-002                                                                                         B- 8 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  512        34.2       1.8      0.0   0.0          0.0             0.0      0.0         64.1      65.8        60.5
CT 118.01, BG 3
                  1,665      14.2       1.6      1.1   0.0          0.0             0.0      0.0         83.1      85.8        18.6
CT 118.01, BG 4
                  753        3.2        1.5      0.0   0.0          0.0             0.0      1.9         93.5      96.8        36.3
CT 118.02, BG 1
                  1,885      3.6        1.1      0.0   0.0          0.0             0.0      0.0         95.4      96.4        46.6
CT 118.02, BG 2
                                                                                                                                         Document #2007581




                  1,619      11.4       0.0      2.2   0.0          0.0             0.0      0.6         85.9      88.6        28.7
CT 118.02, BG 3
                  823        34.0       0.0      0.0   0.0          0.0             0.0      0.0         66.0      66.0        7.3
CT 120.02, BG 1
                  907        16.2       0.4      0.0   0.0          0.0             0.0      0.0         83.4      83.8        5.8
CT 120.02, BG 4
                  1,370      17.7       3.5      2.9   0.0          0.0             0.0      0.0         75.8      82.3        32.5
CT 120.03, BG 3
                  461        89.2       0.0      8.2   0.0          0.0             0.0      0.0         2.6       10.8        0.0
CT 121.03, BG 1
                                                                                                                                         Filed: 07/10/2023




                  2,052      12.0       0.0      4.7   0.0          0.8             0.0      0.4         82.1      88.0        2.9
CT 121.04, BG 1
                  1,940      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4      94.4        12.1
CT 121.04, BG 2
                  720        6.0        0.0      0.0   0.0          0.0             0.0      0.0         94.0      94.0        4.4
CT 121.04, BG 3
                                                                                                                                         Page 52 of 136
Docket No. CP16-116-002                                                                                          B- 9 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  1,784      4.3        0.0      0.0   0.0          0.0             0.0      0.0         95.7       95.7       10.5
CT 121.05, BG 1
                  920        0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7       99.7       14.7
CT 121.05, BG 2
                  462        11.0       0.0      0.0   0.0          0.0             0.0      0.0         89.0       89.0       52.7
CT 121.06, BG 1
                  985        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      39.9
CT 121.06, BG 2
                                                                                                                                         Document #2007581




                  244        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      45.8
CT 122.01, BG 1
                  1,469      13.5       24.2     0.0   0.0          0.0             0.2      0.1         62.0       86.5       28.6
CT 122.01, BG 2
                  1,502      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      19.8
CT 122.01, BG 3
                  1,178      1.4        0.1      0.0   0.0          0.0             0.0      0.0         98.5       98.6       25.9
CT 122.02, BG 1
                  1,181      8.4        0.0      0.0   0.0          0.0             0.1      0.4         91.1       91.6       21.2
CT 122.02, BG 2
                                                                                                                                         Filed: 07/10/2023




                  704        6.8        0.0      0.0   0.0          0.0             0.3      0.0         92.9       93.2       16.7
CT 122.02, BG 3
                  1,042      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      27.4
CT 122.03, BG 1
                  371        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      34.7
CT 122.03, BG 2
                                                                                                                                         Page 53 of 136
Docket No. CP16-116-002                                                                                         B- 10 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0    0.2         0.1             0.3      2.3        39.8       59.3        13.3

                  2,764      0.3        0.0      0.0    0.0         0.0             0.0      0.0         99.7      99.7        34.4
CT 122.03, BG 3
                  1,666      56.9       0.0      0.8    0.0         0.0             0.0      0.0         42.3      43.1        17.1
CT 123.01, BG 1
                  909        49.5       2.6      0.0    1.2         0.0             0.0      0.0         46.6      50.5        25.3
CT 123.01, BG 2
                  325        29.8       0.0      0.0    28.6        0.0             0.0      0.0         41.5      70.2        0.0
CT 123.01, BG 3
                                                                                                                                         Document #2007581




                  1,319      65.8       0.0      0.0    0.0         0.0             0.0      0.3         33.9      34.2        27.8
CT 123.01, BG 4
                  588        37.2       0.0      0.0    0.0         0.0             0.0      0.0         62.8      62.8        29.6
CT 123.04, BG 1
                  1,689      6.6        0.0      0.0    0.0         0.0             0.0      0.0         93.4      93.4        28.9
CT 123.04, BG 2
                  955        37.8       0.0      0.0    0.0         0.0             0.0      1.4         60.8      62.2        11.3
CT 123.04, BG 3
                  630        11.6       0.0      11.4   0.0         0.0             0.0      0.0         77.0      88.4        37.3
CT 123.04, BG 4
                                                                                                                                         Filed: 07/10/2023




                  2,454      71.5       4.2      2.2    0.0         0.0             1.9      1.5         18.8      28.5        6.0
CT 123.05, BG 1
                  1,907      10.2       0.0      0.0    0.0         0.0             0.0      0.0         89.8      89.8        27.0
CT 124.02, BG 1
                  313        0.6        0.0      0.0    0.0         0.0             0.0      0.0         99.4      99.4        24.3
CT 124.02, BG 2
                                                                                                                                         Page 54 of 136
Docket No. CP16-116-002                                                                                         B- 11 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  1,108      12.0       0.0      0.0   0.0          0.0             0.0      0.0         88.0      88.0        58.8
CT 124.02, BG 3
                  2,515      8.3        0.0      0.0   0.0          0.0             0.0      0.0         91.7      91.7        49.2
CT 124.02, BG 4
                  1,437      20.2       0.0      0.0   0.0          0.0             0.0      0.0         79.8      79.8        19.8
CT 124.03, BG 1
                  2,623      8.0        0.0      0.0   0.0          0.0             0.0      0.0         92.0      92.0        16.5
CT 124.03, BG 2
                                                                                                                                         Document #2007581




                  598        4.3        0.0      0.0   0.0          0.0             0.0      0.0         95.7      95.7        10.9
CT 124.04, BG 1
                  1,963      3.2        0.0      0.0   0.0          0.0             0.0      0.0         96.8      96.8        46.7
CT 124.04, BG 2
                  1,000      12.4       0.0      0.0   0.0          0.0             0.0      0.0         87.6      87.6        9.7
CT 124.04, BG 3
                  1,371      3.8        0.0      0.0   0.0          0.0             0.0      0.0         96.2      96.2        13.8
CT 125.06, BG 1
                  1,263      27.3       0.0      3.5   0.0          0.0             0.0      0.0         69.2      72.7        11.4
CT 125.06, BG 2
                                                                                                                                         Filed: 07/10/2023




                  1,484      28.1       0.0      0.3   2.1          0.0             0.0      0.0         69.5      71.9        9.8
CT 125.06, BG 3
                  1,051      26.6       0.0      0.0   0.0          0.0             0.0      0.0         73.4      73.4        14.7
CT 125.08, BG 1
                  2,993      2.7        0.0      0.8   0.2          0.0             0.0      0.0         96.4      97.3        21.0
CT 125.08, BG 2
                                                                                                                                         Page 55 of 136
Docket No. CP16-116-002                                                                                          B- 12 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  495        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      40.1
CT 125.09, BG 1
                  3,024      3.9        0.0      0.0   0.0          0.0             0.0      0.0         96.1       96.1       24.1
CT 125.09, BG 2
                  1,998      0.0        0.0      0.0   0.0          0.0             0.0      4.0         96.0       100.0      24.3
CT 125.10, BG 1
                  1,338      7.0        0.0      0.0   0.0          0.0             0.0      0.0         93.0       93.0       13.9
CT 125.10, BG 2
                                                                                                                                         Document #2007581




                  1,858      1.7        0.0      0.0   0.0          0.0             0.0      0.0         98.3       98.3       42.9
CT 125.10, BG 3
                  1,199      1.8        0.0      0.0   0.0          0.0             0.0      0.0         98.2       98.2       31.2
CT 125.11, BG 1
                  1,747      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4       94.4       0.0
CT 125.11, BG 2
                  2,629      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      29.4
CT 125.11, BG 3
                  971        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      47.3
CT 125.12, BG 1
                                                                                                                                         Filed: 07/10/2023




                  1,527      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      33.3
CT 125.12, BG 2
                  2,260      5.7        0.0      0.0   0.4          0.0             0.0      0.2         93.7       94.3       29.0
CT 125.13, BG 1
                  1,172      12.6       0.0      0.0   0.0          0.0             0.0      0.0         87.4       87.4       35.7
CT 125.13, BG 2
                                                                                                                                         Page 56 of 136
Docket No. CP16-116-002                                                                                          B- 13 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  2,787      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      8.5
CT 125.14, BG 1
                  2,536      14.4       0.0      0.0   0.0          0.0             0.0      0.0         85.6       85.6       18.1
CT 125.14, BG 2
                  1,669      4.8        0.0      2.6   0.0          0.0             0.0      0.0         92.6       95.2       0.0
CT 125.15, BG 1
                  1,251      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      15.4
CT 125.15, BG 2
                                                                                                                                         Document #2007581




                  946        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
CT 125.16, BG 1
                  300        8.7        0.0      0.0   0.0          0.0             0.0      0.0         91.3       91.3       0.0
CT 125.16, BG 2
                  1,671      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
CT 125.16, BG 3
                  1,550      5.2        0.0      0.0   0.0          0.0             0.0      0.0         94.8       94.8       11.5
CT 125.17, BG 1
                  951        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
CT 125.17, BG 2
                                                                                                                                         Filed: 07/10/2023




                  1,400      2.9        0.0      0.0   0.0          0.0             0.0      0.0         97.1       97.1       26.1
CT 125.17, BG 3
                  1,467      0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7       99.7       22.4
CT 126.07, BG 1
                  1,121      1.1        0.0      0.0   0.0          0.0             0.0      0.0         98.9       98.9       48.6
CT 126.07, BG 2
                                                                                                                                         Page 57 of 136
Docket No. CP16-116-002                                                                                          B- 14 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  1,530      0.5        0.4      0.0   0.0          0.0             0.0      0.0         99.1       99.5       34.3
CT 126.08, BG 1
                  819        5.9        0.0      0.0   0.0          0.0             0.0      0.0         94.1       94.1       37.5
CT 126.08, BG 2
                  2,578      2.1        1.6      4.3   0.0          0.0             0.0      0.0         91.9       97.9       9.3
CT 126.08, BG 3
                  283        100.0      0.0      0.0   0.0          0.0             0.0      0.0         0.0        0.0        0.0
CT 126.08, BG 4
                                                                                                                                         Document #2007581




                  1,038      7.4        0.0      0.0   0.0          0.0             0.0      0.0         92.6       92.6       15.3
CT 126.13, BG 1
                  705        3.7        0.7      7.1   0.0          0.0             0.0      0.0         88.5       96.3       7.6
CT 126.13, BG 2
                  2,377      5.8        0.0      1.6   0.0          0.0             0.0      1.2         91.4       94.2       10.9
CT 126.13, BG 3
                  1,570      2.3        5.3      2.8   0.0          0.0             0.0      0.8         88.9       97.7       36.3
CT 126.13, BG 4
                  1,353      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      37.5
CT 126.14, BG 1
                                                                                                                                         Filed: 07/10/2023




                  1,725      1.3        0.0      0.0   0.0          0.0             0.0      0.0         98.7       98.7       47.1
CT 126.14, BG 2
                  918        2.2        0.0      0.0   0.0          0.0             0.0      0.0         97.8       97.8       36.3
CT 126.15, BG 1
                  1,128      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      28.3
CT 126.15, BG 2
                                                                                                                                         Page 58 of 136
Docket No. CP16-116-002                                                                                          B- 15 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  1,067      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      36.5
CT 126.15, BG 3
                  1,959      5.5        0.6      0.0   2.0          0.0             0.0      0.0         92.0       94.5       3.0
CT 126.16, BG 1
                  1,719      1.7        0.5      0.0   0.0          0.0             0.0      0.0         97.7       98.3       9.0
CT 126.16, BG 2
                  1,095      1.4        0.0      0.0   0.0          0.0             0.0      0.0         98.6       98.6       37.2
CT 126.17, BG 1
                                                                                                                                         Document #2007581




                  1,494      1.1        0.0      6.5   0.0          0.0             0.0      0.0         92.4       98.9       4.9
CT 126.17, BG 2
                  818        8.3        0.0      0.0   0.0          0.0             0.0      0.0         91.7       91.7       26.1
CT 126.17, BG 3
                  1,370      0.6        0.0      0.0   0.0          0.0             0.0      0.0         99.4       99.4       27.7
CT 127.00, BG 1
                  611        4.9        0.0      0.0   0.0          0.0             0.0      0.0         95.1       95.1       29.8
CT 127.00, BG 2
                  1,535      1.3        0.0      0.0   0.0          0.0             0.0      0.0         98.7       98.7       31.3
CT 127.00, BG 3
                                                                                                                                         Filed: 07/10/2023




                  1,954      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      54.1
CT 127.00, BG 4
                  1,167      8.3        0.0      0.0   0.0          0.0             0.0      0.0         91.7       91.7       32.5
CT 128.00, BG 1
                  1,067      12.7       5.0      0.0   0.0          0.0             0.0      0.0         82.3       87.3       12.9
CT 128.00, BG 2
                                                                                                                                         Page 59 of 136
Docket No. CP16-116-002                                                                                         B- 16 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  1,099      1.0        0.0      0.0   0.0          0.0             0.0      0.0         99.0      99.0        33.9
CT 128.00, BG 3
                  1,575      1.6        0.0      0.0   0.0          0.0             0.0      0.0         98.4      98.4        21.1
CT 128.00, BG 4
                  899        17.8       0.0      0.0   0.0          0.0             0.0      0.0         82.2      82.2        35.6
CT 12.009, BG 1
                  416        22.8       0.0      0.0   0.0          0.0             0.0      0.0         77.2      77.2        17.0
CT 129.00, BG 2
                                                                                                                                         Document #2007581




                  2,387      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4      94.4        41.1
CT 129.00, BG 3
                  717        24.7       2.1      0.0   0.0          0.0             0.0      0.0         73.2      75.3        29.2
CT 129.00, BG 4
                  1,073      7.1        0.0      0.0   0.0          0.0             0.0      0.0         92.9      92.9        22.4
CT 130.02, BG 1
                  1,053      1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8      98.8        21.1
CT 130.02, BG 2
                  718        8.2        0.0      0.0   0.0          0.0             0.0      0.0         91.8      91.8        29.8
CT 130.02, BG 3
                                                                                                                                         Filed: 07/10/2023




                  1,730      5.1        0.0      0.0   0.0          0.0             0.0      0.0         94.9      94.9        49.3
CT 130.02, BG 4
                  757        4.0        0.0      0.0   0.0          0.0             0.0      0.0         96.0      96.0        42.7
CT 130.03, BG 1
                  1,467      4.8        1.2      0.0   0.5          0.0             5.4      1.2         87.0      95.2        44.5
CT 130.03, BG 2
                                                                                                                                         Page 60 of 136
Docket No. CP16-116-002                                                                                         B- 17 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  876        11.8       0.0      3.1   0.0          0.0             0.0      1.3         83.9      88.2        17.9
CT 130.04, BG 1
                  654        14.8       0.0      1.1   0.0          0.0             0.0      0.0         84.1      85.2        22.6
CT 130.04, BG 2
                  692        1.7        0.0      0.0   0.0          0.0             0.0      0.0         98.3      98.3        25.5
CT 130.04, BG 3
                  620        15.6       0.0      0.0   0.0          0.0             0.0      0.0         84.4      84.4        0.0
CT 131.02, BG 1
                                                                                                                                         Document #2007581




                  1,417      2.9        0.0      0.0   0.0          0.0             0.0      0.0         97.1      97.1        5.1
CT 131.02, BG 2
                  2,360      12.8       0.0      1.0   0.0          0.0             0.0      0.0         86.2      87.2        25.0
CT 131.02, BG 3
                  1,485      6.9        0.0      0.5   0.0          0.0             0.0      0.0         92.6      93.1        0.0
CT 131.04, BG 1
                  862        12.1       0.0      1.0   0.0          0.0             0.0      1.9         85.0      87.9        0.0
CT 131.04, BG 2
                  982        3.3        0.0      0.0   0.0          0.0             0.0      0.0         96.7      96.7        37.3
CT 131.04, BG 3
                                                                                                                                         Filed: 07/10/2023




                  1,848      0.5        0.0      0.0   0.0          0.0             0.0      0.0         99.5      99.5        58.5
CT 131.06, BG 1
                  1,789      1.5        0.0      0.0   0.0          0.0             0.0      0.0         98.5      98.5        27.1
CT 131.06, BG 2
                  1,113      3.6        0.0      2.7   0.0          0.0             0.0      0.0         93.7      96.4        31.9
CT 131.06, BG 3
                                                                                                                                         Page 61 of 136
Docket No. CP16-116-002                                                                                          B- 18 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  1,521      2.2        0.0      0.0   0.0          0.0             0.0      1.9         95.9       97.8       42.2
CT 132.03, BG 1
                  778        0.9        0.0      0.0   0.0          0.0             0.0      0.0         99.1       99.1       35.7
CT 132.03, BG 2
                  1,015      3.8        0.0      0.0   0.0          0.0             0.0      0.0         96.2       96.2       44.4
CT 132.04, BG 1
                  810        0.0        0.0      0.0   0.0          0.0             1.6      0.0         98.4       100.0      26.1
CT 132.04, BG 2
                                                                                                                                         Document #2007581




                  1,865      0.7        0.0      0.0   0.0          0.0             0.0      0.5         98.8       99.3       21.7
CT 132.05, BG 1
                  2,103      0.5        0.0      0.0   0.0          0.0             0.0      0.0         99.5       99.5       48.6
CT 132.05, BG 2
                  851        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      36.7
CT 132.06, BG 1
                  927        2.8        0.0      0.0   0.0          0.0             0.0      0.0         97.2       97.2       33.2
CT 132.06, BG 2
                  897        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      25.6
CT 132.06, BG 3
                                                                                                                                         Filed: 07/10/2023




                  1,894      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4       94.4       17.8
CT 132.07, BG 1
                  1,724      3.9        0.0      0.0   0.0          0.0             0.0      0.0         96.1       96.1       36.8
CT 132.07, BG 2
                  952        7.9        0.0      0.0   0.0          0.0             0.0      0.0         92.1       92.1       44.3
CT 132.07, BG 3
                                                                                                                                         Page 62 of 136
Docket No. CP16-116-002                                                                                          B- 19 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  925        0.9        0.0      1.3   0.0          1.8             0.0      0.0         96.0       99.1       2.0
CT 133.03, BG 1
                  1,587      0.6        0.0      0.0   0.0          0.0             0.0      0.0         99.4       99.4       35.6
CT 133.03, BG 2
                  1,640      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      39.4
CT 133.03, BG 3
                  1099       1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       20.1
CT 133.05, BG 1
                                                                                                                                         Document #2007581




                  1,144      0.4        0.0      0.0   0.0          0.0             0.0      0.0         99.6       99.6       20.2
CT 133.05, BG 2
                  1,311      2.9        0.0      0.0   0.0          0.0             0.0      0.0         97.1       97.1       25.6
CT 133.05, BG 3
                  736        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      26.7
CT 133.05, BG 4
                  966        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      38.4
CT 133.06, BG 1
                  1,627      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      21.7
CT 133.06, BG 2
                                                                                                                                         Filed: 07/10/2023




                  856        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      30.6
CT 133.07, BG 1
                  1,297      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      41.8
CT 133.07, BG 2
                  1,436      4.5        0.0      0.0   0.0          0.0             0.0      0.0         95.5       95.5       21.4
CT 133.08, BG 1
                                                                                                                                         Page 63 of 136
Docket No. CP16-116-002                                                                                         B- 20 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  546        2.0        0.0      0.0   0.0          0.0             0.0      0.0         98.0      98.0        37.8
CT 133.08, BG 2
                  1,595      0.6        0.0      0.0   0.0          0.0             0.0      0.0         99.4      99.4        46.0
CT 133.08, BG 3
                  1,293      2.0        0.0      0.0   0.0          0.0             0.0      0.0         98.0      98.0        37.8
CT 133.09, BG 1
                  1,705      0.4        0.0      0.0   0.0          0.0             0.0      0.0         99.6      99.6        44.8
CT 133.09, BG 2
                                                                                                                                         Document #2007581




                  1,336      0.9        0.0      0.0   0.0          0.0             0.0      0.0         99.1      99.1        46.7
CT 134.01, BG 1
                  772        3.5        0.0      0.0   0.0          0.0             0.0      0.0         96.5      96.5        36.5
CT 134.01, BG 2
                  767        0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7      99.7        23.2
CT 134.02, BG 1
                  655        13.3       0.0      0.0   0.0          0.0             0.0      0.0         86.7      86.7        21.8
CT 134.02, BG 2
                  616        0.0        0.0      1.1   0.0          0.0             0.0      0.0         98.9      100.0       51.6
CT 134.02, BG 3
                                                                                                                                         Filed: 07/10/2023




                  1,185      17.0       0.5      0.9   0.0          0.0             0.0      0.0         81.5      83.0        4.4
CT 135.00, BG 1
                  843        1.8        0.0      0.0   0.0          0.0             0.0      0.0         98.2      98.2        24.3
CT 135.00, BG 2
                  327        11.0       0.0      0.0   0.0          0.0             0.0      0.0         89.0      89.0        64.6
CT 136.00, BG 1
                                                                                                                                         Page 64 of 136
Docket No. CP16-116-002                                                                                          B- 21 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  1,148      7.5        0.6      0.0   0.0          0.0             0.0      0.0         91.9       92.5       9.5
CT 136.00, BG 2
                  801        3.4        0.0      0.0   0.0          0.0             0.0      0.0         96.6       96.6       18.2
CT 136.00, BG 3
                  486        11.9       0.0      0.2   0.0          0.0             0.0      0.0         87.9       88.1       36.7
CT 136.00, BG 4
                  623        7.5        0.0      0.0   0.0          0.0             0.0      0.0         92.5       92.5       14.1
CT 137.00, BG 1
                                                                                                                                         Document #2007581




                  490        2.7        0.0      0.0   0.0          0.0             0.0      0.0         97.3       97.3       60.8
CT 137.00, BG 2
                  935        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      66.7
CT 137.00, BG 3
                  1,859      2.7        0.0      0.0   0.0          0.0             0.0      0.0         97.3       97.3       46.6
CT 137.00, BG 4
                  574        1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       56.2
CT 138.01, BG 1
                  1,602      4.1        4.2      0.0   0.0          0.0             0.0      0.5         91.3       95.9       65.0
CT 138.01, BG 2
                                                                                                                                         Filed: 07/10/2023




                  448        1.8        0.0      0.0   0.0          0.0             0.0      0.0         98.2       98.2       35.7
CT 138.02, BG 1
                  551        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      39.7
CT 138.02, BG 2
                  984        8.4        0.5      0.0   0.0          0.0             0.0      0.0         91.1       91.6       56.7
CT 138.02, BG 3
                                                                                                                                         Page 65 of 136
Docket No. CP16-116-002                                                                                          B- 22 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  876        3.8        0.0      0.0   0.0          0.0             0.0      0.0         96.2       96.2       32.9
CT 138.02, BG 4
                  396        5.1        0.0      0.0   0.0          0.0             0.0      0.0         94.9       94.9       52.0
CT 139.01, BG 1
                  1,976      1.6        0.0      0.0   0.0          0.0             0.0      0.0         98.4       98.4       35.9
CT 139.01, BG 2
                  1,323      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      20.5
CT 139.02, BG 1
                                                                                                                                         Document #2007581




                  1,679      1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       33.8
CT 139.02, BG 2
                  1,295      3.1        0.0      3.0   0.0          0.0             0.0      0.0         93.9       96.9       43.0
CT 139.02, BG 3
                  2,185      0.0        0.0      1.1   0.0          0.0             0.0      0.0         98.9       100.0      43.6
CT 139.03, BG 1
                  2,231      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      32.8
CT 139.03, BG 2
                  937        0.5        0.0      0.0   0.0          0.0             0.0      0.0         99.5       99.5       25.7
CT 140.01, BG 1
                                                                                                                                         Filed: 07/10/2023




                  989        0.0        0.0      0.0   0.0          0.0             0.0      0.5         99.5       100.0      78.3
CT 140.01, BG 2
                  430        5.8        0.0      7.4   0.0          0.0             7.4      11.2        68.1       94.2       61.2
CT 140.01, BG 3
                  1,130      10.0       0.0      0.0   0.0          0.0             0.0      0.0         90.0       90.0       35.5
CT 140.02, BG 1
                                                                                                                                         Page 66 of 136
Docket No. CP16-116-002                                                                                          B- 23 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  918        12.0       0.2      0.0   0.0          0.0             0.0      0.0         87.8       88.0       60.2
CT 140.02, BG 2
                  1,031      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      14.1
CT 141.01, BG 1
                  1,039      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
CT 141.01, BG 2
                  1,373      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      40.0
CT 141.01, BG 3
                                                                                                                                         Document #2007581




                  833        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      28.3
CT 141.01, BG 4
                  2,221      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      51.9
CT 141.02, BG 1
                  694        1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       9.5
CT 141.02, BG 2
                  1,126      12.8       0.0      0.0   0.0          0.0             0.0      0.0         87.2       87.2       58.1
CT 141.02, BG 3
                  1,278      3.4        0.0      0.0   0.0          0.0             0.0      0.0         96.6       96.6       10.5
CT 141.03, BG 1
                                                                                                                                         Filed: 07/10/2023




                  95         0.0        0.0      0.0   0.0          0.0             0.0      0.0        100.0       100.0      0.0
CT 141.03, BG 2
                  1,573      8.5        0.0      0.0   0.0          0.0             0.0      0.0         91.5       91.5       46.2
CT 141.03, BG 3
                  942        0.7        0.0      0.0   0.0          0.0             0.0      0.0         99.3       99.3       54.3
CT 142.01, BG 1
                                                                                                                                         Page 67 of 136
Docket No. CP16-116-002                                                                                          B- 24 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8        59.3       13.3

                  822        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      10.1
CT 142.01, BG 2
                  1897       14.3       0.0      0.0   0.0          0.0             0.0      0.0         85.7       85.7       19.2
CT 142.02, BG 1
                  1103       0.0        0.0      0.0   0.0          0.0             7.8      0.0         92.2       100.0      44.9
CT 142.02, BG 2
                  1,726      5.0        0.0      0.0   0.0          0.0             0.0      6.7         88.4       95.0       43.6
CT 143.00, BG 1
                                                                                                                                         Document #2007581




                  2,057      3.7        0.0      0.0   0.0          0.0             0.0      0.0         96.3       96.3       52.8
CT 143.00, BG 2
                  1,036      9.3        0.0      0.0   0.0          0.0             0.0      0.0         90.7       90.7       28.4
CT 143.00, BG 3
                  1,997      1.2        0.0      0.7   0.0          0.0             0.0      0.0         98.1       98.8       4.4
CT 144.01, BG 1
                  4,337      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      17.8
CT 144.01, BG 2
                  1,223      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
CT 144.01, BG 3
                                                                                                                                         Filed: 07/10/2023




                  2,819      21.1       0.0      0.0   0.0          0.0             0.0      0.0         78.9       78.9       3.4
CT 144.02, BG 1
                  1,291      8.7        0.0      0.0   0.0          0.0             0.0      0.0         91.3       91.3       16.3
CT 144.02, BG 2
                  1,958      5.0        0.0      0.0   0.0          0.0             0.0      0.0         95.0       95.0       11.1
CT 144.02, BG 3
                                                                                                                                         Page 68 of 136
Docket No. CP16-116-002                                                                                         B- 25 -
 GEOGRAPHIC AREA AND                                                                                                             LOW-
                                                               RACE AND ETHNICITY
     POPULATION                                                                                                                 INCOME
State/ County/    Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/                Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
Block Group                  (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                        (%)            Native (%)   (%)                                                        (%)
                                                                                                                                         USCA Case #23-1175




State of Texas    28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3        39.8       59.3        13.3

                  3,200      1.7        0.0      0.0   0.0          0.0             0.0      0.0         98.3      98.3        3.5
CT 144.03, BG 1
                  782        0.0        0.0      4.0   0.0          0.0             0.0      0.0         96.0      100.0       61.2
CT 144.03, BG 2
                  3,541      0.0        0.0      3.4   0.0          0.0             0.0      0.0         96.6      100.0       18.7
CT 144.04, BG 1
                  1,288      23.8       0.0      0.0   0.0          0.0             0.0      0.0         76.2      76.2        37.3
CT 144.04, BG 2
                                                                                                                                         Document #2007581




                  1,856      13.8       0.0      9.1   0.0          0.0             0.0      0.0         77.2      86.2        27.8
CT 145.01, BG 1
                  1,716      6.9        0.0      4.4   0.0          0.0             0.0      0.0         88.7      93.1        3.4
CT 145.01, BG 2
                  946        6.4        2.5      0.0   0.0          0.0             0.0      0.0         91.0      93.6        14.2
CT 145.01, BG 3
                  2,106      3.7        0.0      0.0   0.0          0.0             0.0      4.1         92.2      96.3        1.4
CT 145.02, BG 1
                  1,127      6.7        0.0      0.0   0.0          0.0             0.0      5.0         88.4      93.3        27.2
CT 145.02, BG 2
                                                                                                                                         Filed: 07/10/2023




                  1,959      3.9        0.5      0.0   0.0          0.0             0.0      0.0         95.7      96.1        5.6
CT 145.02, BG 3
CT 9800.01, BG 1 0           0.0        0.0      0.0   0.0          0.0             0.0      0.0         0.0       0.0         0.0

CT 9801.00, BG 1 0           0.0        0.0      0.0   0.0          0.0             0.0      0.0         0.0       0.0         0.0
                                                                                                                                         Page 69 of 136
Docket No. CP16-116-002                                                                                            B- 26 -
 GEOGRAPHIC AREA AND                                                                                                                LOW-
                                                                  RACE AND ETHNICITY
     POPULATION                                                                                                                    INCOME
State/ County/   Population White (Not Black or Asian American         Native Hawaiian Some      Two or     Hispanic Total        Below
Census Tract/               Hispanic) African (%) Indian and           and Other        other    more races or Latino Minorityb   Poverty
Block Group                 (%)        American       Alaskan          Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                       (%)            Native (%)       (%)                                                        (%)
                                                                                                                                            USCA Case #23-1175




State of Texas   28,862,581 40.7        11.8      5.0    0.2           0.1             0.3         2.3     39.8       59.3        13.3

CT 9900.00, BG 0 0           0.0        0.0       0.0    0.0           0.0             0.0         0.0      0.0       0.0         0.0

Willacy County 20,423        10.3       0.6       0.0    0.0           0.0             0.0         0.8      88.2      89.7        29.4

CT 9506.00, BG 1 899         23.1       0.0       0.0    0.0           0.0             0.0         0.0      76.9      76.9        36.9

CT 9507.00, BG 1 1,070       27.9       0.0       0.0    0.0           0.0             0.0         0.0      72.1      72.1        47.5
                                                                                                                                            Document #2007581




CT 9900.00, BG 0 0           0.0        0.0       0.0    0.0           0.0             0.0         0.0      0.0       0.0         0.0
Source: U.S. Census Bureau (2021), American Community Survey 5-year Estimates 2017-2021, File # B17017 and File # B03002.a
“Minority” refers to people who reported their ethnicity and race as something other than non-Hispanic White.
b Minority or low-income populations exceeding the established thresholds are indicated in bold type and gray shading.

  Due to rounding differences in the dataset, the totals may not reflect the sum of the addends.
                                                                                                                                            Filed: 07/10/2023
                                                                                                                                            Page 70 of 136
Docket No. CP16-116-002                                                                                                                     B- 27 -

                                                                  Table 2
                                                             Texas LNG Project
                                     Results of the Cumulative Impact Analysis – Hoteling Scenario

     Pollutant       Averaging           Highest Predicted       Ambient                                               NAAQS            Over           Maximum
                                                                                                    Distance of
                                                                                                                                                                    USCA Case #23-1175




                     Period             Concentration (Max      Background         Direction of                                        NAAQS?          TX LNG
                                                                                  Max Impact        Max Impact
                                             Impact)             Values (1)                                                                            Impact (5)
                                                                                  from TX LNG        from TX
                                                                                                       LNG


                                             (μg/m3)              (μg/m3)                               (km)           (μg/m3)                           (μg/m3)
                       1-hour                6,867.45             3,778.50              SW               5.40           40,000             No            951.23
        CO
                       8-hour                4,545.67             2,175.50              SW               5.40           10,000             No            120.37
                       1-hour                 147.78                 (2)                 SE              0.38            188               No            124.55
       NO2
                       Annual                  9.60                 4.72                 S               0.53            100               No              4.79
       PM10            24-hour                112.99                69.67               SW              15.36            150               No              4.04
                                                                                                                                                                    Document #2007581




                     24-hour (3)              32.29                  (2)                NW              43.50             35               No              3.33
       PM2.5                   (4)
                      Annual                  11.75                 10.13               SW              15.74             12               No              0.17
                       1-hour                 140.96                14.85                W              25.48            196               No             10.80
       SO2
                       3-hour                 96.41                 5.24                 W              25.48            1,300             No             53.37
                       24-hour                21.34                 3.14                 W              25.48            365               No              6.85
                       Annual                  5.19                 1.36                SW               5.40             80               No              0.92
   Notes:
   (1) Ambient background values are included in the Highest Predicted Concentration (Maximum Impact) values.
   (2) Seasonal/diurnal background data were developed for use in the 1-hour NO2 modeling analysis; seasonal background data were developed for use in the 24-
                                                                                                                                                                    Filed: 07/10/2023




   hour PM25 modeling analysis. Table 9-4 of the Final EIS summarizes the PM2.5 seasonal background concentrations that were developed based on the three-year
   average of seasonal 98th percentile 24-hr monitor values.
   (3) Secondary 24-hour PM2.5 impact of 0.2617 μg/m3 added to the Maximum Impact and Texas LNG Impact.
   (4) Secondary annual PM2.5 impact of 0.0077 μg/m3 added to the Maximum Impact and Texas LNG Impact.
   (5) Maximum Texas LNG contribution that could occur anywhere or anytime on the grid. The Texas LNG impact is not paired in time or space with the peak
       concentration.
                                                                                                                                                                    Page 71 of 136
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 72 of 136


 B- 28 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 73 of 136


 B- 29 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 74 of 136


 B- 30 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 75 of 136


 B- 31 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 76 of 136


 B- 32 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 77 of 136


 B- 33 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 78 of 136


 B- 34 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 79 of 136


 B- 35 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 80 of 136


 B- 36 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 81 of 136


 B- 37 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 82 of 136


 B- 38 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 83 of 136


 B- 39 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 84 of 136


 B- 40 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 85 of 136


 B- 41 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 86 of 136


 B- 42 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 87 of 136


 B- 43 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 88 of 136


 B- 44 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 89 of 136


 B- 45 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 90 of 136


 B- 46 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 91 of 136


 B- 47 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 92 of 136


 B- 48 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 93 of 136


 B- 49 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 94 of 136


 B- 50 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 95 of 136


 B- 51 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 96 of 136


 B- 52 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 97 of 136


 B- 53 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 98 of 136


 B- 54 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 99 of 136


 B- 55 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 100 of 136


 B- 56 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 101 of 136


 B- 57 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 102 of 136


 B- 58 -
 Docket No. CP16-116-002
USCA Case #23-1175         Document #2007581   Filed: 07/10/2023   Page 103 of 136


 B- 59 -
 Docket No. CP16-116-002
USCA Case #23-1175        Document #2007581           Filed: 07/10/2023    Page 104 of 136
 Docket No. CP16-116-002                                                               C- 1 -


                                        Appendix C

 Commission Staff’s Environmental Justice Analysis of Potential Public Safety
 Impacts and Emergency Response Plans for the Texas LNG Project and LNG
 Marine Vessels


       A.       Onsite and Offsite Emergency Response Plans

         Texas LNG would continue to develop a comprehensive Emergency Response
 Plan with local, state, and federal agencies and emergency response officials and would
 continue these collaborative efforts during the development, design, and construction of
 the project.1 As required by Environmental Condition 36, Texas LNG must file an
 Emergency Response Plan covering the terminal and ship transit for review and approval
 by Commission staff prior to construction. Commission staff would also review and
 approve final design information related to the various layers of protection that would
 enhance the safety and security of the Texas LNG Project and would be in accordance
 with recommended and generally accepted good engineering practices.2 These reviews
 go above the minimum federal requirements required by the Pipeline and Hazardous
 Materials Safety Administration (PHMSA) and U.S. Coast Guard (USCG) regulations
 under for the liquefied natural gas (LNG) facility,3 and USCG regulations for LNG
 marine vessels.4 In addition, for LNG marine vessels, the 2004 Sandia Report describes
 the risk and consequences within each Zone of Concern with risk management strategies
 to mitigate risk to infrastructure and the public.5 The layers of protection and risk
 management strategies reduce public incident impacts to less than significant levels,
 including impacts to those with access and functional needs and environmental justice
 communities.

       The Emergency Response Plan and Cost Sharing Plan requirements are required
 by Environmental Conditions 36 and 37, as modified in Appendix A of this order.

       1
           Texas LNG Sept. 15, 2022 Response to Commission staff Data Request at 24-26.
       2
           Final EIS, Preliminary Engineering Design Review section, 4-219 to 4-244.
       3
       49 C.F.R.§ 193 (2022) (PHMSA Regulations); 33 C.F.R. §§ 105, 127 (2022)
 (USCG Regulations).
       4
           33 C.F.R. § 104; 46 C.F.R. § 154.
       5
          Sandia National Laboratories, Guidance on risk analysis and safety implications
 of a large liquefied natural gas (LNG) spill over water, sections 1.3.1, 1.3.2,
 https://www.osti.gov/servlets/purl/882343/.
USCA Case #23-1175         Document #2007581           Filed: 07/10/2023     Page 105 of 136
 Docket No. CP16-116-002                                                              C- 2 -


 However, in order to mitigate the potential offsite risks from a catastrophic incident from
 an LNG marine vessel or at the LNG terminal to people with access and functional needs,
 Texas LNG would need to consider additional identified elements of recommended and
 generally accepted good engineering practices for emergency response plans and resource
 requirements, including, but not limited to consistency with the following National Fire
 Protection Association (NFPA) codes and standards: NFPA 1600,6 NFPA 1616,7
 NFPA 1620,8 NFPA 470,9 and NFPA 47510 or approved equivalents. Specifically, NFPA
 1600 (2019 edition) provides provisions for the planning and design process of an
 emergency management program and includes the following provisions:

    ! Section 5.2.2 specifies a risk assessment to be conducted evaluating the likelihood
      and severity of hazards, including accidental and intentional events that may result
      in hazardous material releases, explosions, and fires as well as consideration of
      specific causes and preceding events, such as geological events (e.g., subsidence,
      earthquakes, tsunamis, volcanic, etc.) and meteorological events (e.g., extreme
      temperatures, hurricanes, tornadoes, floods, snow and ice storms, and wildland
      fires, etc.).11
    ! Section 5.2.2.2 specifies the vulnerability of people, property, operations,
      environment, and supply chain operations to be evaluated.

        6
         The NFPA standards are free and publicly accessible to view in English and
 Spanish on the NFPA website. NFPA 1600, Standard on Continuity, Emergency, and
 Crisis Management, https://www.nfpa.org/codes-and-standards/all-codes-and-
 standards/list-of-codes-and-standards/detail?code=1600.
        7
          FNFPA 1616, Standard on Mass Evacuation, Sheltering, and Re-entry Programs,
 https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
 standards/detail?code=1616.
        8
         NFPA 1620, Standard for Pre-Incident Planning, https://www.nfpa.org/codes-
 and-standards/all-codes-and-standards/list-of-codes-and-standards/detail?code=1620.
        9
         NFPA 470, Hazardous Materials/Weapons of Mass Destruction (WMD)
 Standard for Responders, https://www.nfpa.org/codes-and-standards/all-codes-and-
 standards/list-of-codes-and-standards/detail?code=470.
        10
          NFPA 475, Recommended Practice for Organizing, Managing, and Sustaining a
 Hazardous Materials/Weapons of Mass Destruction Response Program,
 https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
 standards/detail?code=475.
        11
             Final EIS 4-224 to 4-244.
USCA Case #23-1175        Document #2007581            Filed: 07/10/2023      Page 106 of 136
 Docket No. CP16-116-002                                                               C- 3 -


    ! Section 5.2.3 specifies the analysis of the impacts of the hazards identified in
      section 5.2.2 on the health and safety of persons in the affected area and personnel
      responding to the incident as well as impacts to properties, facilities, and critical
      infrastructure.
    ! Section 5.2.4 specifies an analysis of the escalation of impacts over time.
    ! Section 5.2.5 specifies evaluation of incidents that could have cascading impacts.
    ! Section 5.2.6 specifies the risk assessment to evaluate the adequacy of existing
      prevention and mitigation measures.

        Chapter 6 of NFPA 1600 (2019 edition) covers the implementation of the plans,
 including health and safety of personnel, roles and responsibilities of internal and
 external entities, lines of authority, process for delegation of authority, liaisons with
 external entities, and logistics support and resource requirements.

    ! Section 6.3.1 specifies the implementation of a mitigation strategy that includes
      measures to limit or control the consequences, extent, or severity of an incident
      that cannot be prevented based on the results of hazard identification and risk
      assessment and analysis of impacts.
    ! Section 6.9.2 specifies that emergency response plans should identify actions to be
      taken to protect people, including people with disabilities and other access and
      functional needs.12
    ! Sections 6.6 and 6.9.4 stipulate an emergency response plan include warning,
      notification, and communication should be determined and be reliable, redundant,
      and interoperable and tested and used to alert stakeholders potentially at risk from
      an actual or impending incident.
    ! Section 6.8 specifies the development of an incident management system to direct,
      control, and coordinate response, continuity, and recovery operations.
    ! Section 6.8.1 stipulates primary and alternate emergency operations centers be
      established capable of managing response, continuity, and recovery operations and
      may be physical or virtual.

        In addition, NFPA 1600 (2019 edition) Chapter 7 provides specifications for
 execution of the plan, Chapter 8 provides for training and education provisions, Chapter 9
 provides for exercises and tests to be conducted periodically, and Chapter 10 provides for
 its continued maintenance and improvement.

        NFPA 1616 (2020 edition) covers organizing, planning, implementing, and
 evaluating a program for mass evacuation, sheltering, and re-entry. Similar to NFPA


        12
        NFPA 1600 defines “access and functional need” as “Persons requiring special
 accommodations because of health, social, economic, or language challenges.”
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023      Page 107 of 136
 Docket No. CP16-116-002                                                                C- 4 -


 1600, the following sections of NFPA 1616 stipulate:

    ! Section 4.5 stipulates similar hazard identification, risk assessment, and
      requirements analysis as NFPA 1600.
    ! Section 5.1 stipulates plans to address the health and safety of personnel including
      persons with disabilities and access and functional needs.13
    ! Section 5.6 specifies a requirements analysis in sub-section 5.6.1 that is based
      upon the threat, hazard identification, and risk assessment. Sub-section 5.6.2(1)
      specifies the requirements analysis include characteristics of the potentially
      affected population, including persons with disabilities and other access and
      functional needs. In addition, sub-section 5.6.2(2) stipulates consideration of
      existing mandatory evacuation laws and expected enforcement of those laws.
      Sub-section 5.6.2(3) stipulates the requirements analysis to include characteristics
      of the incident that trigger consideration for evacuation based on weather, season,
      and ambient conditions, speed of onset, magnitude, location and direction,
      duration, resulting damages to essential functions, risk for cascading effects and
      secondary disasters, and capability of transportation routes and systems to
      transport life-sustaining materials (e.g., water, medical supplies, etc.) into the
      affected area.
    ! Section 5.6.3 stipulates the determination if evacuation or sheltering-in-place is
      appropriate to the situation and resources available based on 1) the anticipated
      impact and duration of the event, 2) the distance to appropriate sheltering
      facilities, 3) the availability of and access to transportation to those facilities, and
      4) the ability to communicate with the affected population within the required
      timeframe.
    ! Section 5.6.4 stipulates the 1) establishment of a single or unified command, 2)
      development of information system to notify public and provide an assessment of
      the time needed to reach people with the information, 3) identification of
      appropriate sheltering facilities by location, size, types of services available,
      accessibility, and building safety, and 4) identification of the modes and routes for
      evacuee transportation and the time needed to reach them, sources of evacuee

        13
           NFPA 1616 defines “People with Access and Functional Needs” as “Persons
 with disabilities and other access and functional needs include those from religious,
 racial, and ethnically diverse backgrounds; people with limited English proficiency;
 people with physical, sensory, behavioral and mental health, intellectual, developmental
 and cognitive disabilities, including individuals who live in the community and
 individuals who are institutionalized; older adults with and without disabilities; children
 with and without disabilities and their parents; individuals who are economically or
 transportation disadvantaged; women who are pregnant; individuals who have acute and
 chronic medical conditions; and those with pharmacological dependency.”
USCA Case #23-1175       Document #2007581             Filed: 07/10/2023     Page 108 of 136
 Docket No. CP16-116-002                                                              C- 5 -


      support services, and manpower requirements based on various potential shelters.
    ! Section 5.8 also has stipulations for dissemination of information on evacuation,
      shelter in place, and re-entry before, during, and after an incident to personnel and
      to the public.
    ! Section 5.9 has stipulations for warning, notification, and communication needs
      that are reliable and interoperable and redundant where feasible that takes into
      account persons with disabilities and other access and functional needs.

       Similar to NFPA 1600, NFPA 1616 has requirements in Chapter 6 on
 Implementation, Chapter 7 on Training and Education, Chapter 8 on Exercises, and
 Chapter 9 on Program Maintenance and Improvement with additional specifics for mass
 evacuation, sheltering in place and re-entry.

         NFPA 1620 (2020 edition) specifies the characteristics of the facility and
 personnel onsite that should be within a pre-incident plan, such as emergency contact
 information, including those with knowledge of any supervisory, control, and data
 acquisition systems, communication systems, emergency power supply systems, and
 facility access controls as well as personnel accountability and assistance for people with
 self-evacuation limits, means of egress, emergency response capabilities, spill
 containment systems, water supply and fire protection systems, hazardous material
 information (e.g., safety datasheets), special considerations for responding to hazardous
 materials (e.g., firewater may exacerbate LNG fires, boiling-liquid-expanding-vapor
 explosion (BLEVE)14 potential, etc.), and access to emergency action plans developed by
 the facility. Similar to NFPA 1600 and NFPA 1616, NFPA 1620 section 8.5.2 also
 addresses the implementation of an incident management system for the duration of the
 event and Chapter 10 establishes maintenance of a pre-incident plan.

         NFPA 1600, NFPA 1616, and NFPA 1620 provisions for threat, hazard
 identification, and risk assessment provisions and identification of resource requirements
 and gaps are also consistent with Department of Homeland Security FEMA’s
 Comprehensive Preparedness Guide 101, Developing and Maintaining Emergency

        14
           The American Institute of Chemical Engineers Center for Chemical Process
 Safety defines a boiling-liquid-expanding-vapor-explosion or BLEVE as a “type of rapid
 phase transition in which a liquid contained above its atmospheric boiling point is rapidly
 depressurized, causing a nearly instantaneous transition from liquid to vapor with a
 corresponding energy release. A BLEVE of flammable material is often accompanied by
 a large aerosol fireball, since an external fire impinging on the vapor space of a pressure
 vessel is a common cause. However, it is not necessary for the liquid to be flammable to
 have a BLEVE occur.” Center for Chemical Process Safety, Boiling-Liquid-Expanding-
 Vapor Explosion (BLEVE), https://www.aiche.org/ccps/resources/glossary/process-
 safety-glossary/boiling-liquid-expanding-vapor-explosion-bleve, (last visited April 2023).
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023     Page 109 of 136
 Docket No. CP16-116-002                                                                C- 6 -


 Operations Plans, Version 3.0, September 2021, and Comprehensive Preparedness Guide
 201, Threat and Hazard Identification and Risk Assessment and Stakeholder
 Preparedness Review Guide, Third Edition, May 2018, and other FEMA guidance.

        NFPA 470 covers the competencies and job performance requirements for
 emergency response personnel to incidents involving hazardous materials, including
 awareness level personnel (i.e., personnel onsite that would call for emergency
 responders and secure the scene), operations level responders (i.e., personnel responding
 to incident for implementing supporting actions to protection public), hazardous material
 technicians (i.e., personnel responding to incident for analyzing and implementing
 planned response), hazardous materials officers, hazardous materials safety officers,
 emergency medical services (EMS) personnel, incident commanders, and other specialist
 employees. The standard covers competencies and Job Performance Requirements ,
 including the ability to identify hazardous material releases and hazardous materials
 involved and identifying surrounding conditions, such as topography, weather conditions,
 public exposure potential, possible ignition sources, land use and adjacent land use,
 overhead and underground wires and pipelines, rail lines, and highways, bodies of water,
 storm and sewer drains, and building information (e.g., ventilation ducts and air returns).
 Part of the standard also describes the ability and requirement to estimate potential
 outcomes in order to properly plan response strategies and tactics, and the selection and
 use of proper personnel protective equipment (PPE). Many of these provisions are
 similar and synergistic with NFPA 1600, NFPA 1616, and NFPA 1620.

        NFPA 475 covers the organization, management, and sustainability of a hazardous
 material response program, including identifying facilities with hazardous materials,
 analyzing the risk of hazardous material incidents, including identifying hazardous
 materials at each location, (e.g., quantity, concentration, hazardous properties, etc.), type
 and design of containers; surrounding population and infrastructure, including vulnerable
 populations and critical facilities (e.g., schools, hospitals, businesses, etc.). NFPA 475
 similarly calls for analyzing the risk of an incident based on the consequences of a release
 and predicting its behavior and estimating the probability for an incident to take place and
 potential for cascading incidents. NFPA 475 Chapter 7 also has provisions for resource
 management, including the identification, acquisition, and management of personnel,
 equipment, and supplies to support hazardous material response programs. NFPA 475
 Chapter 8 expands upon staffing requirements and use of different staffing models and
 Chapter 9 expands upon training program with reference and similarities to NFPA 470.

        In accordance with these recommended and generally accepted good engineering
 practices, Commission staff evaluated the potential impacts from incidents caused by a
 range of natural hazards, accidental events, intentional events, and potential for cascading
 damage at the LNG terminal, including scenarios that would lead to a potential
 catastrophic failure of a tank required to be accounted in emergency response plans by
 PHMSA regulations in 49 CFR § 193.2509, and along the LNG carrier route using the
USCA Case #23-1175       Document #2007581             Filed: 07/10/2023     Page 110 of 136
 Docket No. CP16-116-002                                                              C- 7 -


 Zones of Concern referenced in USCG Navigation and Vessel Inspection Circular
 (NVIC) 01-11.15 In addition, Commission staff identified potential emergency response
 needs based on the potential impacts to and characteristics of the population and
 infrastructure for potential intentional and accidental incidents along the LNG marine
 vessel route and at the LNG terminal. Consistent with these practices, Commission staff
 evaluated the potential hazards from incidents, the potential impacts to areas from
 incidents and the evaluation of characteristics of population, including those with
 potential access and functional needs, and infrastructure that require special
 considerations in pre-incident planning, including but not limited to:

    !   daycares;
    !   elementary, middle, and high schools and other educational facilities;
    !   elderly centers and nursing homes and other boarding and care facilities;
    !   detention and correctional facilities;
    !   stadiums, concert halls, religious facilities, and other areas of assembly;
    !   densely populated commercial and residential areas, including high rise buildings,
        apartments, and hotels;
    !   hospitals and other health care facilities;
    !   police departments, stations, and substations;
    !   fire departments and stations;
    !   military or governmental installations and facilities;
    !   major transportation infrastructure, including evacuation routes, major highways,
        airports, rail, and other mass transit facilities as identified in external impacts
        section; and
    !   industrial facilities that could exacerbate the initial incident, including power
        plants, water supply infrastructure, and hazardous facilities with quantities that
        exceed thresholds in U.S. Environmental Protection Agency (EPA) RMP and/or
        OSHA PSM standards as identified in external impacts section.

        Many of these facilities are also identified and defined in NFPA 101, Life Safety
 Code, and require emergency action plans. NFPA 101 is currently used by every U.S.
 state and adopted statewide in in 43 of the 50 states.16 Texas adopted and follows


        15
          NVIC 01-11,
 https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
 1-2011%20Final.pdf, accessed January 2023.
        16
          NFPA, NFPA 101 Fact Sheet,
 https://www.nfpa.org/assets/files/AboutTheCodes/101/NFPA101FactSheet0809.pdf,
 accessed January 2023.
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023     Page 111 of 136
 Docket No. CP16-116-002                                                               C- 8 -


 NFPA 101 (2015 edition) without amendments.17 These areas are also similar to
 “identified sites” defined in 49 C.F.R. § 192 that define high consequence areas and those
 identified within Pipelines and Informed Planning Alliance (PIPA) for special land use
 planning considerations near pipelines.18

        B.     Potential Hazards

        An incident can result in various potential hazards and are initiated by a potential
 liquid and/or gaseous release with the formation of vapor at the release location, as well
 as from any liquid that pooled. The fluid released may present low or high temperature
 hazards and may result in the formation of toxic or flammable vapors. The type and
 extent of the hazard will depend on the material released, the storage and process
 conditions, and the volumes and durations released.

         Exposure to either cold liquid or vapor could cause freeze burns and depending on
 the length of exposure, more serious injury or death. However, spills would be contained
 to on-site areas and the cold state of these releases would be greatly limited due to the
 continuous mixing with the warmer air. The cold temperatures from the release would
 not present a hazard to the public, which would not have access to onsite areas. The cold
 temperatures may also quickly cool any materials contacted by the liquid on release,
 causing extreme thermal stress in materials not specifically designed for such conditions.
 These thermal stresses could subsequently subject the material to brittleness, fracture, or
 other loss of tensile strength and result in cascading failures. However, regulatory
 requirements and the Environmental Conditions in the Authorization Order would ensure
 that these effects would be accounted for in the design of equipment and structural
 supports.

        A rapid phase transition (RPT) can occur when a cryogenic liquid is spilled onto
 water and changes from liquid to gas, virtually instantaneously. Unlike an explosion that
 releases energy and combustion products from a chemical reaction, an RPT is the result
 of heat transferred to the liquid inducing a change to the vapor state. RPTs have been
 observed during LNG test spills onto water. In some test cases, the overpressures
 generated were strong enough to damage test equipment in the immediate vicinity of the

        17
          Up Codes, Texas Codes, https://up.codes/codes/texas, accessed January 2023;
 Texas State Fire Marshal, Standards of Inspection,
 https://www.tdi.texas.gov/fire/fmfsinotices.html, accessed January 2023.
        18
           Pipelines and Informed Planning Alliance, Partnering to Further Enhance
 Pipeline Safety in Communities through Risk-Informed Land Use Planning, Final Report
 of Recommended Practices,
 https://primis.phmsa.dot.gov/comm/pipa/landuseplanning.htm, November 2010.
USCA Case #23-1175       Document #2007581             Filed: 07/10/2023     Page 112 of 136
 Docket No. CP16-116-002                                                                C- 9 -


 LNG release point. The sizes of the overpressure events have been generally small and
 are not expected to cause significant damage. Six of the 18 Coyote spills19 produced RPT
 explosions. Most were early RPTs that occurred immediately with the spill, and some
 continued for the longer periods. Including RPTs near the end of the spills on three tests.
 LNG composition, water temperature, spill rate and depth of penetration all seem to play
 a role in RPT development and strength. The maximum strength RPT yielded equivalent
 to up to 6.3 kilograms of TNT free-air point source at the maximum spill rate of
 18 m3/min (4,750 gpm). This would produce an approximate 1 psi overpressures less
 than 100 feet from the spill source. These events are typically limited to the area within
 the spill and are not expected to cause damage outside of the area engulfed by the LNG
 pool. However, a RPT may affect the rate of pool spreading and the rate of vaporization
 for a spill on water.

        C.     Vapor Dispersion

        Depending on the size and product of the release, liquids may form a liquid pool
 and vaporize. Additional vaporization would result from exposure to ambient heat
 sources, such as water or soil. The vapor may form a toxic or flammable cloud
 depending on the material released. The dispersion of the vapor cloud will depend on the
 physical properties of the cloud, the ambient conditions, and the surrounding terrain and
 structures. Generally, a denser-than-air vapor cloud would sink to the ground and would
 travel with the prevailing wind, while a lighter-than-air vapor cloud would rise and travel
 with the prevailing wind. The density will depend on the material releases and the
 temperature of the material. For example, an LNG release would initially form a denser
 than-air vapor cloud and transition to lighter-than-air vapor cloud as the vapor disperses
 downwind and mixes with the warm surrounding air. However, experimental
 observations and vapor dispersion modeling indicate an LNG vapor cloud would not
 typically be warm, or buoyant, enough to lift off from the ground before the LNG vapor
 cloud disperses below its lower flammable limit (LFL).

       A vapor cloud formed following an accidental release would continue to be
 hazardous until it dispersed below toxic levels and/or flammable limits. Toxicity is

        19
           Goldwire, H.C., et al, Coyote Series Data Report LLNL/NWC 1981 LNG Spill
 tests Dispersion, Vapor Burn, and Rapid Phase Transition, Lawrence Livermore
 Laboratory, UCID-19952, Volume 1, October 1983. In 1981, a series of LNG spill
 experiments were performed at the Naval Weapons Center, located at China Lake,
 California, they are commonly referred to as the Coyote series. There was a total of ten
 Coyote series experiments, which included the study of vapor dispersion and burning
 vapor clouds and rapid-phase transition explosions. Id.
USCA Case #23-1175       Document #2007581            Filed: 07/10/2023     Page 113 of 136
 Docket No. CP16-116-002                                                            C- 10 -


 primarily dependent on the airborne concentration of the toxic component and the
 exposure duration, while flammability of the vapor cloud is primarily dependent just on
 the concentration of the vapor when mixed with the surrounding air. In general, higher
 concentrations within the vapor cloud would exist near the spill, and lower concentrations
 would exist near the edge of the cloud as it disperses downwind.

         Toxicity is defined by several different agencies for different purposes. Acute
 Exposure Guideline Level (AEGL) and Emergency Response Planning Guidelines
 (ERPG) can be used for emergency planning, prevention, and response activities related
 to the accidental release of hazardous substances. Other federal agencies, such as the
 Department of Energy (DOE), EPA, and National Oceanic and Atmospheric
 Administration (NOAA), use AEGLs and ERPGs as the primary measure of toxicity.

        There are three AEGLs and three ERPGs, which are distinguished by varying
 degrees of severity of toxic effects with AEGL-1 and ERPG-1 (level 1) being the least
 severe to AEGL-3 and ERPG-3 (level 3) being the most severe.

    ! AEGL-1 is the airborne concentration of a substance above which it is predicted
      that the general population, including susceptible individuals, could experience
      notable discomfort, irritation, or certain asymptomatic non sensory effects.
      However, these effects are not disabling and are transient and reversible upon
      cessation of the exposure.
    ! AEGL-2 is the airborne concentration of a substance above which it is predicted
      that the general population, including susceptible individuals, could experience
      irreversible or other serious, long lasting adverse health effects or an impaired
      ability to escape.
    ! AEGL-3 is the airborne concentration of a substance above which it is predicted
      that the general population, including susceptible individuals, could experience
      life-threatening health effects or death.

        The EPA directs the development of AEGLs in a collaborative effort consisting of
 committee members from public and private sectors across the world. Commission staff
 uses AEGLs preferentially as they are more inclusive and provide toxicity levels at
 various exposure times (10 minutes, 30 minutes, 1 hour, 4 hours, and 8 hours). The use
 of AEGLs is also preferred by the DOE and NOAA. Under the EPA RMP regulations in
 40 C.F.R. § 68, the EPA currently requires the determination of distances to toxic
 concentrations based on ERPG-2 levels. ERPG levels have similar definitions but are
 based on the maximum airborne concentration below which it is believed nearly all
 individuals could be exposed for up to 1 hour without experiencing similar effects
 defined in each of the AEGLs. The EPA provides ERPGs (1 hour) for a list of chemicals.
 These toxic concentration endpoints are comparable to AEGLs endpoints.

       In addition, any non-toxic release that does not contain oxygen would be classified
USCA Case #23-1175        Document #2007581              Filed: 07/10/2023     Page 114 of 136
 Docket No. CP16-116-002                                                               C- 11 -


 as simple asphyxiants and may pose extreme health hazards, including death, if inhaled in
 significant quantities within a limited time. Very cold methane and heavier hydrocarbons
 vapors may also cause freeze burns. However, the locations of concentrations where cold
 temperatures and oxygen-deprivation effects could occur are greatly limited due to the
 continuous mixing with the warmer air surrounding the spill site. For that reason,
 exposure injuries from contact with releases of methane, nitrogen, and heavier
 hydrocarbons normally represent negligible risks to the public.

       Flammable vapors can develop when a flammable material is above its flash point
 and concentrations are between the LFL and the upper flammable limit (UFL).
 Concentrations between the LFL and UFL can be ignited, and concentrations above the
 UFL or below the LFL would not ignite.

          The extent of the affected area and the severity of the impacts on objects within a
 vapor cloud would primarily be dependent on the material, quantity, and duration of the
 initial release, the surrounding terrain, and the weather (e.g., wind speed and direction,
 temperature, humidity, etc.) present during the dispersion of the cloud.

        D.     Flammable Vapor Ignition

          If the flammable portion of a vapor cloud encounters an ignition source, a flame
 would propagate through the flammable portions of the cloud. In most circumstances,
 the flame would be driven by the heat it generates. This process is known as a
 deflagration, or a flash fire, because of its relatively short duration. However, exposure
 to a deflagration, or flash fire, can cause severe burns and death, and can ignite
 combustible materials within the cloud. If the deflagration in a flammable vapor cloud
 accelerates to a sufficiently high rate of speed, pressure waves that can cause damage
 would be generated. As a deflagration accelerates to super-sonic speeds, the large shock
 waves produced, rather than the heat, would begin to drive the flame, resulting in a
 detonation. The flame speeds are primarily dependent on the reactivity of the fuel, the
 ignition strength and location, the degree of congestion and confinement of the area
 occupied by the vapor cloud, and the flame travel distance. Once a vapor cloud is
 ignited, the flame front may propagate back to the spill site if the vapor concentration
 along this path is sufficiently high to support the combustion process. When the flame
 reaches vapor concentrations above the UFL, the deflagration will transition to a pool or
 jet fire back at the source. If ignition occurs soon after the release begins, a fireball may
 occur near the source of the release and would be of a relatively short duration compared
 to an ensuing jet or pool fire. The extent of the affected area and the severity of the
 impacts on objects in the vicinity of a fire would primarily be dependent on the material,
 quantity, and duration of the fire, the surrounding terrain, and the ambient conditions
 present during the fire.
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023     Page 115 of 136
 Docket No. CP16-116-002                                                              C- 12 -


        E.     Overpressures

         If the deflagration in a flammable vapor cloud accelerates to a sufficiently high
 rate of speed, pressure waves that can cause damage would be generated. As a
 deflagration accelerates to super-sonic speeds, large pressure waves are produced, and a
 shock wave is created. In this scenario, the shock wave, rather than the heat, would drive
 the flame, resulting in a detonation. Deflagrations or detonations are generally
 characterized as “explosions” as the rapid movement of the flame and pressure waves
 associated with them cause additional damage beyond that from the heat. The amount of
 damage an explosion causes is dependent on the amount the produced pressure wave is
 above atmospheric pressure (i.e., an overpressure) and its duration (i.e., pulse). For
 example, a 1 psi overpressure, often cited as a safety limit in NFPA 59A (2019 edition)
 and U.S. regulations, is associated with glass shattering and traveling with velocities high
 enough to lacerate skin.

         Flame speeds and overpressures are primarily dependent on the reactivity of the
 fuel, the ignition strength and location, the degree of congestion and confinement of the
 area occupied by the vapor cloud, and the flame travel distance.

        The potential for unconfined LNG vapor cloud detonations was investigated by
 the USCG in the late 1970s at the Naval Weapons Center in China Lake, California.
 Using methane, the primary component of natural gas, several experiments were
 conducted to determine whether unconfined LNG vapor clouds would detonate.
 Unconfined methane vapor clouds ignited with low-energy ignition sources (13.5 joules),
 produced flame speeds ranging from 12 to 20 mph. These flame speeds are much lower
 than the flame speeds associated with a deflagration with damaging overpressures or a
 detonation.

        To examine the potential for detonation of an unconfined natural gas cloud
 containing heavier hydrocarbons that are more reactive, such as ethane and propane, the
 USCG conducted further tests on ambient-temperature fuel mixtures of methane-ethane
 and methane-propane. The tests indicated that the addition of heavier hydrocarbons
 influenced the tendency of an unconfined natural gas vapor cloud to detonate. Less
 processed natural gas with greater amounts of heavier hydrocarbons would be more
 sensitive to detonation.

        Although it has been possible to produce damaging overpressures and detonations
 of unconfined LNG vapor clouds, the feed gas stream proposed for the project would
 have lower ethane and propane concentrations than those that resulted in damaging
 overpressures and detonations. The substantial amount of initiating explosives needed to
 create the shock initiation during the limited range of vapor-air concentrations also
 renders the possibility of detonation of these vapors at an LNG plant as unrealistic.
 Ignition of a confined LNG vapor cloud could result in higher overpressures. To prevent
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023     Page 116 of 136
 Docket No. CP16-116-002                                                              C- 13 -


 such an occurrence, Texas LNG would take measures to mitigate the vapor dispersion
 and ignition into confined areas, such as buildings. Texas LNG would install hazard
 detection devices at all combustion and ventilation air intake equipment to enable
 isolation and deactivation of any combustion equipment whose continued operation could
 add to, or sustain, an emergency. In general, the primary hazards to the public from an
 LNG spill that disperses to an unconfined area, either on land or water, would be from
 dispersion of the flammable vapors or from radiant heat generated by a pool fire.

        In comparison with LNG vapor clouds, there is a higher potential for unconfined
 propane clouds to produce damaging overpressures. This has been shown by multiple
 experiments conducted by the Explosion Research Cooperative to develop predictive
 blast wave models for low, medium, and high reactivity fuels and varying degrees of
 congestion and confinement. The experiments used methane, propane, and ethylene, as
 the respective low, medium, and high reactivity fuels. In addition, the tests showed that if
 methane, propane, or ethylene are ignited within a confined space, such as in a building,
 they all have the potential to produce damaging overpressures.

         Fires and overpressures may also cause failures of nearby storage vessels, piping,
 and equipment if not properly mitigated. These failures are often termed cascading
 events or domino effects and can exceed the consequences of the initial hazard. The
 failure of a pressurized vessel could cause fragments of material to fly through the air at
 high velocities, posing damage to surrounding structures and a hazard for operating staff,
 emergency personnel, or other individuals in proximity to the event. In addition, failure
 of a pressurized vessel when the liquid is at a temperature significantly above its normal
 boiling point could result in a BLEVE. BLEVEs can produce overpressures when the
 superheated liquid rapidly changes from a liquid to a vapor upon the release from the
 vessel. BLEVEs of flammable fluids may also ignite upon its release and cause a
 subsequent fireball.

        F.     Potential Infrastructure Impacts from LNG Facilities

        The final EIS for the Texas LNG Project assessed potential impacts to the public
 and whether the project would operate safely, reliably, and securely. The Texas LNG
 Project would be subject to design requirements and would include mitigation to meet
 regulation requirements and the conditions of the Commission’s Authorization Order.
 Although the likelihood of incidents and hazards described in the final EIS are extremely
 low due to the mitigation required by regulations and Environmental Conditions,
 potential impacts from these hazards could impact onsite personnel and offsite public.20


        20
          Specific distances of potential impacts from incidents at an LNG terminal have
 not been provided at this time to try and balance the potential security interests in
 releasing such information. Specific distances for various hazards described would be
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023      Page 117 of 136
 Docket No. CP16-116-002                                                              C- 14 -


         Commission staff evaluated a range of releases to evaluate the potential impacts to
 populations and infrastructure within vicinity of the plant. Impacts would vary based on
 the initiating event and subsequent release characteristics (e.g., size, location, direction,
 process conditions, etc.), hazard (i.e., vapor dispersion, overpressures, fires, BLEVE and
 pressure vessel bursts), weather conditions, and surrounding terrain. Distances to radiant
 heats of 5 kW/m2 (or approximately 1,600 BTU/ft2-hr) from fires produced by accidental
 and intentional acts could impact onsite personnel or offsite public. For example, Section
 2.2.2.2 in NFPA 59A-2001, incorporated by reference in PHMSA regulations in 49
 C.F.R. § 193, requires spill containments, serving vaporization, process, or LNG transfer
 area, to contain liquid releases from 2-inch diameter holes and guillotine releases of
 piping less than 6-inches in diameter. Additionally, PHMSA siting regulations for
 flammable vapor dispersion and thermal radiation exclusion zones limit the dispersion of
 flammable vapors and 1,600 BTU/ft2-hr radiant heat from LNG pool fires in those spill
 containment systems in certain weather conditions from extending beyond the control of
 the operator or government agency and prevent it from extending onto areas accessible
 by the public. Environmental Condition 84 of the Authorization Order requires spill
 containment systems to capture all liquid from guillotine ruptures of the single largest
 line and largest vessel(s) to limit their pool spread and vaporization. This effectively
 limits the extent of the 1,600 BTU/ft2-hr radiant heat from pool fires to onsite for even
 the largest releases from a single source and considerably reduces the dispersion
 distances to flammable vapors. However, ignition of releases larger than those used in
 the siting analyses can result in 1,600 BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats
 from jet and pool fires that extend offsite onto publicly accessible areas.

         The only offsite infrastructure that could be impacted by 10,000 BTU/ft2-hr
 radiant heat from a fire would be a portion of Texas State Highway 48 with no impacts to
 nearby communities. The offsite infrastructure that could be impacted by 1,600 BTU/ft2-
 hr radiant heat from a fire would be the authorized Texas LNG facility21 and the
 infrastructure within the 10,000 BTU/ft2-hr radiant heat with no impact to nearby
 communities. The unignited vapor dispersion from a catastrophic failure of an LNG
 storage tank is extremely unlikely but, if it occurred, could extend farther offsite and
 could impact the following critical infrastructure: commercial areas including the Port
 Isabel-San Benito Navigation District, and the Space X assembly facility; numerous local

 provided in emergency response plans for reference and use by emergency responders,
 Further, potential hazards have been described and potential impacts to communities are
 disclosed to balance the importance of public disclosure and transparency on the balance
 of potentially releasing information that has not been previously released and could be
 used by intentional actors.
        21
          Texas LNG Brownsville LLC, Order Granting Authorization Under Section 3 of
 the Natural Gas Act, 169 FERC ¶ 61,130
USCA Case #23-1175        Document #2007581           Filed: 07/10/2023    Page 118 of 136
 Docket No. CP16-116-002                                                           C- 15 -


 government buildings including the Port Isabel Police Department, Cameron County
 Precinct 1 Constable’s Office, Port Isabel City Fire Department, Cameron County Tax
 Assessor-Collector Office, Port Isabel City Hall, and Port Isabel City Social Worker
 Office; two health care facilities including the Port Isabel Health Clinic, the Luna
 Medical Clinic, and Emergency Medical Services; and several major roadways, including
 the Queen Isabel Causeway, Texas State Highway 100, and Texas State Highway 48.
 Several communities within the extent of the unignited vapor release from a catastrophic
 failure of one of the LNG storage tanks could include multiple residential homes,
 apartment complexes, several schools including Garriga Elementary School, Derry
 Elementary School, Port Isabel Junior High School, Port Isabel High School, Port Isabel
 Independent School District, several child-care facilities including the Little Learners
 Academy, Esperanza B. Garza Head Start, and Beacon Bay Head Start, hotels, and places
 of worship.

       G.       Potential Infrastructure Impacts Along LNG Marine Vessel Route

        As LNG marine vessels proceed along the intended transit route, the estimated
 impacts would extend onto populated areas and infrastructure. These distances are
 provided as Zones of Concern in the publicly available guidance NVIC 01-1122 used by
 the USCG and correspond to 37.5 kW/m2 (approximately 12,000 BTU/ft2-hr) radiant
 heats from fires for Zone 1, 5 kW/m2 (approximately 1,600 BTU/ft2-hr) radiant heats
 from fires for Zone 2, and flammable vapor dispersion distances for Zone 3. The areas,
 including a description of the infrastructure and communities, impacted by the three
 different hazard zones were provided for accidental and intentional events in the Texas
 LNG final EIS.23

       H.       Potential Impacts on People with Access and Functional Needs and
                Environmental Justice Communities

        Commission staff used EJScreen24 as an initial screening tool to identify the
 potential impacts from incidents along the LNG marine vessel transit route and at the
 LNG terminal, including potential impacts to people with access and functional needs as
 defined in NFPA 1600 and 1616. Table 1 shows the resultant percentages of people with
 potential access and functional needs based on 2016-2020 U.S. Census Bureau, American

       22
          NVIC 01-11,
 https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
 1-2011%20Final.pdf, accessed January 2023.
       23
            Texas LNG Final EIS, pages 4-211 to 4-212 in Figures 4.12.3-1 and 4.12.3-2.
       24
            EPA, EJScreen, https://ejscreen.epa.gov/mapper/, accessed December 2022.
USCA Case #23-1175        Document #2007581             Filed: 07/10/2023      Page 119 of 136
 Docket No. CP16-116-002                                                               C- 16 -


 Community Survey (ACS) as follows.25




        25
           Based on EPA, EJScreen User Guide Version 2.1, 2022, the impact area would
 aggregate appropriate portions of the intersecting block groups, weighted by population,
 to create a representative set of data for the entire ring area, honoring variation and
 dispersion of the population in the block groups within it. For each indicator, the result is
 a population-weighted average, which equals the block group indicator values averaged
 over all residents who are estimated to be inside the impact area. A weight factor for
 each block group is determined by summing each block point population percentage for
 that block group. If the impact area touches part of a neighboring block group that
 contains no block points, nothing will be aggregated; if an impact area intersects a
 number of block groups, EJScreen indices will be aggregated within each block group
 based on the affiliated block points. The aggregation is done by using factor-weighted
 block points.
    USCA Case #23-1175           Document #2007581               Filed: 07/10/2023       Page 120 of 136
      Docket No. CP16-116-002                                                                    C- 17 -


TABLE 1

People With Access and Functional Needs within Potential Impact Areas
                       Population                                                            Linguistically
Potential Incident     Density                          Housing Age 0-4         Age 65+      Isolated
                                      Households1
Impact Area            (per square                      Units1     (percent)1 (percent)1 Households
                       mile) 1                                                               (percent)1, 2, 3
Zone 1
(LNG marine vessel 0                  0                 0          0            0            0
- Accidental)
Zone 2
(LNG marine vessel 455                75                397        2%           34%          0
- Accidental)
Zone 3
(LNG marine vessel 235                256               1,359      2%           34%          0
- Accidental)
Zone 1
(LNG marine vessel 2                  0                 1          2%           34%          0
- Intentional)
Zone 2
(LNG marine vessel 211                195               1,033      2%           34%          0
- Intentional)
Zone 3
(LNG marine vessel 228                1,557             4,093      5%           22%          14.9%
- Intentional)
10,000 BTU/ft2-hr
                       0              0                 0          0%           0%           0
(LNG Terminal)
1,600 BTU/ft2-hr
                       0              0                 0          0%           0%           0
 (LNG Terminal)
Flammable Vapor
Cloud                  208            3,102             5,979      9%           19%          13.2%
(LNG Terminal)
1
  American Community Survey, 2016-2020, ACS Estimates
2
  Households in which no one 14 and over speaks English “very well” or speaks English only.
3
  Calculated by dividing the number of linguistically isolated households by the total number of households
multiplied by 100.

             The worst-case distances from these potential incidents would potentially impact
      six census block groups, all of which are considered environmental justice communities.
      The block groups located with environmental justice communities that exceed the
      thresholds for minority and low income would include Census Tracts 142.02 Block
      Group 2, 127 Block Group 2, 123.04 Block Group 2, 123.04 Block Group 4 (based on the
      minority and low-income thresholds); Census Tract 123.04 Block Group 3 (based on the
      minority threshold); and Census Tract 123.04 Block Group 1 (based on low-income
      threshold).
USCA Case #23-1175         Document #2007581           Filed: 07/10/2023    Page 121 of 136
 Docket No. CP16-116-002                                                            C- 18 -


       I.        Emergency Response Plans and Mitigation

        In order to mitigate these potential offsite risks, this order modifies, in
 Appendix A, the Emergency Response Plan and Cost Sharing Plan Environmental
 Conditions 36 and 37 from Authorization Order. The modified language specifies
 emergency response and cost sharing considerations related to public education materials,
 including those with access and functional needs and environmental justice communities,
 on proposed evacuation routes and shelter in place locations, first responder training,
 emergency command centers and equipment, and public communication methods and
 devices. These revisions will further enhance the safety and security measures beyond
 that which would normally be required at the LNG terminal by the minimum standards
 for LNG safety promulgated in PHMSA regulations under 49 C.F.R. § 193 and USCG
 regulations under 33 C.F.R. § 127 and 33 C.F.R. § 105.

          As stated in Sandia National Laboratories Report, Guidance on Risk Analysis and
 Safety Implications of a Large LNG Spill Over Water, SAND2004-6258, which was the
 basis for the Zones of Concern and referenced in NVIC 01-011, Zone 1 represents “risks
 and consequences of an LNG spill could be significant and have severe negative impacts”
 and radiant heat demarked by this zone “poses a severe public safety and property hazard,
 and can damage or significantly disrupt critical infrastructure.” Subsequently, the Sandia
 report concludes that for accidental Zone 1 impacts, “risk management strategies for
 LNG operations should address both vapor dispersion and fire hazards” and the most
 rigorous deterrent measures, such as vessel security zones, waterway traffic management,
 and establishment of positive control over vessels are options to be considered as
 elements of the risk management process.” Zone 1 is based upon a 37.5 kW/m2 radiant
 heat from a fire, which would cause significant damage to equipment and structures that
 are located within 1,640 feet.26 Sandia recommends that “incident management and
 emergency response measures should be carefully evaluated to ensure adequate resources
 (i.e., firefighting, salvage, etc.) are available for consequence and risk mitigation.”

         Sandia indicates Zone 2 represents where radiant heat “transitions to less severe
 hazard levels to public safety and property” and the consequence of an accidental LNG
 spill are reduced and risk reduction and mitigation approaches and strategies can be less
 extensive.” Zone 2 is based upon a 5 kW/m2 radiant heat, which would cause significant
 impacts to individuals, but would not be expected to significantly impact most
 structures.27 Sandia concludes that for accidental Zone 2 impacts, “risk management

       26
             Texas LNG Final EIS 4-211 to 4-212 (describing the specifics of Sandia Zone 1
 impacts).
       27
             Texas LNG Final EIS4-211 to 4-212 (describing the specifics of Sandia Zone 2
 impacts).
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023    Page 122 of 136
 Docket No. CP16-116-002                                                              C- 19 -


 strategies for LNG operations should focus on approaches dealing with both vapor
 dispersion and fire hazards” and “should include incident management and emergency
 management and emergency response measures, such as ensuring areas of refuge (e.g.,
 enclosed areas, buildings) are available, development of community warning signals, and
 community education programs to ensure persons know what precautions to take.”

        Sandia indicates Zone 3 represents “risks and consequences to people and property
 of an accidental LNG spill over water are minimal” and radiant heat “poses minimal risks
 to public safety and property.” Zone 3 is based upon the dispersion distance to
 flammable vapors under worst-case wind conditions.28 In the rare circumstance that the
 flammable vapors are not ignited until later, there could be flash fires or explosions
 depending on congestion, confinement, and ignition strength and location. Subsequent
 pool fires that would be demarked from the Zone 1 and 2 fire hazard distances, Sandia
 concludes that for accidental Zone 3 impacts, “risk reduction and mitigation strategies
 can be significantly less complicated or extensive” and “should concentrate on incident
 management and emergency response measures that are focused on dealing with vapor
 cloud dispersion . . . ” such as ensuring “areas of refuge are available, and community
 education programs . . . to ensure that persons know what to do in the unlikely event of a
 vapor cloud.” Sandia makes similar recommendations for the Zones of Concern for
 intentional acts. The modified Emergency Response Plan and Cost Sharing Plan
 Environmental Conditions 36 and 37 in Appendix A incorporate the considerations from
 the Sandia recommendations and would be consistent with the recognized and generally
 accepted good engineering practices for evacuating and sheltering in place, such as
 NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470, and NFPA 475.

        As described in the final EIS, Commission staff evaluated Rio Grande’s
 application with a focus on potential hazards from within the terminal and near the site,
 including external events, which may have the potential to cause damage or failure to the
 project facilities. Based on these potential hazards, staff examined the project’s
 engineering design features that would mitigate potential hazards and any risk to safety
 and reliability.29 When reviewing an applicant’s engineering design for a project, the
 Commission requires it to be site-specific and developed to the extent that further
 detailed design would not result in significant changes to the siting considerations, basis
 of design, operating conditions, major equipment selections, equipment design
 conditions, or safety system designs. The engineering design that staff evaluated
 included: process design; mechanical design; hazard mitigation design for the spill
 containment design; spacing and plant layout design; ignition control design; hazard
 detection; emergency shutdown and depressurization system design; hazard control

        28
             Final EIS 4-211 to 4-212 (describing the specifics of Sandia Zone 3 impacts).
        29
             Id. at 4-211 to 4-244.
USCA Case #23-1175           Document #2007581             Filed: 07/10/2023      Page 123 of 136
 Docket No. CP16-116-002                                                                C- 20 -


 design; passive cryogenic and fire protection design; firewater system design;
 geotechnical and structural design, including natural hazards design; and onsite and
 offsite emergency response plans.30

        To analyze the reliability and safety of these designs, staff considered the
 occurrence and likelihood of potential hazards and the likely severity of consequences
 based on past incidents and validated hazard modeling. As part of its review, staff
 recommended 93 mitigation measures in the final EIS, which were adopted as conditions
 in the Authorization Order.31 In addition to the earlier review, staff reevaluated the
 potential impacts along the LNG marine vessel transit route and at the LNG terminal as
 described above.32 This review resulted in modifications to Environmental Conditions 53
 and 54 from the Authorization Order related to emergency response and cost sharing
 plans in order to further mitigate potential offsite risks.33 Based on these reviews,
 Commission staff determined that the risk (i.e., likelihood and consequence) of accidental
 and intentional events would be less than significant with implementation of the proposed
 safety and security recommendations that further enhance the safety and security
 measures above what is required at the LNG terminal by PHMSA regulations under 49
 C.F.R. § 193 and USCG regulations under 33 C.F.R. Part 127 and 33 C.F.R. Part 105,
 and those required for the LNG marine vessel by USCG regulations under 33 C.F.R. Part
 104 and 46 C.F.R. Part 154.

         The Energy Policy Act of 2005 requires LNG terminal operator’s Emergency
 Response Plan be developed in consultation with the USCG and State and local agencies
 and be approved by the commission prior to final approval to begin construction. To
 satisfy this requirement, this order modifies Environmental Conditions 36 and 37 in
 Appendix A of this order, that prior to construction of final design, Texas LNG shall file
 with the Secretary a revised Emergency Response Plan (ERP), including evacuation and
 any sheltering and re-entry, a request for review and written approval by the Office of
 Energy Projects Director or his designee. The ERP must be developed and coordinated
 with the USCG; state, county, and local emergency planning groups; fire departments;
 state and local law enforcement; and other appropriate federal agencies. This plan must
 be consistent with recommended and good engineering practices, as defined in NFPA
 1600, NFPA 1616, NFPA 1620, NFPA 470, NFPA 475, or approved equivalents, and
 based on potential impacts and onsets of hazards from accidental and intentional events

        30
             Id. (detailing staff’s evaluation of the project’s engineering design).
        31
             Authorization Order, 169 FERC ¶ 61,130 at Env’t Conditions 31-125.
        32
             See supra at C-19 & C-20.
        33
             See supra Order on Remand and Amending Certificate at P 64.
USCA Case #23-1175       Document #2007581             Filed: 07/10/2023     Page 124 of 136
 Docket No. CP16-116-002                                                             C- 21 -


 along the LNG marine vessel route and potential impacts and onset of hazards from
 accidental and intentional events at the LNG terminal, including but not limited to a
 catastrophic failure of the largest LNG tank. The plan must also address any special
 considerations and pre-incident planning for infrastructure and public with access and
 functional needs and must include at a minimum:

    a. materials and plans for periodic dissemination of public education and training
       materials in English and Spanish for potential hazards and impacts, identification
       of potential hazards, and steps for public notification, evacuation, and shelter in
       place within any transient hazard areas along the marine vessel route, and within
       LNG terminal hazard areas;
    b. plans to competently train emergency responders required to effectively and safely
       respond to hazardous material incidents including, but not limited to LNG fires
       and dispersion;
    c. plans to competently train emergency responders to effectively and safely
       evacuate or shelter public within transient hazard areas along the marine vessel
       route, and within hazard areas from LNG terminal;
    d. designated contacts with federal, state and local emergency response agencies
       responsible for emergency management and response within any transient hazard
       areas along the marine vessel route, and within hazard areas from LNG terminal;
    e. scalable procedures for the prompt notification of appropriate local officials and
       emergency response agencies based on the level and severity of potential
       incidents;
    f. scalable procedures for mobilizing response and establishing a unified command,
       including identification, location, and design of any emergency operations centers
       and emergency response equipment required to effectively and safely to respond
       to hazardous material incidents and evacuate or shelter public within transient
       hazard areas along the marine vessel route, and within LNG terminal hazard areas;
    g. scalable procedures for notifying public, including identification, location, design,
       and use of any permanent sirens or other warning devices required to effectively
       communicate and warn the public prior to onset of debilitating hazards within any
       transient hazard areas along the LNG marine vessel route and within hazard areas
       from LNG terminal;
    h. scalable procedures for evacuating the public, including identification, location,
       design, and use of evacuation routes/methods and any mustering locations
       required effectively and safely evacuate public within any transient hazard areas
       along the LNG marine transit route and within hazard areas from LNG terminal;
       and
    i. scalable procedures for sheltering the public, including identification, location,
       design, and use of any shelters demonstrated to be needed and demonstrated to
       effectively and safely shelter public prior to onset of debilitating hazards within
       transient hazard areas that may better benefit from sheltering in place (i.e., those
       within Zones of Concern 1 and 2), along the route of the LNG marine vessel and
USCA Case #23-1175       Document #2007581            Filed: 07/10/2023     Page 125 of 136
 Docket No. CP16-116-002                                                            C- 22 -


       within hazard areas that may benefit from sheltering in place (i.e., those within
       areas of 1,600 BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats from fires with
       farthest impacts, including from a catastrophic failure of largest LNG tank) of the
       LNG terminal.

        Environmental Condition 36 requires Texas LNG to notify Commission staff of all
 planning meetings in advance and to report progress on the development of its
 Emergency Response Plan at 3-month intervals.

         The Energy Policy Act of 2005 requires LNG terminal operators develop a cost-
 sharing plan to reimburse direct costs to state and local agencies. To satisfy this
 requirement, Environmental Condition No. 37 requires Texas LNG to provide a Cost
 Sharing Plan that includes sustained funding of any requirement or resource gap analysis
 identified above to be needed and to effectively and safely evacuate and shelter public
 and required to effectively and safely respond to hazardous material incidents. Once
 submitted by Texas LNG, we would evaluate the revised Emergency Response Plan and
 Cost Sharing Plan in accordance with recommended and good engineering practices such
 as, but not limited to, NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470 and NFPA 475,
 or approved equivalents.

        Based on our preliminary analysis of the hazards from the LNG facilities and
 along the LNG marine vessel route and the Environmental Conditions set forth in the
 Authorization Order and modified Environmental Conditions herein, Texas LNG must
 provide additional information, for review and approval, on development of emergency
 response plans prior to construction of final design. Texas LNG will also have to file
 three dimensional drawings, for review and approval, under the Environmental
 Condition 41 of the Authorization Order that demonstrate there is a sufficient number of
 access and egress locations at the LNG terminal. Texas LNG is also required under
 Environmental Condition 36 to coordinate with local, state, and federal agencies on the
 development of an emergency response plan and cost sharing plan. Texas LNG has
 provided and must continue to provide periodic updates on the development of these
 plans for review and approval, and ensure they are in place prior to introduction of
 hazardous fluids. In addition, the Texas LNG Project will be subject to regular
 inspections throughout the life of the facility and will continue to require Texas LNG to
 file updates to the Emergency Response Plan.
USCA Case #23-1175            Document #2007581           Filed: 07/10/2023    Page 126 of 136



                           UNITED STATES OF AMERICA
                    FEDERAL ENERGY REGULATORY COMMISSION

 Texas LNG Brownsville LLC                                   Docket No.       CP16-116-002

                                       (April 21, 2023)

 PHILLIPS, Chairman, concurring:

         I concur in today’s orders.1 In Vecinos para el Bienestar de la Comunidad
 Costera v. FERC,2 the U.S. Court of Appeals for the District of Columbia Circuit held
 that “the Commission's analyses of the [Rio Bravo and Texas LNG projects’] impacts on
 climate change and environmental justice communities were deficient,” and directed the
 Commission on remand to “revisit its determinations of public interest and convenience
 under Sections 3 and 7 of the NGA” after adequately considering those issues. With
 today’s order, we have provided a full response to both deficiencies identified by the
 Court.

       First, with respect to climate change, the Court held that the Commission did not
 adequately respond to arguments regarding why it should deploy the Social Cost of
 Carbon.3 In response, consistent with recent precedent, we have included the Social Cost
 of Carbon figures in today’s order.

         Second, with respect to environmental justice, the Court held that the Commission
 did not adequately explain its method for identifying environmental justice communities
 potentially affected by the projects. In response, we have conducted a full review of the
 projects’ impacts on environmental justice communities. Throughout 2022, Commission
 staff issued multiple data requests to gather information on the projects’ potential impacts
 on environmental communities with 50 kilometers of the facilities. In addition, we
 provided all stakeholders an opportunity to comment on the information submitted in
 those data requests, including what that information meant for environmental justice
 communities. While I recognize that certain of my colleagues would have preferred more
 process or less, I believe that the record assembled throughout the last year is an
 appropriate middle ground that represents an adequate basis to fully consider the issues
 the Court remanded to us in Vecinos nearly two years ago.


        1
         I enter the same concurrence in this case as Rio Grande LNG, LLC, 183 FERC ¶
 61,046 (2023).
        2
            6 F.4th 1321, 1331 (D.C. Cir. 2021).
        3
            Id. at 1328-30.
USCA Case #23-1175        Document #2007581            Filed: 07/10/2023      Page 127 of 136
 Docket No. CP16-116-002                                                                -2-

         And we did just that. Today’s order conducts a full environmental justice
 examination using our current methods, which are consistent with EPA and CEQ
 guidance. As part of that investigation, and in direct response to the Court, we identified
 all environmental justice communities within 50 kilometers of the projects, as opposed to
 just those within the 2-mile radius considered in the initial orders.4 We then analyzed
 each project’s impacts on affected EJ communities. As part of that full examination and
 due to required mitigation, we affirmed our earlier conclusion that the projects’ impacts
 would be less than significant.

        To that point, today’s order takes an unprecedented and bipartisan step to protect
 environmental justice communities from potential concerns about the projects’ effects on
 air quality. Because portions of the projects will enter service before construction is
 entirely completed, there is the potential that those overlapping activities could, in
 connection with other background emissions, contribute to an exceedance of the National
 Ambient Air Quality Standards (NAAQS) for certain pollutants. To mitigate that
 concern, the Commission is, for the first time, sua sponte, requiring the projects’
 sponsors to file a plan to ensure that the overlapping construction and operation of project
 do not cause any exceedance of the NAAQS. That measure allows the Commission to
 conclude that the projects will not have any significant air quality impacts on
 environmental justice communities.

        In addition, at a broader level, this mitigation illustrates how the Commission is
 making progress on the critically important issue of cumulative impacts. At the
 Commission’s March 29, 2022 Roundtable on Environmental Justice and Equity in
 Infrastructure Permitting, we heard from several stakeholders, including community
 groups, about the importance of considering cumulative impacts—i.e., not just the air
 emissions directly caused by a particular project, but also those emissions in conjunction
 with the emissions from other sources within the region. Today’s order takes a critical
 step toward addressing that concern by requiring that the project sponsors develop a plan
 to ensure that incremental emissions impacts associated with these projects, on top of all
 sources, do not cause a NAAQS exceedance, thereby helping to protect communities,
 including environmental justice communities, that may venture near the projects.

        For these reasons, I respectfully concur.

        ______________________________
        Willie L. Phillips
        Chairman



        4
          The underlying orders identified only communities within in two miles or over
 three kilometers of the facility.
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023    Page 128 of 136



                           UNITED STATES OF AMERICA
                    FEDERAL ENERGY REGULATORY COMMISSION

 Texas LNG Brownsville LLC                                      Docket No.   CP16-116-002

                                      (Issued April 21, 2023)

 CLEMENTS, Commissioner, dissenting:

         I dissent from the Order1 because (1) the Commission was required to prepare a
 supplemental environmental impact statement (EIS) and its failure to do so renders the
 Order’s significance determinations unsupportable; (2) the Commission should have
 granted the requests it received to hold public meetings addressing the Commission’s
 new analyses of environmental and other impacts;2 and (3) I disagree with the Order’s
 explanation for why the Commission is not determining the significance of greenhouse
 gas (GHG) emissions associated with the Texas LNG Terminal project.3 The
 Commission’s failure to prepare a supplemental environmental impact statement (EIS)
 for the project, and to take public comment on the supplement, leaves the Commission
 with a fundamentally flawed record that cannot support a public interest determination
 for the project. I therefore dissent from the Order’s ultimate conclusion that the Texas
 LNG Terminal is not inconsistent with the public interest.4

         In performing the expanded review of EJ impacts required by the D.C. Circuit’s
 remand decision in Vecinos,5 the Commission identified 274 additional EJ communities
 in the area around the Texas LNG Terminal that could be impacted by the project,

        1
            Texas LNG Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Order).
        2
            See Order at PP 12, 15.
        3
            See id. at PP 21, 26.
        4
            Id. at P 84.
        5
          Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
 (D.C. Cir. 2021). The Court instructed that, on remand, the Commission must explain
 why it used only a two-mile radius for its analysis of EJ impacts or use a different radius.
 Id. at 1331. The Commission correctly chose to use the 50-kilometer radius in its
 analysis on remand because that was the only rational choice given that the Commission
 uses that radius for analysis of air quality impacts. See Order at P 34 & n.86 (explaining
 50 kilometers is the distance that the U.S. Environmental Protection Agency uses for
 cumulative air modeling for major stationary sources under its Prevention of Significant
 Deterioration Program).
USCA Case #23-1175         Document #2007581           Filed: 07/10/2023     Page 129 of 136
 Docket No. CP16-116-002                                                                -2-

 beyond the five identified in the Commission’s original analysis.. The Commission has
 not provided members of these newly identified EJ communities any meaningful
 opportunity to comment on the impacts the projects may have on them or what mitigation
 measures would help prevent or minimize any adverse impacts. For the reasons
 explained below, the Commission should have issued the new environmental and safety
 analyses included in the body and appendices of the Order as a supplemental EIS, issued
 targeted notices of the supplemental EIS to potentially affected EJ communities, and
 allowed a reasonable period for public comment on the supplemental EIS, including oral
 comments at the town hall style meetings that commenters have requested. The
 Commission’s failure to do so leaves us with an incomplete administrative record with
 respect to potential adverse impacts on newly identified EJ communities, the significance
 of those impacts, and mitigation measures to address them. In short, we lack the
 foundation for reasoned decision-making on these vital issues.

         The National Environmental Policy Act (NEPA) requires agencies to prepare an
 EIS for “major Federal actions significantly affecting the quality of the human
 environment.”6 The Commission did so before approving the Texas LNG Terminal
 project. However, that was not enough to meet our obligations under NEPA. According
 to the Council on Environmental Quality’s (CEQ) regulations implementing NEPA, an
 agency must prepare a supplemental EIS if “there are significant new circumstances or
 information relevant to environmental concerns and bearing on the proposed action or its
 impacts.”7 Since issuing the original EIS for the Texas LNG Terminal project, and
 following the remand in Vecinos, the Commission has identified hundreds of additional
 potentially affected EJ communities. Under any reasonable interpretation of CEQ’s
 regulation, this is significant new information “relevant to environmental concerns.” For
 that reason alone, the Commission should have issued its new analyses as a supplemental
 EIS and provided an opportunity for public comment on it.8


        6
            42 U.S.C. § 4332(2)(C).
        7
          40 C.F.R. § 1502.9(d)(1)(ii). The Commission’s regulations implementing
 NEPA provide that the Commission will comply with CEQ’s regulations. See 18 C.F.R.
 § 380.1.
        8
         CEQ’s regulations provide that an agency “shall prepare, publish, and file a
 supplement to a[n EIS] . . . as a draft and final statement.” 40 C.F.R. § 1502.9(3).
 Although the regulation does not say so explicitly, the only purpose for publishing a draft
 would be for the public to comment on it. Consistent with the regulation, the
 Commission’s practice is to issue a draft supplemental EIS for public comment. See,
 e.g., Magnolia LNC, LLC; Notice of Availability of the Draft Environmental Impact
 Statement for the Proposed Magnolia Production Capacity Amendment, 84 Fed. Reg.
 52,881 (Oct. 3, 2019); Florida Southeast Connection, LLC; Transcontinental Gas Pipe
USCA Case #23-1175         Document #2007581           Filed: 07/10/2023    Page 130 of 136
 Docket No. CP16-116-002                                                               -3-

        The other reasons a supplemental EIS is required are equally plain. In the Order,
 the Commission finds that, even with Texas LNG’s proposed mitigation measures, during
 periods when construction, operation, and commissioning activities occur at the same
 time at the LNG terminal, the Clean Air Act National Air Ambient Quality Standards
 (NAAQS) may be exceeded for certain air pollutants.9 The Order imposes a new air
 pollution and monitoring condition that may prevent or reduce NAAQS violations.10
 Although I agree that imposing this condition is a beneficial step to take, I cannot
 conclude that it will be sufficient to reduce cumulative air emissions to an insignificant
 level because the condition itself is vague11 and we have had no public comment on
 whether it will be effective or what additional mitigation may be needed. The Order also
 finds that visual impacts on EJ communities would be significant.12 However, it imposes
 no new mitigation measures to minimize those impacts. These findings in the Order
 themselves indicate a supplemental EIS is necessary.

       The need for a supplemental EIS does not hinge on a definitive finding that
 environmental impacts will be significant. To the contrary, NEPA requires that an
 agency prepare an EIS where there “might” be “any” significant environmental impacts.13
 Moreover, “the decision whether to prepare a supplemental EIS is similar to the decision
 whether to prepare an EIS in the first instance.”14 Since the Commission has determined

 Line Company, LLC; Sabal Trail Transmission, LLC; Notice of Availability of the Draft
 Supplemental Environmental Impact Statement for the Southeast Market Pipelines
 Project, 82 Fed. Reg. 16,233 (Oct. 4, 2017).
       9
           Order at PP 68, 70.
       10
            Id. at PP 70-71.
       11
           The new condition describes the basic components of the monitoring and
 mitigation plan that Texas LNG must file for approval, but it leaves it to the company to
 flesh out the specific monitoring protocol and corrective actions to be employed. In
 particular, the condition does not say what Texas must do in response to a NAAQS
 exceedance or how quickly it must do it. See Order, App. A, Condition 130.
       12
            Id. at PP 80-82.
       13
          Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1039
 (D.C. Cir. 2021) (quoting Grand Canyon Tr. v. FAA, 290 F.3d 339, 340 (D.C. Cir.
 2002)); see also Sierra Club v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983).
       14
          Stand Up for California! v. U.S. Dep’t of the Interior, 994 F.3d 616, 628 (D.C.
 Cir. 2021) (quoting Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 374 (1989)) (internal
 quotation marks omitted).
USCA Case #23-1175          Document #2007581            Filed: 07/10/2023     Page 131 of 136
 Docket No. CP16-116-002                                                                 -4-

 that there may be significant air pollution and visual impacts associated with the Texas
 LNG Terminal, it was required to prepare a supplemental EIS.

        The procedures employed here run counter to NEPA’s fundamental purposes. As
 the Supreme Court has explained, the statute’s EIS requirement “ensures that the agency,
 in reaching its decision, will have available, and will carefully consider, detailed
 information concerning significant environmental impacts.” 15 NEPA’s public
 participation requirements ensure that “relevant information will be made available to the
 larger audience that may also play a role in both the decisionmaking process and the
 implementation of that decision.”16 Publishing an EIS “provides a springboard for public
 comment.”17 By failing to issue a supplemental EIS for public comment prior to today’s
 Order, the Commission deprived the public of any meaningful opportunity to participate.
 That, in turn, prevented the Commission from reflecting in its decision today essential
 information the public generally and affected EJ communities otherwise could have
 provided on the Commission’s new environmental and safety analyses.

         Embedding the Commission’s new environmental and safety analyses in the Order
 and its appendices is no substitute for the public notice and comment process under
 NEPA. The Commission does not send out notices of its orders to the mailing list
 compiled for purposes of the original EIS process. And it certainly does not send targeted
 notices to members of newly identified EJ communities. Consequently, the hundreds of
 EJ communities potentially impacted by the Texas LNG Terminal project have no
 practical way of even discovering that they are within the project’s potential impact zone.

         Failing to allow meaningful public participation is not just some technical error.
 Rather, public input provides the foundation for an agency’s substantive decisions. The
 procedures used here not only violated NEPA, but also undermined the Commission’s
 ability to engage in reasoned decision-making, as it is required to do under the
 Administrative Procedure Act (APA).18 That is because the Commission does not have a

        15
             Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
 (emphasis added); see also Marsh, 490 U.S. at 371 (“[B]y focusing Government and
 public attention on the environmental effects of proposed agency action . . . NEPA
 ensures that the agency will not act on incomplete information, only to regret its decision
 after it is too late to correct.”) (citations omitted); 40 C.F.R. § 1500.1(a) (“The purpose
 and function of NEPA is satisfied if Federal agencies have considered relevant
 environmental information, and the public has been informed regarding the decision-
 making process.”).
        16
             Robertson, 490 U.S. at 349.
        17
             Id.
        18
             5 U.S.C. § 706(2)(A); see also Motor Vehicle Mfrs. Ass’n of the U.S. v. State
USCA Case #23-1175       Document #2007581             Filed: 07/10/2023     Page 132 of 136
 Docket No. CP16-116-002                                                                -5-

 complete record reflecting input from the hundreds of newly identified EJ communities,
 or from the public generally, on the new environmental and safety analyses.

        Even if the Commission were not legally required to issue a supplemental EIS for
 public comment, doing so would be the right way to implement the applicable Executive
 Orders (EOs) and guidance on EJ.19 These documents call for identification, analysis,
 and mitigation of impacts on EJ communities. Where agencies have identified potentially
 affected minority and/or low income communities, the identification “should trigger” an
 “enhanced outreach effort to assure that low-income and minority populations are
 engaged in public participation.”20 Section 5-5 of the 1994 EJ EO states that agencies
 “shall work to ensure that public documents, notices, and hearings relating to human
 health or the environment are concise, understandable, and readily accessible to the
 public.”21 Furthermore, the 1997 CEQ Guidance specifically instructs that agencies
 “should develop effective public participation strategies” and “overcome linguistic,
 cultural, institutional, geographic, and other barriers to meaningful participation.”22 The
 sad fact is that the Commission has made no effort to inform potentially affected EJ
 communities of its new environmental and safety analyses, let alone make the analyses

 Farm Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983) (requiring that an agency’s explanation
 be a “product of reasoned decisionmaking” under the APA); Vecinos, 6 F.4th at 1330
 (“[A] petitioner may challenge an agency’s environmental justice analysis as arbitrary
 and capricious under NEPA and the APA.”); Coliseum Square Ass’n v. Jackson, 465 F.3d
 215, 232 (5th Cir. 2006) (finding an agency’s environmental justice considerations
 reviewable under the “arbitrary and capricious” standard of the APA).
        19
         The Commission states that it complies with the relevant EOs and guidance.
 See Order at PP 28-29; see generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (1994)
 (1994 EJ EO); Presidential Memorandum, Executive Order on Federal Actions to
 Address Environmental Justice in Minority Populations and Low-income Populations, 1
 Pub. Papers 241 (Feb. 11, 1994) (1994 EJ Memo); Federal Interagency Working Group
 on Environmental Justice and NEPA Committee, Promising Practices for EJ
 Methodologies in NEPA Reviews (2016) (Promising Practices Guidance).
        20
         Council on Envtl. Quality, Guidance for Incorporating Environmental Justice
 Concerns in EPA’s NEPA Compliance Analysis 28 (1998) (1998 CEQ Guidance).
        21
          1994 EJ EO § 5-5(c) (emphasis added); see also 1994 EJ EO § 5-5(b) (stating
 that meeting this public accessibility standard may require, “whenever practicable and
 appropriate,” “translat[ing] crucial public documents, notices, and hearings related to
 human health or the environment for limited English speaking populations”).
        22
          CEQ, Environmental Justice: Guidance Under the National Environmental
 Policy Act 9 (1997) (1997 CEQ Guidance) (emphasis added).
USCA Case #23-1175         Document #2007581          Filed: 07/10/2023     Page 133 of 136
 Docket No. CP16-116-002                                                              -6-

 “readily accessible” to them. Rather than implementing an “effective public participation
 strategy,” the Commission has shut the door on public participation by embedding its
 new analyses in the Order.

       I am particularly troubled that neither the general public nor the newly identified
 EJ communities will have a meaningful opportunity to comment on the Commission’s
 new air monitoring and mitigation condition or other potential mitigation measures.
 CEQ’s guidance on EJ specifically instructs that “members of the affected communities
 should be consulted” when an agency is “identifying and developing potential mitigation
 measures to address environmental justice concerns.”23

        To give credit where it is due, the Commission did provide an opportunity for
 comment on the project sponsors’ responses to certain of Commission staff’s
 environmental information requests (EIRs).24 However, there was no opportunity to
 comment on critical air modeling information used in the Commission staff’s cumulative
 air impacts analysis because that information was submitted after the comment period
 closed.25 The necessity for, and value of, allowing public comment on the new analyses
 is evinced by the fact that Vecinos para el Bienestar de la Comunidad Costera and Sierra
 Club submitted a joint comment letter identifying discrepancies in Texas LNG’s and Rio
 Grande LNG’s cumulative air impacts modeling that led staff to direct the companies to
 reconcile their analyses and submit new cumulative air impact modeling.26

        At the Commission’s March 29, 2023, Roundtable on Environmental Justice and
 Equity in Infrastructure Permitting, all Commissioners acknowledged the importance of
 appropriately addressing EJ concerns in our proceedings. In this of all cases, where the
 D.C. Circuit remanded our inadequate EJ analysis, we should translate our good
 intentions into action and provide EJ communities a meaningful opportunity to
 participate. Considering our discussion at the Roundtable of how to facilitate EJ
 communities’ full participation, it is especially disheartening that the Order rejects



       23
            1998 CEQ Guidance at 36.
       24
            See Order at P 11.
       25
          See id. at P 77 (“Texas LNG filed [its updated air quality impact] model on
 January 30, 2023.”), P 11 (“[I]nitial comments were due no later than October 21, 2022,
 and reply comments no later than November 4, 2022.”).
       26
          See id. at P 74; see also Rio Grande LNG, LLC, 183 FERC ¶ 61,046, at PP 87,
 137 (2023) (describing Sierra Club’s joint comment letter that pointed out the modeling
 discrepancies between Rio Grande and Texas LNG).
USCA Case #23-1175              Document #2007581      Filed: 07/10/2023     Page 134 of 136
 Docket No. CP16-116-002                                                                -7-

 requests to hold public meetings, with Spanish translation, to hear communities’ concerns
 about the project and our new analyses.27

         I am sensitive to the comments in the record, from the project sponsor and others,
 that the Commission has unduly delayed its response to the court’s remand in Vecinos
 and that the delay may postpone benefits the projects offer, including local employment
 opportunities. More generally, I desire to efficiently process applications for approval of
 natural gas and LNG projects, as well as the Commission’s response to any court
 directives relating to project approvals. No member of the current Commission had
 control over the process for, or timing of, the Commission’s response to the Vecinos
 court’s remand. The question now is what to do with the hand we have been dealt.
 Taking procedural shortcuts is the wrong answer. In failing to meet its statutory and
 regulatory obligations, the Commission invites litigation challenging the Order,
 potentially leading to further delay. For the sake of all stakeholders, including project
 sponsors and communities impacted by our decisions, we must do better.

        Finally, I dissent from the Commission’s explanation of why it cannot determine
 the significance of GHG emissions associated with the Texas LNG Terminal.28 This
 section of the Order could be interpreted as the Commission’s definitive conclusion that
 the Social Cost of GHGs protocol is inherently unsuitable for determining the
 significance of GHG emissions associated with natural gas and LNG infrastructure
 projects. Moreover, the Order suggests that there is no other “currently scientifically
 accepted method that would enable the Commission to determine the significance of
 reasonably foreseeable GHG emissions.”29 In other recent orders, the Commission has
 explained that it is not determining the significance of GHG emissions because the issue
 of how to do so is under consideration in the docket for the Commission’s draft GHG
 Policy Statement.30 This Order does not say that. Readers therefore might wonder
 whether this Order has effectively decided some of the central issues raised in the GHG
 Policy Statement docket.

        I do not know whether the Social Cost of GHGs protocol or another tool can or
 should be used to determine significance. That is because the Commission has not
 seriously studied the answer to that question. Rather, the majority has simply decided the
 method does not work, with no explanation of why the Commission departs from the

        27
             See id. at P 15.
        28
             See id. at PP 20-21, 26.
        29
             Id. at P 21.
        30
          See, e.g., Transcon. Gas Pipe Line Co., 182 FERC ¶ 61,006, at P 73 & n.174
 (2023); Columbia Gas Transmission, LLC, 182 FERC ¶ 61,171, at P 46 & n.93 (2023).
USCA Case #23-1175       Document #2007581             Filed: 07/10/2023   Page 135 of 136
 Docket No. CP16-116-002                                                             -8-

 approach so recently taken in other similar orders.31 We have yet to address the
 voluminous record in the GHG Policy Statement docket, including comments that speak
 to this question. What I do know is that we should decide the important unresolved
 issues relating to our assessment of GHG emissions through careful deliberation in a
 generic proceeding with full transparency.

       For the foregoing reasons, I respectfully dissent.



 ________________________
 Allison Clements
 Commissioner




       31
          To depart from prior precedent without explanation violates the Administrative
 Procedure Act. See, e.g., W. Deptford Energy, LLC v. FERC, 766 F.3d 10, 17 (D.C. Cir.
 2014) (“[T]he Commission cannot depart from [prior] rulings without providing a
 reasoned analysis.”) (citations omitted).
USCA Case #23-1175   Document #2007581   Filed: 07/10/2023   Page 136 of 136
